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                    EXHIBIT B
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                                                                             CLAYTON COUNTY, GA
                                                                             11/1/2021 4:58 PM
                                                                             Jacquline D. Wills
                                                                             CLERK SUPERIOR COURT




                    IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

 NATHANIEL CLARK,

                  PLAINTIFF,

 V.
                                                     Civil Action No.:
 CITY OF FOREST PARK, GA;                             2021CV03928-14
 LATRESA AKINS-WELLS, in her
 Official and individual capacity

                  DEFENDANTS.


                                          COMPLAINT

          COMES NOW Plaintiff Nathaniel Clark ("Plaintiff' or "Chief Clark") by and through his

undersigned counsel, files this COMPLAINT against Defendants City of Forest Park, GA ("the

City") and Latresa Akins-Wells ("Councilwoman Wells") (collectively "Defendants"), showing

the Court as follows:

                                            PARTIES

          1.     Plaintiff Nathaniel Clark was hired by the City of Forest Park as Police Chief on

May 14, 2019 and remains employed by the City. At all times relevant to this action, Chief Clark

was a "public employee" for purposes of the Georgia Whistleblower Protection Act, O.C.G.A. §

45-1-4.

          2.     Defendant City of Forest Park, GA is a "public employer" as defined in O.C.G.A.

§ 45-1-4. City of Forest Park, GA has its principal address at 745 Forest Parkway, Forest Park,

GA 30297.




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        3.     Defendant Latresa Akins-Wells is a member of the Forest Park City Council. She

is sued in her official and individual capacity.

                                 JURISDICTION AND VENUE

        4.     Jurisdiction and venue are proper in the Superior Court of Clayton County.

        5.     The City of Forest Park, GA and Councilwoman Wells are all residents of Clayton

County. All the acts complained herein occurred in Clayton County.

        6.     This action has been brought within the time provided by O.C.G.A. § 45-1-4(e)(1).

                                   FACTUAL ALLEGATIONS

        7.     Chief Clark was hired by the City of Forest Park as Police Chief on May 14, 2019.

Chief Clark was the first and only permanent Black individual to be hired as Police Chief by the

City.

        8.     Chief Clark has been in law enforcement for approximately 33 years and was

previously a police chief for a city in Arkansas.

        9.      The former permanent Chief of Police for the City of Forest Park, L. Dwayne

Hobbs, served as Police Chief for over two decades.

        10.     As Chief of Police, Chief Clark is responsible for overseeing the City's police

department which includes approximately 95 sworn personnel and is responsible for the safety and

protection of the 20,000 civilians residing in the City.

        11.     As Chief of Police, Chief Clark reports to the City Manager who in turn reports to

the Governing Body. The Governing Body is comprised of the Mayor and the five members of

the City Council.
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       12.     Soon after becoming Chief of Police, Chief Clark immediately requested that an

audit be conducted on the Police Department to, among other things, determine the financial status

of the Police Department.

       13.     The audit revealed that there were fraudulent, and unlawful, practices in the Police

Department that had occurred under prior leadership. Specifically, the audit revealed, among other

things, that the police department was selling ammunition that belonged to the City to civilians,

that the police department was cashing checks made out to the City of Forest Park/Forest Park

Police Department for cash and then were not turning it over to the finance department for proper

documentation, and that some members of the department were doing surveillance on two city

council members.

       14.     Two supplemental audits were conducted which collaborated the initial audit. As

a result of the audit, some individuals in the police department were terminated and some left

voluntarily. The cases were reviewed by the Georgia Bureau of Investigations ("GBI") and were

subsequently forwarded to the Clayton County prosecutor's office for possible criminal charges.

       15.     In addition to the financial deficiencies uncovered in the audit requested by Chief

Clark, Chief Clark uncovered other illegal practices within the police department including an

illegal quota system for citations and systemic race and religious discrimination practices including

recruitment disparities and "Give a Christian a Ticket Sunday" which was a practice whereby

police officers would target Black and Hispanic Churches and give citations to members of those

communities.

        16.    In fact, the City's Hispanic population has dropped by ten (10) percentage points

since 2010, from 37% to 27%, in part due to the police department previously targeting the


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Hispanic community and issuing them an unprecedented number of citations.                    See

https://canopyatlanta.arg/forestpark/hispanic-communitiespolice/

       17.     Despite Chief Clark's uncovering of the illegal quota system for citations, some

members of the Governing Body wanted the police department to continue issuing citations for

profit. Chief Clark made it clear to the Governing Body that citations would be issued for the

protection of society and not to generate revenue.

       18.     In January 2020, City Manager Angela Redding left her employment with the City.

Chief Clark was assigned as Interim City Manager and Police Chief from on or about January 6,

2020 until on or about May 18, 2020.

       19.     As Interim City Manager, Chief Clark had access to the City's financial records

and accounts, not just those of the police department.

       20.     Soon after becoming Interim City Manager, Chief Clark identified financial

deficiencies throughout the City, on a much larger scale. Specifically, Chief Clark identified

unlawful commingling of E-911 funds (balancing the budget by using E-911 funds) and charging

SPLOST expenditures to accounts that did not exist.

       21.     After identifying these financial deficiencies, Chief Clark immediately requested

that an audit be conducted on the City's financial accounts given that it appeared there was

unlawful activity occurring within the City. However, upon information and belief, the City never

conducted an audit on the E-911 or SPLOST accounts.

       22.     In May 2020, Albert Barker was appointed to the position of City Manager.

       23.     On June 30, 2020, Chief Clark received his annual performance review. The review

was very complimentary of Chief Clark's performance. In that review, Barker wrote that "Chief


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Clark identified and addressed an array of structural and systemic issues (i.e. FLSA and Title VII

Violations, Enhanced Recruitment and Disparities, CAD 'Record Management System failures)."

Moreover, his review stated that "during his appointment [as Police Chief] the reported crime rate

was decreased significantly in 2019 (8 year low)."

       24.       On or about July 1, 2020, Chief Clark was promoted to the position of Deputy City

Manager/Public Safety Director while also maintaining his position as Police Chief. See Exhibit

A, Correspondence from Barker regarding Chief Clark's promotion.

        25.      The position of Deputy City Manager/Public Safety Director was a position that

had been created by the Governing Body and Barker was given discretion to appoint someone to

that position.

        26.      As a Deputy City Manager/Public Safety Director, Chief Clark had full

management responsibility for all public safety services and activities including the police

department and fire department and also had supervisory responsibility over all departments in

coordination with and subject to the direction of the City Manager. The job description specifically

stated that the position would oversee "the hiring, supervision, training, evaluation and discipline

of [the fire and police] department employees." See Exhibit B, Public Safety Director Deputy City

Manager job description.

        27.      When Barker appointed Chief Clark to that position, his decision was met with

extreme resistance from some of the Governing Body as they were worried that, as Deputy City

Manager, Chief Clark would continue to uncover fraudulent and unlawful activity as that position

had access to the City's financial documents.




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       28.     In fact, Barker told Chief Clark that the Governing Body in part was going to do all

they could to ensure that the audit he had been requesting would never be conducted and also told

Chief Clark that they would continue to harass and retaliate against him to the point of having his

employment terminated.

       29.     On September 4, 2020, Chief Clark sent Barker an email that stated the following:

"Recently Finance Director Ken Thompson brought to our attention that in past years SPLOST

expenditures were charged to account(s) that doesn't exist. Based on the financial inconsistencies

recently brought to our attention, I am recommending that an external audit be conducted

immediately regarding any and all finances." See Exhibit C, 09.04.2020 Emailfrom Chief Clark

to Barker.

       30.     Chief Clark also identified procedural concerns with the City's federal asset

forfeiture account and requested that an audit be conducted.

       31.     Upon information and belief, the financial audit that Chief Clark recommended

regarding the federal asset forfeiture account was never conducted. See Exhibit D, 08.27.2021

Emailfrom Chief Clark to Deputy Finance Director Darquita Williams.

       32.     Because Chief Clark was extremely concerned regarding potential fraudulent and

unlawful activity occurring, Chief Clark contacted the United States Department of Justice

("DOJ") regarding the City's federal asset forfeiture account. The DOJ stated that an audit needed

to be conducted immediately.

       33.     Chief Clark also discovered other financial discrepancies including discrepancies

with the bank reconciliations (approximately $200,000 worth of discrepancies), discrepancies with
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the FBI reimbursement, and discrepancies with the Georgia Emergency Management and

Homeland Security Agency ("GEMA") grant.

       34.     On October 28, 2020, Clark again sent Barker another email requesting that a

financial audit be conducted immediately based upon the DOJ's recommendation, Finance

Director Ken Thompson's admissions, and financial discrepancies previously identified. See

Exhibit E, 10.28.2020 Emailfrom Chief Clark to Barker.

       35.     Barker told Chief Clark that he was getting directives from members of the

Governing Body to stand down immediately on the financial audit.

       36.     In fact, Barker told Chief Clark and others that he had been offered a large sum of

money to stop the financial audits.

       37.     On November 2, 2020, Chief Clark received another stellar performance review

from Barker. In that review, Barker wrote the following: "Chief Clark was appointed Deputy City

Manager/Director of Public Safety on July 1, 2020; he also continues to hold the position of Police

Chief; during this appointment the reported crime rate decreased significantly in 2020 (21-year

low), this speaks volume [sic] of Chief Clark's dedication in making the community safe for all."

       38.     Barker also wrote, "Deputy City Manager/Public Safety Director Clark was warned

that he will face backlash referencing the audits (funding discrepancies) and his continual exposure

of biased practices."

       39.     On November 4, 2020, Chief Clark overheard a City Official make a statement that

he (Chief Clark) takes detailed notes, to retrieve everything that he has been working on as Deputy

City Manager and to "stop him."
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       40.     That same day, on November 4, 2020, Chief Clark was demoted from his position

of Deputy City Manager. Specifically, Chief Clark's contract was amended so that he would only

serve as Public Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City

Manager in the absence of a City Manager.

       41.     Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.

       42.     Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do

things that other department heads were not required to do and his work was scrutinized and

nitpicked.

       43.     Soon after Chief Clark's report to the DOJ as well as his insistence on a financial

audit in part due to Finance Director's Ken Thompson's admissions that SPLOST expenditures

were charged to accounts that did not exist, Thompson resigned his employment with the City and

took with him what appeared to be an extensive amount of confidential and highly sensitive

financial documents belonging to the City.

       44.     Moreover, on or about November 23, 2020, financial documents were removed

from the police department without Chief Clark's consent.

        45.    In March 2021, Brown filed a formal complaint alleging sexual harassment by Fire

Chief Don Horton. As Public Safety Director, Chief Clark oversaw the Fire Department and Chief

Horton reported to him.




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       46.     Chief Clark subsequently put Chief Horton on administrative leave and

recommended that an external investigation be conducted.

       47.     The investigation      which was ultimately submitted to the City Manager and

Governing Body—confirmed that Chief Horton had been sexually harassing Brown and Chief

Horton was ultimately terminated.

       48.     However, during the investigation and appeal process, Chief Clark was subjected

to continued harassment and verbal attacks by the Governing Body in part and Councilwoman

Wells. Specifically, during public City Council meetings, Councilwoman Wells made comments

regarding Chief Clark's integrity.

       49.     In fact, during the appeal hearing, Chief Clark was berated for nearly two hours by

Chief Horton. Chief Clark was mandated to appear but was not afforded an opportunity by the

Governing Body to speak or defend himself in front of the community.

       50.     Councilwoman Wells told Chief Clark prior to the sexual harassment allegations

against Chief Horton that Chief Horton had given her $1,000 and that she had not recorded it to

either her ward or to her campaign.

       51.     Chief Clark told Councilwoman Wells twice that the $1,000 Chief Horton had

given her needed to be recorded, however, upon information and belief, it was never recorded.

       52.      Chief Clark has experienced a hostile work environment in retaliation for his

protected activity, namely, his involvement in the investigation into Brown's sexual harassment

allegations against Chief Horton.

        53.    Specifically, Chief Clark has been verbally attacked and harassed by Wells.




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       54.    On or about May 28, 2021, Chief Clark was summoned to City Manager Marc-

Antonie Cooper's office and accused of having the Deputy Fire Chief, Latasha Clemmons

followed. Ms. Clemmons was hired by Chief Horton.

       55.     Chief Clark was placed under investigation, but the investigation showed that the

allegations were unfounded.

       56.     Upon information and belief, this was a conspiracy to have Chief Clark terminated.

       57.     Moreover, Chief Clark has been stripped of additional job responsibilities.

       58.     For example, in May 2021, the Fire Chief's reporting structure was changed so that

the Fire Chief no longer reports to Chief Clark but instead reports directly to the City Manager,

which is inconsistent with his job description and contract signed by the Governing Body.

       59.     Additionally, when the City was recruiting for the position of Fire Chief after Chief

Horton was terminated, despite Chief's Clark job description stating that he would be responsible

for hiring of the fire department employees, Chief Clark was excluded from screening applicants

or participating on the hiring committee.

       60.     In fact, Chief Clark has been stripped of all authority regarding the fire department.

       61.     Moreover,      at   one   point    Chief      Clark   was   directed   to   cease   all

appointments/promotions at the police department until further notice.

       62.     Chief Clark also has been excluded from meetings regarding police operations.

       63.     Councilwoman Wells also continues to attack Chief Clark's integrity by

undermining and questioning Chief Clark's actions with respect to the police department.

       64.     For example, every time a police officer leaves the department, Councilwoman

Wells takes it upon herself to blame them leaving on Chief Clark.


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       65.     Councilwoman Wells is constantly asking for data regarding the police department

in an attempt to find something to attack or look for ways to blame Chief Clark.

       66.     By way of example, in September 2021, Councilwoman Wells wanted Cooper to

reopen an investigation that had concluded nearly a year ago during which a member of the police

department had made claims against Chief Clark, which were investigated, and found to be

unfounded.

       67.     Moreover, Councilwoman Wells wanted to see a copy of every exit interview and

every grievance filed against Chief Clark in an attempt to demean Chief Clark and punish him for

participating in the sexual harassment investigation into Chief Horton.

       68.     On or about September 12, 2021, Cooper received an email from an anonymous

individual(s), specifically "Concerned Citizens of Forest Park," that stated that Councilwoman

Wells and her husband had physically assaulted a citizen. A criminal investigation was opened.

       69.     Soon thereafter, Chief Clark received information that the investigation appeared

to have been compromised as Councilwoman Wells had received confidential information from

someone at the police department regarding details of the investigation.

       70.     In fact, on September 22, 2021, Councilwoman Wells posted a video to Facebook

in which she appears to reference paperwork she was receiving from a member of the police

department regarding the investigation. Councilwoman Wells compromised the integrity of the

police department which is a violation of her duties as a City Council member.

       71.     In that same Facebook video, which to date has received 49 comments and 336

views, Councilwoman Wells made several false statements about Chief Clark with the specific

intent to do harm.


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       72.     Although it appeared that at least one high-ranking City official was aware that

Councilwoman Wells had received this information improperly, and had known for some time, no

action was taken to investigate.

       73.     On October 7, 2021, Chief Clark sent Cooper an email requesting an external

investigation (to avoid the appearance of impropriety) as it had appeared that someone at the police

department has been leaking information to Councilwoman Wells while there was an open

investigation pending.

        74.    Upon information and belief, no action has been taken to investigate Chief Clark's

concerns.

        75.    Chief Clark has repeatedly complained to his City Managers, members of the

Governing Body, the City's in-house attorney and the City's outside attorney regarding the

retaliation he is experiencing.

        76.    Several City officials, including Cooper, have admitted and acknowledged the

retaliation Chief Clark is experiencing but have done nothing to stop it.

        77.    Chief Clark was told by a City official that the City is attempting to dissolve the

position of Public Safety Director, decrease his salary, and eventually terminate his employment

based on his involvement in the sexual harassment investigation of Chief Horton.

                             COUNT I
                      RETALIATION UNDER THE
      GEORGIA WHISTLEBLOWER PROTECTION ACT, O.C.G.A. § 45-1-4 et seq.
                (DEFENDANT CITY OF FOREST PARK, GA)

        78.     Plaintiff incorporates by reference all preceding paragraphs of the Complaint.




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       79.       Pursuant to O.C.G.A. § 45-1-4, it is unlawful for a public employer to retaliate

against a public employee "in the terms or conditions of employment for disclosing a violation of

or noncompliance with a law, rule, or regulation to either a supervisor or government agency."

       80.       On November 4, 2020, Chief Clark demoted from his position of Deputy City

Manager. Specifically, Chief Clark's contract was amended so that he would only serve as Public

Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.

       81.       Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.

       82.       Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do

things that other department heads were not required to do and his work continues to be scrutinized

and nitpicked.

       83.       Moreover, Chief Clark has experienced a hostile work environment in retaliation

for his involvement in the investigation into Brown's sexual harassment allegations against Chief

Horton.

       84.       Chief Clark has also been stripped of additional job responsibilities because of his

involvement in the investigation into Brown's sexual harassment allegations against Chief Horton.

       85.       These adverse employment actions were in retaliation for Chief Clark's disclosing

violations or noncompliance with laws, rules or regulations in violation of the Georgia

Whistleblower Protection Act, O.C.G.A. § 45-1-4 et seq.


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       86.     These adverse employment actions have caused Chief Clark to suffer damages in

the form of loss of future earning capacity in that his credentials as Police Chief, Public Safety

Director and Deputy City Manager and reputation have been besmirched.

                                 COUNT II
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    UNDER THE COMMON LAW OF GEORGIA
                            (DEFENDANT WELLS)

       87.     Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       88.     As a direct and proximate cause of Councilwoman Wells' actions, Chief Clark has

suffered damages in an amount to be proven at trial.

       89.     Councilwoman          Wells'   actions    demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to

the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

                                            COUNT III
                                            SLANDER
                                       (DEFENDANT WELLS)

       90.     Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       91.     Councilwoman Wells has made numerous false and defamatory remarks

concerning the Chief Clark's tenure at the City.

       92.     These statements have negatively impacted Chief Clark's reputation in the

community in which he works.

       93.     Councilwoman Wells made these statements maliciously and with the specific

intent to do harm to Chief Clark and to punish him for exposing a hostile work environment and

for questionable and illegal acts.

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          94.     Councilwoman       Wells'   actions    demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to

the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

          WHEREFORE, the Plaintiff demands that a trial by jury be had on all Counts of his

Complaint and that the following such judgment be entered on his behalf against Defendants

granting the following relief:

       (a) that Defendants be Ordered to make Plaintiff whole by providing for his out-of-pocket

          losses including any back pay in an amount equal to the sum of any wages, salary,

          employment benefits or other compensation denied or lost as a result of Defendants'

          unlawful and discriminatory acts, together with interest thereon, all in amounts to be

          determined at the trial;

       (b) that front pay be awarded as the employment relationship has been so severely damaged

          that the relationship is unsalvageable;

       (c) that compensatory damages be awarded against each Defendant individually to compensate

          Plaintiff for his mental and emotional distress, anxiety, humiliation, outrage, and loss of

          professional and personal reputation as a consequence of Defendants' actions in an amount

          to be determined at the trial;

       (d) that punitive damages be awarded against Defendants in an amount to be determined at

          trial to deter Defendants and others from similar misconduct in the future;

       (e) that Plaintiff be granted attorney's fees and expenses of litigation pursuant to O.C.G.A. §§

          45-1-4(f) and 13-6-11;


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(f) appropriate declaratory and injunctive relief;

(g) that pre-judgment and post-judgment interest be awarded; and

(h) that Plaintiff be granted such other and further additional relief as the jury deems equitable

   and just.

    Respectfully submitted, this 1St day of November, 2021.

                                            s/ Jackie Lee
                                            Jackie Lee
                                            Georgia Bar No. 419196
                                            jackie@leelawga.com
                                            LEE LAW FIRM, LLC
                                            1100 Peachtree Street NE, Suite 250
                                            Atlanta, Georgia 30309
                                            Telephone: (404) 301-8973

                                            COUNSEL FOR PLAINTIFF
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              Exhibit A
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                                                                                     Albert Barker Jr.
                                                                                               Manager
                                                                                              City

                                                                                          745 Forest Parkway
                                                                                       Forest Park, GA 30297
                                                                                       Phone: (404) 366.4720
                                                                                     aharker©forestparkga org

                     •




FOREST,
  Date: June 19, 2020


                    Offer
  RE: Employment

   Mr. Nathaniel Clark,
                                                                                                  of
                                                                           offer you the position
                                        City of Forest Park would like to              attached.  Your
                     conversation, the                                  description is
   Pursuant to our
                                u   Cit  Mona    er. A copy of the job
   piALliciiieqgifector    De
                               a later date.
   salary will be discussed at                                                                 2020 by
                                                                      starting date of July 1,
                              our acceptance of this job offer and         earliest convenience.
   Please formally confirm y
                appropriate section  below   and  return it to me at your
    signing the

    Sinc '•IV,

    Albe B r er,
    City Manager



     Accept lob Offer
     I accept this lob offer:
     Signature:



       Decline Job Offer
        decline this job offer:
                                                                             Date:
       Signature:




                         CITY HALL* 745 FOREST PARKWAY, FOREST PARK, GA 30297
                                       Www.FORESTPARKGA.ORG


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                                                                                     Albert Barker Jr.
                                                                                              City Manager
                                                                                         745 Forest Parkway
                                                                                      Forest Park, GA 30297
                                  •
                                                                                      Phone: (404) 366-4720
                                                                                    abarker@jorestparkga.org




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     •   *'   .••••••••••-•   •       gli.••••




 August 10.2020

 To: Nathaniel Clark. Public Safety DirectoriDeptity City Manager

 From: Albert Barker. City Manager


  RE: Public Safety Director'-Deputy City Manager

  This letter comes as congratulations referencing your acceptance of the position of Public Safety
  Director/Deputy City Manager, effective July 01. 2020. As stated in your acceptance letter, you
  shall be afforded all benefits and education incentives granted to a department head, specifically
  Police Chief and Fire Chief. Also, pursuant to the Council Meeting on July 20, 2020 and
  pursuant to a unanimous vote by the governing body, your initial contract is hereby amended to
  reflect the new position of Public Safety Director/fDeputy City Manager. education incentives
  and salary.


  A bert Barker

   City Manager

   City of Forest Park




                              CITYHALL • 745 FOREST PARKWAY. FOREST PARK, GA 30297
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              Exhibit B
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                                                                  PARK
                                       THE CITY OF FOREST

                                                                    City Manager
                                  Public Safety Director/Deputy
 S JNI MARY DESCRIPTION -
                                                                                  and his/her primary role is to
                     Director/Deputy  City Manager reports to the City Manager
 The Public   Safety                                                                           the city relating
               planning, directing, management and  review of the activities and operations of However, the
 assist in the                                                             Information Officer.
                                             * Animal Control * Public
 to Police Department * Fire Service * 911                       departments  in coordination with and subject
                                         responsibility over all
 Deputy City Manager has supervisory
 to the direction of the City Manager.
                                                     normal for this position. They are not to be construed as
 JOB FUNCTIONS The following duties are                              assigned.
 exclusive or all inclusive. Other duties may be required and
                                                              public safety services and activities; manages the
  - • Assumes full management responsibility for                                          priorities for each assigned
          development and implementation of departmental goals, objectives, and
          service area; recommends and administers        policies  and procedures.
                                                                                                     safety, including
     • Plans, organizes and directs the activities of all departments pertaining to public
          the Police Department and Fire Department,              providing   general   law   enforcement,     criminal
          investigation, fire suppression and    prevention,  rescue  services and emergency     medical   services and
          disaster responses.       Oversees   the  hiring, supervision,   training,  evaluation   and    discipline of
          department employees.
      • Develops long term plans to improve departmental operations.
      • Develops annual department budgets for operations and equipment. Also assists in developing
           long-range capital budgets for various public safety programs. Monitors the departmental budgets
           throughout the fiscal year and oversees the purchase and maintenance of equipment, vehicles, and
           supplies.
      • Establishes, within City policy, appropriate service and staffing levels; monitors and evaluates the
            efficiency and effectiveness of service delivery methods and procedures; allocates resources
            accordingly.
       • Plans, directs, and coordinates, through subordinate level staff, the work plans for the Police
            Department and Fire Department; assigns projects and programmatic areas of responsibility;
            reviews and evaluates work methods and procedures; meets with key staff to identify and
                                                                                                                resolve
            problems.
       • Provides staff assistance to the City Manager and City Council;
                                                                                  prepares and presents staff reports
             and other necessary correspondence; attends City Council and
                                                                                other meetings as required.
        • Coordinates assigned activities between public
                                                                    safety departments with those of other city
             departments and outside agencies and organizations.
        • Responds to and resolves difficult and
                                                      sensitive citizen inquiries and complaints; explains, justifies,
             and defends department programs, policies, and activities.
        • Participates on a variety of boards;
                                                   serves as the city's
              committees and community organizations concerned representative and/or appoints a designee to
              fire services, public education,                          with improvements in law enforcement and
                                               and
         • Supervise a group of department departmental public relations.
                                                 heads and/or other staff
              Direct the activities of assigned de
               identify opportunities for                ents, review and evaluate work methods and
                                          improvement and implement changes.                                procedures,




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                             2021CV03928-14




              Exhibit C
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                                            2021CV03928-14




  From:          Nathaniel ClarkifppOliCe
  To:            Abert Barker/CoFP@CoFP
  Cc:            Nathaniel Clark/fppolice@fppolice, Gretta Harris/CoFP@OPFP
  8cc:           nclark71603@yahoo.com


   Date:         Friday, September 04, 2020 12:23PM
   Subject:      Finance Department - External Audit Recommended




   Mr. Barker,

   Recently Finance Director Ken Thompson brought to our attention that in past years SPLOST
   expenditures were charged to account(s) that doesn't exist. Based on the financial inconsistencies
   recently brought to our attention, I am recommending that an external audit be conducted
   immediately regarding any and 211, finances.

   Thanks in advance.

   Chief Nathan el Clark
   Deputy City Manager/Public Safety Director
   City of Forest Park
   745 Forest Parkway
   Forest Park, Georgia 30297
   (w) 404-366-4720

    Serving with Pride, Honor and Professionalism'
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                             2021CV03928-14




              Exhibit D
          Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 26 of 297
                                                    2021CV03928-14




From: Nathaniel Clark
Sent: Friday, August 27, 2021 7:17 AM
To: Darquita Williams <DWilliams@forestparkga.gov>
Cc: Nathaniel Clark <nclark@forestparkga.gov
subject: Federal Asset Audit (status)
Importance: High

Good Morning Deputy Finance Director Williams,

Pursuant to the conversation with the city manager on 8/19/21 whereas you were authorized to have an audit
conducted on the federal asset accounts(s), I am respectfully request nR the status regarding said and to be kept
a breast.

Thanks in advance.
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                             2021CV03928-14




              Exhibit E
        Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 28 of 297
                                                          20210/03928-14




From: Nathaniel Clark
Sent: Wednesday, October 28, 2020 8:11 AM
To: Albert Barter eabarker@forestparkga.gov>
Cc: Nathaniel Clark encla rk@forestpa rkga.gov>
Subject: Funding Concerns
importance: High

'Follow-up'

Good Morning Sir.

 Pursuant to discussions, dunng the past few months assessments of various city departments have been conducted and several
 discrepancies were identified in the area of finance, please note the following area olconcems:

 SPLOST Funds
 E-911 Funds
 rat Reimbursement (task force)
 Federal Asset Forteitute/Equitable Sharing
 Documentary and Procedural issues with these and other funding issues

  I have spoken with Finance Director Ken Thompson regarding these halms and the following were stated/identified in part:

  • Current SPLOST Funds (per Director Thompson's admission to you and me -funds were charged in the past to
    accounts that doesn't axis°
  • E-91 1 Funds (pan)* co-mingled with the city's generalfunds)
  • Flank Rez.oneiliations/Diserepancy (per Lori lifutse, Finance Dept. approximately $200 000+)
  • FBI Reimbursement - Task Force (per Wanda Dutton, there appear to hefitntling discrepancies)
  • GEMA - Emergency Management Performance Grant (per Elaine Comer. Fire Department) there appear to be
    funding discrepancies)
  ▪ Federal Asset Forfeiture/Equitable Sharing (procedural concerns L sr. bunk books, employee names on accounts)

  As you SIC aware. in the past two companies conducted audits of Elle police department where issues were found and corrected (see
  audits by Ken Bell and Associates and Lawrence Johnson)

  On or about October 23, 20201 contacted Drian floykin. Equitable &ming Program Manager • U.S. Department of Justice; pursuant to
  the conversation and updating you, I am recommending, nn immediate audit referencing procedural concerns, expenditures and aalance
  to ensure transparency and compliance review,
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                                                                                 CLERK OF SUPERIOR COURT
                                                                                 CLAYTON COUNTY, GEORGIA
                                                                                2021CV03928-14
                    IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA                                  DEC 01, 2021 02:45 PM


NATHANIEL CLARK,                             )
                                             )
      Plaintiff,                             )     Civil Action
                                             )     No. 2021CV03928-14
v.                                           )
                                             )
CITY OF FOREST PARK, GA and                  )
LATRESA AKINS-WELLS, in her                  )
Official and individual capacity,            )
                                             )
      Defendants.                            )

                          STIPULATED EXTENSION OF TIME

       Pursuant to agreement of the undersigned parties, the time period for Defendant City of

Forest Park, Georgia to answer, move, or otherwise respond to Plaintiff’s Complaint is extended

through and including Monday, December 20, 2021.

       This 1st day of December, 2021.


CONSENTED TO BY:

LEE LAW FIRM, LLC                                FREEMAN MATHIS & GARY LLP

/s/ Jackie Lee                                   /s/ Michael M. Hill
Jackie Lee                                       Michael M. Hill
(by M. Hill w/ permission)                       Georgia Bar No. 770486
Georgia Bar No. 419196                           100 Galleria Parkway
1100 Peachtree St., Suite 250                    Suite 1600
Atlanta, GA 30309                                Atlanta, Georgia 30339
Telephone (404) 301-8973                         Telephone (770) 818-0000
                                                 Facsimile (770) 937-9960

Counsel for Plaintiff                            Counsel for Defendant
Nathaniel Clark                                  City of Forest Park, Georgia
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this date served the within and foregoing STIPULATED

EXTENSION OF TIME by depositing a true and correct copy thereof in the United States mail,

with sufficient postage affixed thereon, and properly addressed to counsel:

                                     Jackie Lee
                                     Lee Law Firm, LLC
                                     1100 Peachtree St., Suite 250
                                     Atlanta, GA 30309

       This 1st day of December, 2021.


                                                    /s/ Michael M. Hill
                                                    Michael M. Hill
                                                    Georgia Bar No. 770486

FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway
Suite 1600
Atlanta, Georgia 30339
Telephone (770) 818-0000
Facsimile (770) 937-9960
     Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 31 of 297

                                                                                      CLERK OF SUPERIOR COURT
                                                                                      CLAYTON COUNTY, GEORGIA
                                                                                     2021CV03928-14
                    IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA                                       DEC 20, 2021 03:39 PM


NATHANIEL CLARK,                                )
                                                )
      Plaintiff,                                )      Civil Action
                                                )      No. 2021CV03928-14
v.                                              )
                                                )
CITY OF FOREST PARK, GA and                     )
LATRESA AKINS-WELLS, in her                     )
Official and individual capacity,               )
                                                )
      Defendants.                               )

     CITY OF FOREST PARK, GEORGIA’S MOTION TO DISMISS COMPLAINT

       COMES NOW the City of Forest Park, Georgia, by and through the undersigned counsel

of record, and, pursuant to O.C.G.A. §§ 9-11-12(b)(1) and 9-11-12(b)(6), hereby moves to

dismiss Plaintiff Nathaniel Clark’s Complaint for lack of subject matter jurisdiction and failure

to state any claim for which relief may be granted.

                             I.      STATEMENT OF THE CASE

       This is an action for alleged whistleblower retaliation pursuant to the Georgia

Whistleblower Act (“GWA”), O.C.G.A. § 45-1-4 (Count I); intentional infliction of emotional

distress (“IIED”) (Count II); and slander (Count III). The Plaintiff, Nathaniel Clark, is the current

Police Chief for the City of Forest Park (the “City”). He also serves as Deputy City

Manager/Public Safety Director in the event the City Manager is absent or incapacitated.

(Compl. ¶¶ 1, 24, 40.) Co-Defendant Latresa Akins-Wells (“Councilwoman Wells”) is a sitting

member of the City Council, which is composed of four other individuals. (Id. ¶¶ 3, 11.)

       Plaintiff has served as the City’s Police Chief since May 2019. (Id. ¶¶ 1, 7.) He alleges he

was the first and only “permanent Black individual” to serve as Police Chief, but he does not

explain what he means by this phrase. (Id. ¶ 7.) As Plaintiff alleges, in the short span of just over

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two years since his hire, he has received numerous promotions, accolades, and pay raises; been

entrusted with additional responsibilities; and received consistently positive performance

reviews. (Id. ¶¶ 18, 23, 24, 37.)

        Nevertheless, despite this series of positive outcomes, Plaintiff alleges the City has

harassed and retaliated against him in a “conspiracy” to have him terminated (even though it has

not actually terminated him or taken any steps to do so). (Id. ¶¶ 42, 52, 56.) Plaintiff alleges he

uncovered several unlawful practices in the Police Department, including selling City

ammunition to civilians; cashing checks made out to the City and not turning them over to the

Finance Department; surveilling two City Council members; and targeting Black and Hispanic

church-goers for traffic citations. (Id. ¶¶ 13, 15.) He also alleges that, during a period in which he

served as Interim City Manager, he discovered several other unlawful activities, such as

commingling E-911 funds; charging SPLOST expenditures to accounts that did not exist;

“procedural concerns” with the City’s asset forfeiture account; and “discrepancies” regarding

bank reconciliations, FBI reimbursements, and a Georgia Emergency Management Fund grant.

(Id. ¶¶ 20, 30, 33.)

        While Plaintiff appears to allege the City was unhappy with his uncovering the above

activities, the City nevertheless promoted him, including to a new position created just for

Plaintiff, and gave him positive performance evaluations afterwards. (Id. ¶¶ 18, 23-25, 37.) Even

so, Plaintiff alleges he requested multiple audits the City did not conduct. (Id. ¶¶ 21, 31.) He

alleges former City Manager Alfred Barker told him unnamed “members of the Governing

Body” wanted him to “stand down immediately on the financial audit”; that Mr. Barker claimed

he had been offered “a large sum of money to stop the financial audits”; that Mr. Barker warned




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him he would face “backlash” for his audit requests and “continual exposure of biased

practices”; and that an unidentified “City Official” wanted to “stop him.” (Id. ¶¶ 35-36, 38-39.)

       The only person in City government whom Plaintiff specifically identifies as having any

issue with his work performance is Councilwoman Wells. He alleges that she has made non-

specific comments during public City Council meetings regarding his integrity; that she has

“verbally attacked and harassed” him for his involvement in an investigation into another

employee’s sexual harassment allegations against the former Fire Chief; that she attacks his

integrity and undermines and questions his actions; that she blames police officers’ departures on

Plaintiff; that she asks for “data” regarding the Police Department; that she sought to reopen an

investigation into an unspecified claim a member of the Police Department had made against

Plaintiff; that she asked to see exit interviews and grievances filed against Plaintiff; and that she

posted a video on Facebook that contained unidentified “false statements” about Plaintiff. (Id.

¶¶ 48, 52-53, 63-67, 70-71.)

       Plaintiff remains employed with the City but filed the instant lawsuit on November 1,

2021. In Count I, he asserts a GWA claim for whistleblower retaliation against the City. In

Counts II and III, he asserts claims for IIED and slander against Councilwoman Wells. While he

does not specify in these counts the capacity (official or individual) in which he asserts the

claims against Councilwoman Wells, he states in the caption of the Complaint that she is being

sued in her official and individual capacity. Thus, in an abundance of caution, the City will treat

all three counts as being asserted against the City.

       The City now timely moves to dismiss all claims asserted against it in the Complaint for

lack of subject matter jurisdiction and failure to state any claim upon which relief may be

granted. This Court lacks subject matter jurisdiction as to Plaintiff’s IIED and slander claims



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against the City because the City has sovereign immunity to these claims, and Plaintiff has failed

to show any waiver thereof. In addition, Plaintiff fails to allege sufficient facts to state viable

claims for IIED or slander; nor does he allege any facts whatsoever to render the City liable for

Councilwoman Wells’s alleged actions or statements. With regard to his whistleblower

retaliation claim, the vast majority of actions and statements about which he complains occurred

before the applicable one-year statute of limitations, and the alleged incidents within the

limitations period are not actionable “adverse employment actions” as contemplated by the

GWA. Accordingly, the Court should dismiss with prejudice all claims asserted against the City.

                  II.    ARGUMENT AND CITATION TO AUTHORITY

A.     This Court Lacks Subject Matter Jurisdiction As To Claims Asserted Against
       Councilwoman Wells In Her Official Capacity Because Plaintiff Failed To Show
       Any Waiver Of The City’s Sovereign Immunity

       It is not clear if Plaintiff intended to assert his claims for IIED and slander in Counts II

and III of the Complaint against the City as well as Councilwoman Wells. While he states these

claims are asserted against “Defendant Wells,” he does not specify whether he asserts these

claims against Councilwoman Wells in her official or individual capacity. The case caption,

however, states he is suing Councilwoman Wells in both her official and individual capacities.

       To the extent Plaintiff asserts his IIED and slander claims against Councilwoman Wells

in her official capacity, these claims are barred by sovereign immunity and therefore should be

dismissed for lack of subject matter jurisdiction. If a public officer is sued in her official

capacity, the suit is simply “another way of pleading an action against an entity of which an

officer is an agent.” Kentucky v. Graham, 473 U.S. 159, 165 (1985). Thus, “suits against a

municipal officer sued in h[er] official capacity and direct suits against municipalities are

functionally equivalent.” Snow v. City of Citronelle, 420 F.3d 1262, 1270 (2005).



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          Whether or not the City has “[s]overeign immunity [from Plaintiff’s IIED and slander

claims] is a threshold issue that the court is required to address before reaching the merits of any

other argument.” State Dep’t of Corr. v. Developers Sur. & Indem. Co., 324 Ga. App. 371, 374

(2013) (internal punctuation omitted). The Georgia Constitution clearly provides municipalities

with sovereign immunity from such claims, unless and to the extent the General Assembly

waives such immunity. Ga. Const. Art. IX, § II, Para. IX. “[M]unicipal immunity is not in the

nature of an affirmative defense but rather speaks to the trial court’s subject matter jurisdiction.”

City of Alpharetta v. Vlass, 360 Ga. App. 432, 434 (2021) (citing City of Tybee Island v. Harrod,

337 Ga. App. 523, 524 (2016)). Showing a waiver of sovereign immunity is the Plaintiff’s

burden. Smith v. City of Roswell, 2021 Ga. App. LEXIS 502, at *6-7, 864 S.E.2d 175 (Oct. 18,

2021); Vlass, 360 Ga. App. at 434.

          Plaintiff alleges nothing in his Complaint to show a waiver of the City’s sovereign

immunity to his IIED and slander claims. In fact, the word “immunity” appears nowhere in

Plaintiff’s Complaint. Thus, since Plaintiff has not even attempted to discharge his burden to

show a waiver, his claims for IIED and slander, to the extent they are asserted against the City,

are due to be dismissed. See Smith, 2021 Ga. App. LEXIS 502, at *12 (affirming dismissal where

plaintiff failed to show waiver of city’s sovereign immunity); Vlass, 360 Ga. App. at 437-40

(same).

B.        Plaintiff’s Complaint In Its Entirety Should Be Dismissed For Failure To State Any
          Claim For Relief

          Plaintiff also has failed to allege sufficient facts to state any claim for relief against the

City. The Complaint contains no allegations that, if assumed to be true, would support a claim

for IIED, slander, or whistleblower retaliation.




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       1.      Legal Standard On A Motion To Dismiss

       A complaint should be dismissed pursuant to Rule 12(b)(6) of the Civil Practice Act for

failure to state a claim upon which relief should be granted “when it appears to a certainty that

the plaintiff would be entitled to no relief under any state of facts which could be proved in

support of [her] claim.” Lange v. Standard Telephone Co., 243 Ga. App. 301, 304 (2000)

(affirming dismissal of complaint under § 9-11-12(b)(6); Lord v. Lowe, 318 Ga. App. 222, 222

(2012) (affirming grant of motion to dismiss for failure to state a claim and holding that “[e]ven

when a complaint is liberally construed, there still ‘must be some legal basis for recovery.’”).

       A motion to dismiss for failure to state a claim is to be granted when (1) the allegations of

the complaint disclose with certainty that the claimant would not be entitled to relief under any

state of provable facts asserted in support thereof; and (2) the movant establishes that the

claimant could not possibly introduce evidence within the framework of the complaint sufficient

to warrant a grant of relief sought. Common Cause/Georgia v. City of Atlanta, 279 Ga. 480, 481

(2005). “While a trial court is required to consider a non-moving party's factual allegations to be

true, it is not required to accept the legal conclusions the non-[moving] party suggests that those

facts dictate.” Trop, Inc. v. City of Brookhaven, 296 Ga. 85, 87, 764 S.E.2d 398, 401 (2014).

       2.      Plaintiff’s Allegations Fall Far Short Of The Threshold To Constitute IIED

       An IIED claim requires a showing that: (1) the defendant’s conduct was intentional or

reckless; (2) the defendant’s conduct was extreme and outrageous; (3) a causal connection

existed between the wrongful conduct and the emotional distress; and (4) the emotional harm

was severe. Abdul-Malik v. AirTran Airways, Inc., 297 Ga. App. 852, 855–56 (2009); Scott v.

Rite Aid of Georgia, Inc., 918 F. Supp. 2d 1292, 1305 (M.D. Ga. 2013). Extreme and outrageous

conduct is that which is “so outrageous in character, and so extreme in degree, as to go beyond



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all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a

civilized community.” Abdul-Malik, 297 Ga. App. at 856 (quoting Biven Software v. Newman,

222 Ga. App. 112, 113-114(1) (1996)) (citation and punctuation omitted); Anderson v. Dunbar

Armored, Inc., 678 F. Supp. 2d 1280, 1331-32 (N.D. Ga. 2009). Whether actions rise to the level

of extreme and outrageous conduct necessary to support an IIED claim is a question of law.

Abdul-Malik, 297 Ga. App. at 856. The burden a plaintiff must meet to prevail is stringent.

Bridges v. Winn-Dixie Atlanta, Inc., 176 Ga. App. 227, 229 (1985).

       Employment-related activities by themselves generally are insufficient to establish

conduct that is extreme and outrageous. See Jarrard v. United Parcel Serv., Inc., 242 Ga. App.

58, 59-62 (2000) (holding “derogatory comments in the employment context generally do not

fall into this category [of extreme and outrageous conduct]” and “performance evaluations

critical of an employee do not fall into the outrageous category even though (i) given in crude

and obscene language, (ii) done with a smirk, (iii) conducted in a belittling, rude, and

condescending manner to embarrass and humiliate the employee, (iv) given at a poor time, (v)

tinged with the intent to retaliate for former conflicts, and (vi) constituting a false accusation of

dishonesty or lack of integrity”); Biven Software, 222 Ga. App. at 113 (“Comments made within

the context of one’s employment may be horrifying or traumatizing, but are generally considered

‘a common vicissitude of ordinary life.’”); Mears v. Gulfstream Aerospace Corp., 225 Ga. App.

636, 639 (1997); Bowers v. Estep, 204 Ga. App. 615, 618 (1992) (“Richard Bowers alleged that

appellees Adams and Estep threatened, humiliated, and intimidated him in the course of their

inquiries concerning his emotional condition and that they maliciously transferred him to another

position. We agree with the trial court that these allegations do not set forth a claim for

intentional infliction of emotional distress as a matter of law”); Fox v. Ravinia Club, Inc., 202



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Ga. App. 260 (1991) (finding no outrageous conduct where plaintiff’s supervisor spoke to her in

a “hostile, intimidating and abusive manner” and gave false reasons for her termination).

       Even the termination of an employee, which is far more severe than anything Plaintiff

allegedly experienced, generally is not extreme and outrageous conduct, no matter how stressful

the termination may be for the employee. See Clark v. Coats & Clark, Inc., 990 F.2d 1217, 1229

(11th Cir. 1993) (“[A]n employer’s termination of an employee—however stressful to the

employee—generally is not extreme and outrageous conduct.”); Beck v. Interstate Brands Corp.,

953 F.2d 1275, 1276 (11th Cir. 1992) (“Even if the employee is not terminable at will, discharge

for an improper reason does not constitute the egregious kind of conduct on which a claim of

intentional infliction of emotional distress can be based.”); Anderson, 678 F. Supp. 2d at 1331-32

(giving plaintiff “unofficial notices,” “badgering” her about her work performance, and

terminating her employment insufficient to constitute IIED); Pierri v. Cingular Wireless, LLC,

397 F. Supp. 2d 1364, 1381 (N.D. Ga. 2005) (“Georgia law does not consider adverse

employment actions ‘extreme or outrageous.’”); Robinson v. United Parcel Service, Inc., No.

1:06-CV-2601-RLV, 2007 WL 3484743, *7 (N.D. Ga. Nov. 14, 2007) (“[N]egative performance

evaluations, demanding business practices, and termination are recognized as common aspects of

being employed.”); Farrior v. H.J. Russell & Co., 45 F. Supp. 2d 1358, 1363-64 (N.D. Ga. 1999)

(discriminatory termination insufficiently outrageous to support IIED claim).

       Plaintiff cannot possibly support an IIED claim. As discussed above, stressful and even

discriminatory terminations are insufficient to sustain IIED claims, and Plaintiff’s allegations do

not even meet this level of stress because he still is employed. As shown above, both state and

federal courts in Georgia routinely dismiss IIED claims arising from one’s employment, even in

cases with allegations far more egregious than what Plaintiff allegedly experienced. See also



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Southland Propane, Inc. v. McWhorter, 312 Ga. App. 812, 819 (2011) (reversing plaintiff’s jury

verdict on IIED claim with direction to enter judgment for defendants, noting “[c]omments made

within the context of one’s employment may be horrifying or traumatizing, but [they] are

generally considered a common vicissitude of ordinary life,” and “[t]he same is true of false

accusations of dishonesty in the workplace”); Law v. Harris, 295 Ga. App. 628, 629 (2009)

(supervisor’s being “verbally abusive,” “humiliat[ing] [plaintiff] in front of other [C]hurch

members,” “ma[king] direct threats,” and being “confrontational” to plaintiff insufficiently

extreme or outrageous to support IIED claim, noting “the law does not provide a remedy for

alleged conduct that is merely rude or insulting”).

       In addition, Plaintiff alleges no facts whatsoever to render the City as a whole liable for

the alleged statements and actions of only one member of its City Council. “An employer cannot

be vicariously liable for an employee’s intentional harassment of another employee unless the

employer ratifies the conduct.” Mears v. Gulfstream Aero. Corp., 225 Ga. App. 636, 641 (1997);

see also infra Part II.4.b (citing cases regarding ratification in context of city councils).

Plaintiff’s IIED allegations therefore fail as a matter of law and should be dismissed.

       3.      Plaintiff Alleges No Statements That Would Constitute Slander Or Any Facts
               To Render The City Liable

       While Plaintiff alleges in conclusory fashion that Councilwoman Wells has made

“numerous false and defamatory remarks” about him, he fails to identify a single statement to

support this conclusion. See Wylie v. Denton, 323 Ga. App. 161, 170 (2013) (for defamation

claim to survive motion to dismiss, complaint must contain “facts sufficient to provide [the

defendant] with notice of both the content of the allegedly defamatory statements and the context

in which those statements were made”).




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       More fundamentally, any purportedly slanderous statements by Councilwoman Wells

cannot be attributable to the City. Plaintiff alleges no facts whatsoever to show the City ratified

or directed Councilwoman Wells to make the alleged defamatory statements. Even if he could

allege such facts (which he cannot do), Georgia law does not recognize corporate liability for

slander based on ratification. Dougherty v. Harvey, 317 F. Supp. 3d 1287, 1294 (N.D. Ga. 2018)

(citing Ray v. American Legion Auxiliary, 224 Ga. App. 565, 567 (1997); Church of God, Inc. v.

Shaw, 194 Ga. App. 694, 695 (1990)); see also Shaw, 194 Ga. App. at 695 (“[A] corporation

lacks the capacity to commit slander[.]”).

       4.      Plaintiff’s Whistleblower Retaliation Claim Fails As A Matter Of Law

               a.      Any Whistleblower Retaliation Claim Based On Events Occurring
                       Before November 1, 2020 Is Time-Barred And Must Be Dismissed

       The GWA requires whistleblower retaliation claims to be asserted “within one year after

discovering the retaliation or within three years after the retaliation, whichever is earlier.”

O.G.C.A. § 45-1-4(e)(1). “Retaliation” under the statute is limited to “adverse employment

action[s].” § 45-1-4(a)(5).

       Since Plaintiff filed this action on November 1, 2021, his whistleblower retaliation claim

is limited to “adverse employment action[s]” occurring after November 1, 2020. According to

the allegations in his Complaint, this timeframe limits his claim to (1) his November 2020

“demotion,” (2) the investigation into workplace surveillance, and (3) Councilwoman Wells’s

alleged comments. (See Compl. ¶¶ 40, 48, 53-55, 63-64, 71.) A GWA claim based on any other

actions is due to be dismissed as untimely.1




1
  While the phrase “hostile work environment” appears in many places in Plaintiff’s Complaint,
the undersigned is unaware of any controlling authority recognizing such a claim under the
GWA in the many decades the GWA has been in existence.
                                               - 10 -
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               b.      Plaintiff Fails To Identify Any Actionable Adverse Employment
                       Actions Occurring After November 1, 2020

       None of the alleged events after November 1, 2020 is an adverse employment action for

purposes of the GWA. Under the GWA, the phrase “adverse employment action” is interpreted

to mean employment action analogous to or of a similar kind as a “discharge, suspension, or

demotion.” Franklin v. Pitts, 349 Ga. App. 544, 554 (2019).

       Georgia courts construe “adverse employment action” under the GWA consistent with

the interpretation given to discrimination claims under Title VII of the Civil Rights Act, see id. at

552, which requires a “threshold level of substantiality.” Davis v. Town of Lake Park, 245 F.3d

1232, 1238-39 (11th Cir. 2001). Importantly, the employee’s subjective perception of the

seriousness of the employment action is not controlling; rather, the issue is viewed objectively

from the perspective of a reasonable person under the circumstances. Id. Allegations of

supervisory nit-picking, changes in job duties or responsibilities, being investigated, or receiving

increased scrutiny do not meet the threshold level of substantiality to be an actionable “adverse

employment      action.”    See    id.   (loss    of      officer-in-charge   designation,   increased

workload/assignments, and negative job criticisms, did not constitute actionable adverse

employment actions); Grimsley v. Marshalls of MA, Inc., 284 F. App’x 604 (11th Cir. 2008)

(same, increased work load); Barnett v. Athens Reg’l Med. Ctr. Inc., 550 F. App’x 711, 713 (11th

Cir. 2013) (same, counseling and scolding); Henderson v. City of Birmingham, 826 F. App’x

736, 740-41 (11th Cir. 2020) (investigating an employee is not an adverse employment action).

       While Plaintiff asserts in his Complaint that he was “demoted” on November 4, 2020, his

specific allegations show this not to be the case at all:

               [O]n November 4, 2020, Chief Clark was demoted from his
               position of Deputy City Manager. Specifically, Chief Clark’s
               contract was amended so that he would only serve as Public

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               Safety Director and Chief of Police. Chief Clark was only to serve
               as Deputy City Manager in the absence of a City Manager.

(Compl. ¶ 40 (emphasis added).) Plaintiff thus did not receive an involuntary “demotion.”

Rather, he entered into a new employment contract with the City, the terms to which he indicated

his agreement and assent by signing it. “One who signs or accepts a written contract, in the

absence of fraud or other wrongful act on the part of another contracting party, is conclusively

presumed to know its contents and to assent to them.” Tracy v. Fla. Atl. Univ. Bd. of Trs., 980

F.3d 799, 806 (11th Cir. 2020) (quoting 27 Williston on Contracts § 70:114 (4th ed.)).

       The fact that Plaintiff chooses to use the word “demotion” when discussing a contract

into which he willingly entered is not controlling because, as discussed above, whether an

employment action is adverse is subject to a reasonableness test and not on how the Plaintiff

subjectively views the employment action. See Davis, 245 F.3d at 1239-40. Plaintiff alleges

nothing in his Complaint to suggest any fraud, undue influence, or anything else to call into

question the validity and/or mutual assent of his employment contract with the City. Nor does he

allege this new contract resulted in any decrease in pay.

       Plaintiff’s mischaracterization of his new employment contract as a “demotion” further is

evidenced by his allegation that “Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.” (Compl. ¶ 40.) Thus, he admits he actually does still serve as

Deputy City Manager. To the extent he takes issue with the fact that he serves in this position

only in the City Manager’s absence, this outcome actually is demanded by the City’s Charter:

               Sec. 2.42. - Acting city manager.

                   (a) By letter filed with the city clerk, the city manager may
                       designate, subject to approval of the city council, a
                       qualified city administrative officer to exercise the powers
                       and perform the duties of city manager during his
                       temporary absence or disability. During such absence or

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                      disability, the city council may revoke such designation at
                      any time and appoint another qualified city administrative
                      officer of the city to serve until the city manager shall
                      return or his disability shall cease.

                   (b) In the event of the city manager's permanent absence for
                       any reason, or in the event a temporary absence or
                       disability later becomes a permanent absence or disability,
                       the city council shall have the authority to designate a city
                       administrative officer to exercise the powers and perform
                       the duties of city manager until such time as the permanent
                       replacement for the city manager has been determined.
                       Voting on the replacement city manager shall be conducted
                       as for the adoption or ordinances as set out in section 2.23
                       of this charter. The person appointed pursuant to this
                       provision shall be the acting city manager until such time as
                       another qualified city administrative officer is so
                       designated or a new city manager is appointed pursuant to
                       section 2.40 of this charter.

Charter of City of Forest Park § 2.42 (emphasis added).2 Plaintiff cannot seriously contend the

City’s following its Charter is unlawful retaliation or even an adverse employment action.

       The two remaining alleged adverse actions within the limitations period (i.e., the alleged

investigation into workplace surveillance and Councilwoman Wells’s alleged comments) are

even further from the “threshold level of substantiality” than the mischaracterized “demotion.”

See Davis, 245 F.3d at 1238-39. The City has a duty to investigate complaints of potential

workplace rule violations, and Plaintiff does not allege the investigation resulted in any negative

consequences for his job. To the contrary, he admits that the City’s investigation showed the

allegations against him were unfounded. (Id. ¶ 55.)

       As for Councilwoman’s Wells’s alleged comments, he fails to identify a single comment

that he contends to be retaliatory. In any event, it is well-established that Councilwoman Wells’s

purported motives in making any such comments cannot be attributed to the City because


2
 The Court “may take judicial notice of city charter provisions.” City of Rincon v. Ernest Cmtys.,
LLC, 356 Ga. App. 84, 88 n.3 (2020).
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Councilwoman Wells is just one member of a five-person City Council. See Matthews v.

Columbia Cnty., 294 F.3d 1294, 1297 (11th Cir. 2002) (holding that “[b]ecause policymaking

authority rests with the [council] as an entity,” liability may not attach unless the council

“ratif[ies] not only the decision itself, but also the unconstitutional basis for it”) (citation

omitted); Mason v. Village of El Portal, 240 F.3d 1337, 1339 (11th Cir. 2001) (“[T]here can be

no municipal liability unless all three members of the [five-person] council who voted against

reappointing Plaintiff shared the illegal motive.”); Church v. City of Huntsville, 30 F.3d 1332,

1343 (11th Cir. 1994) (comments of one city councilman suggesting an unconstitutional motive

was insufficient to show that the city council had authorized an unconstitutional policy); Jones v.

City of Coll. Park, No. 1:05-CV-1797-WBH, 2011 U.S. Dist. LEXIS 91500, at *8 (N.D. Ga.

Mar. 3, 2011) (holding city had no liability for race discrimination claim when on two of four-

person city council had discriminatory motive in voting to terminate plaintiff). Thus, regardless

of what Councilwoman Wells did or did not say, her comments are not actions by the City and

therefore wholly insufficient to support a whistleblower retaliation claim.

                                       III.   CONCLUSION

          For the reasons set forth above, the City respectfully requests that its Motion to Dismiss

be granted and that the Court dismiss with prejudice all claims asserted against the City in this

action.

                                               Respectfully submitted,

                                               FREEMAN MATHIS & GARY, LLP


                                               /s/ Michael M. Hill
                                               Michael M. Hill
                                               Georgia Bar No. 770486
                                               Shaheem M. Williams
                                               Georgia Bar No. 666654

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                               T: (770) 818-0000
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                               Counsel for City of Forest Park, GA




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                    IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

NATHANIEL CLARK,                                 )
                                                 )
      Plaintiff,                                 )       Civil Action
                                                 )       No. 2021CV03928-14
v.                                               )
                                                 )
CITY OF FOREST PARK, GA and                      )
LATRESA AKINS-WELLS, in her                      )
Official and individual capacity,                )
                                                 )
      Defendants.                                )

                                 CERTIFICATE OF SERVICE

       I certify that on this day I electronically filed the foregoing CITY OF FOREST PARK,

GEORGIA’S MOTION TO DISMISS COMPLAINT with the Clerk of Court using the Peach

Court e-filing system, which will automatically send electronic mail notification of such filing to all

counsel of record, and by depositing a true copy of the same in the United States mail, proper

postage prepaid, addressed to counsel of record as follows:

                                             Jackie Lee
                                      LEE LAW FIRM, LLC
                                1100 Peachtree Street NE, Suite 250
                                      Atlanta, Georgia 30309
                                       jackie@leelawga.com

       This 20th day of December, 2021.


                                                         /s/ Michael M. Hill
                                                         Michael M. Hill
                                                         Georgia Bar No. 770486

FREEMAN MATHIS & GARY, LLP
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Suite 1600
Atlanta, Georgia 30339
Telephone (770) 818-0000
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                                                                                          CLERK OF SUPERIOR COURT
                                                                                          CLAYTON COUNTY, GEORGIA
                                                                                         2021CV03928-14
                        IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                    STATE OF GEORGIA                                       DEC 20, 2021 03:42 PM


 NATHANIEL CLARK,                                   )
                                                    )
           Plaintiff,                               )     Civil Action
                                                    )     No. 2021CV03928-14
 v.                                                 )
                                                    )
 CITY OF FOREST PARK, GA and                        )
 LATRESA AKINS-WELLS, in her                        )
 Official and individual capacity,                  )
                                                    )
           Defendants.                              )

                         CITY OF FOREST PARK, GEORGIA’S ANSWER
                         AND DEFENSES TO PLAINTIFF’S COMPLAINT

           COMES NOW The City of Forest Park, Georgia (the “City”), pursuant to O.C.G.A. §§ 9-

11-8 and 9-11-12 and answers Plaintiff’s Complaint (“Complaint”) as follows:

                                           FIRST DEFENSE

           This Court lacks subject matter jurisdiction over some or all of Plaintiff’s claims.

                                          SECOND DEFENSE

           Some or all of Plaintiff’s claims are barred by the doctrine of sovereign immunity.

                                           THIRD DEFENSE

           The Complaint fails, in whole or in part, to state a claim upon which relief can be granted.

                                          FOURTH DEFENSE

           Some or all of Plaintiff’s claims are barred by the applicable statute of limitations,

including the failure to file the instant lawsuit within the time-period required by the applicable

statute.

                                           FIFTH DEFENSE

           All actions taken with respect to the Plaintiff were for legitimate, non-retaliatory reasons.


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                                           SIXTH DEFENSE

          The legitimate, non-retaliatory reasons for any adverse action taken with respect to the

Plaintiff were not pretexts for unlawful retaliation.

                                        SEVENTH DEFENSE

          Even if any adverse actions were taken against the Plaintiff for reasons related to Plaintiff’s

protected class status, protected activity, or any exercise by Plaintiff of protected rights, Plaintiff

would have been subject to adverse employment actions or otherwise for reasons unrelated to any

protected class status or activities, including after-acquired evidence.

                                         EIGHTH DEFENSE

          Any adverse action taken against Plaintiff was done so in good faith without malice or

reckless indifference to Plaintiff’s protected rights.

                                          NINTH DEFENSE

          Plaintiff did not make any disclosure or engage in any other activity protected under the

Georgia Whistleblower Act (“GWA”), O.C.G.A. § 45-1-4.

                                          TENTH DEFENSE

          Plaintiff has no actual or reasonable belief that he complained of or reported the possible

existence of any activity constituting fraud, waste, or abuse in or relating to any state programs or

operations under the jurisdiction of the City.

                                       ELEVENTH DEFENSE

          Plaintiff has no actual or reasonable belief that he complained of, disclosed, objected to, or

refused to participate in any violation of any law, rule, or regulation, as defined by O.C.G.A. § 45-

1-4(d).




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                                        TWELFTH DEFENSE

           The City has not made, adopted or enforced a policy or practice of preventing disclosure

of or noncompliance with any law, rule, or regulation.

                                      THIRTEENTH DEFENSE

           Any complaint made by Plaintiff was made knowing it was false or with reckless disregard

for its truth or falsity.

                                      FOURTEENTH DEFENSE

           No act or omission of the City either proximately caused or contributed to any injuries or

damages allegedly incurred by Plaintiff. Therefore, Plaintiff has no right of recovery against the

City.

                                       FIFTEENTH DEFENSE

           Some or all of Plaintiff’s claims under the GWA fail because Plaintiff did not experience

a tangible adverse employment action.

                                       SIXTEENTH DEFENSE

           Plaintiff’s damages are limited to those remedies and those amounts provided for by

statute.

                                     SEVENTEENTH DEFENSE

           Plaintiff has failed to mitigate damages as required by law.

                                      EIGHTEENTH DEFENSE

           Plaintiff’s Complaint fails to state a claim for punitive, actual, special, exemplary, and/or

compensatory damages.

                                       NINTEENTH DEFENSE

           Plaintiff’s Complaint fails to state a claim for punitive damages. The City and Defendant



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Latresa Akins-Wells sued in her official capacity are immune from liability for punitive damages,

and punitive damages are the responsibility of none other than the active tortfeasor.

                                    TWENTIETH DEFENSE

       Some or all of Plaintiff’s claims are barred by the doctrine of fraud.

                                  TWENTY-FIRST DEFENSE

       Plaintiff has unclean hands.

                                 TWENTY-SECOND DEFENSE

       The GWA does not support a claim for retaliatory hostile work environment.

                                  TWENTY-THIRD DEFENSE

       Even if Plaintiff was subject to unlawful conduct based on Plaintiff’s protected class status,

protected activity, or any exercise by Plaintiff of protected rights, the City exercised reasonable

care to prevent and correct the actions which support Plaintiff’s claim and Plaintiff unreasonably

failed to avail himself of preventive or corrective opportunities or to avoid harm otherwise.

                                 TWENTY-FOURTH DEFENSE

       Plaintiff has not been subjected to retaliatory harassment and Plaintiff’s Complaint does

not allege, nor has Plaintiff experienced, retaliatory conduct sufficiently severe or pervasive to

constitute conduct for which there is a legal remedy.

                                  TWENTY-FIFTH DEFENSE

       The Defendants sued in their official capacity or otherwise are not liable for the individual

acts of any of the Defendants.

                                  TWENTY-SIXTH DEFENSE

       Defendants named in both their individual and official capacity are improperly joined as

parties to the extent that they are named in their official capacity.



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                                TWENTY-SEVENTH DEFENSE

       Plaintiff’s claims may be subject to apportionment including pursuant to O.C.G.A § 51-

12-33 and otherwise.

                                 TWENTY-EIGHTH DEFENSE

       Some or all of Plaintiff’s claims are barred by Plaintiff’s failure to exhaust administrative

remedies.

                                  TWENTY-NINTH DEFENSE

       Plaintiff’s claims are barred by the doctrines of absolute and qualified privilege provided

by law and as provided for by O.C.G.A. § 51-5-7.

                                     THIRTIETH DEFENSE

       Plaintiff’s claims are barred by the doctrine of truth and by justification provided for by

law and by O.C.G.A. § 51-5-6.

                                   THIRTY-FIRST DEFENSE

       Plaintiff’s Complaint alleges communications that, if made, are protected opinion and

cannot provide a basis for any defamation claims by Plaintiff.

                                 THIRTY-SECOND DEFENSE

       The City reserves the right to plead and prove such other defenses as may become known

during the course of its investigation.

                                  THIRTY-THIRD DEFENSE

       For answers to the respective paragraphs of the Complaint, the City shows as follows:

                                            PARTIES

                                                1.

       The City shows that this paragraph contains a legal conclusion to which no response is



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required; however, to the extent a response is required, the City admits Plaintiff was hired as Police

Chief on May 14, 2019. The City denies the remaining allegations pled in Paragraph 1 of the

Complaint.

                                                 2.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City admits its principal address is

located at 745 Forest Parkway, Forest Park, GA 30297. The City denies the remaining allegations

pled in Paragraph 2 of the Complaint.

                                                 3.

       The City admits the allegations pled in Paragraph 3 of the Complaint.

                                 JURISDICTION AND VENUE

                                                 4.

       The City admits the allegations pled in Paragraph 4 of the Complaint.

                                                 5.

       The City admits that Councilwoman Latresa Akins-Wells (“Defendant Wells”) and the

City reside in Clayton County. The City denies the remaining allegations pled in Paragraph 5 of

the Complaint

                                                 6.

       The City denies the allegations pled in Paragraph 6 of the Complaint.

                                  FACTUAL ALLEGATIONS

                                                 7.

       The City admits Plaintiff was hired as Police Chief on May 14, 2019. The City is without

knowledge or information sufficient to admit or deny the truth of the allegation that Plaintiff is a



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“permanent Black individual.” The City denies the remaining allegations pled in Paragraph 7 of

the Complaint.

                                                8.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 8 of the Complaint.

                                                9.

       The City admits the allegations pled in Paragraph 9 of the Complaint.

                                               10.

       The City admits the allegations pled in Paragraph 10 of the Complaint.

                                               11.

       The City admits the allegations pled in Paragraph 11 of the Complaint.

                                               12.

       The City admits that an audit was conducted on the Police Department after Plaintiff

became Chief of Police. The City is without knowledge or information sufficient to admit or deny

the truth of the remaining allegations pled in Paragraph 12 of the Complaint.

                                               13.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 13 of the Complaint.

                                               14.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 14 of the Complaint.

                                               15.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 15 of the Complaint.

                                               16.

       The City shows that the allegations pled in Paragraph 16 of the Complaint refer to an online

document, the content of which speaks for itself. The City is without knowledge or information

sufficient to admit or deny the truth of the remaining allegations pled in Paragraph 16 of the

Complaint.

                                                17.

       The City denies the allegations pled in Paragraph 17 of the Complaint.

                                                18.

       The City admits that City Manager Angela Redding left employment with the City in

January 2020 and the City appointed Plaintiff as Interim City Manager/Police Chief effective

January 7, 2020. The City denies the remaining allegations pled in Paragraph 18 of the Complaint.

                                                19.

       The City admits the allegations pled in Paragraph 19 of the Complaint.

                                                20.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 20 of the Complaint.

                                                21.

       The City admits Plaintiff recommended that a financial audit be conducted regarding

SPLOST expenditures and that the City regularly conducts audits. The City denies the remaining

allegations pled in Paragraph 21 of the Complaint.

                                                22.

       The City admits the allegations pled in Paragraph 22 of the Complaint.



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                                               23.

       The City shows that the allegations pled in Paragraph 23 of the Complaint refer to an

external document, the content of which speaks for itself. The City admits Plaintiff received a

performance review on June 30, 2020 from City Manager Barker. The City denies the remaining

allegations pled in Paragraph 23 of the Complaint.

                                               24.

       The City shows that the allegations pled in Paragraph 24 of the Complaint refer to a

document attached to the Complaint as Exhibit A, the content of which speaks for itself. The City

denies the remaining allegations pled in Paragraph 24 of the Complaint.

                                               25.

       The City admits creating the position of Deputy City Manager/Public Safety Director. The

City denies the remaining allegations pled in Paragraph 25 of the Complaint.

                                               26.

       The City shows that the allegations pled in Paragraph 26 of the Complaint refer to a

document attached to the Complaint as Exhibit B, the content of which speaks for itself. The City

denies the remaining allegations pled in Paragraph 26 of the Complaint.

                                                27.

       The City denies the allegations pled in Paragraph 27 of the Complaint.

                                                28.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements to Plaintiff alleged in Paragraph 28 of the

Complaint. The City denies the remaining allegations pled in Paragraph 28 of the Complaint.




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                                                  29.

       The City shows that the allegations pled in Paragraph 29 of the Complaint refer to a

document attached to the Complaint as Exhibit C, the content of which speaks for itself. The City

is without knowledge or information sufficient to admit or deny the truth of the remaining

allegations pled in Paragraph 29 of the Complaint.

                                                 30.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 30 of the Complaint.

                                                 31.

       The City shows that the allegations pled in Paragraph 31 of the Complaint refer to a

document attached to the Complaint as Exhibit D, the content of which speaks for itself. The City

admits it regularly conducts audits. The City is without knowledge or information sufficient to

admit or deny the truth of the remaining allegations pled in Paragraph 31 of the Complaint.

                                                 32.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 32 of the Complaint.

                                                 33.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 33 of the Complaint.

                                                 34.

       The City shows that the allegations pled in Paragraph 34 of the Complaint refer to a

document attached to the Complaint as Exhibit E, the content of which speaks for itself. The City

is without knowledge or information sufficient to admit or deny the truth of the allegations pled in



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Paragraph 34 of the Complaint.

                                                35.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements alleged in Paragraph 35 of the Complaint to

Plaintiff. The City denies the remaining allegations pled in Paragraph 35 of the Complaint.

                                                36.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements alleged in Paragraph 36 of the Complaint to

Plaintiff and “others.” The City denies the remaining allegations pled in Paragraph 36 of the

Complaint.

                                                37.

       The City shows that the allegations pled in Paragraph 37 of the Complaint refer to an

external document, the content of which speaks for itself. The City admits Plaintiff received a

performance review from City Manager Barker on November 2, 2020. The City denies the

remaining allegations pled in Paragraph 37 of the Complaint.

                                                38.

       The City shows that the allegations pled in Paragraph 38 of the Complaint refer to an

external document, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 38 of the Complaint.

                                                39.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 39 of the Complaint.




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                                                40.

       The City admits Plaintiff entered into a new employment contract with the City on

November 4, 2020 and shows that the content of this employment contract speaks for itself. The

City denies the remaining allegations pled in Paragraph 40 of the Complaint.

                                                41.

       The City denies the allegations pled in Paragraph 41 of the Complaint.

                                                42.

       The City denies the allegations pled in Paragraph 42 of the Complaint.

                                                43.

       The City admits that Ken Thompson resigned from his position as Finance Director. The

City is without knowledge or information sufficient to admit or deny the truth of the remaining

allegations pled in Paragraph 43 of the Complaint.

                                                44.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 44 of the Complaint.

                                                45.

       The City admits the allegations pled in Paragraph 45 of the Complaint.

                                                46.

       The City admits Fire Chief Don Horton was put on administrative leave due to sexual

harassment allegations against him. The City is without knowledge or information sufficient to

admit or deny the truth of the remaining allegations pled in Paragraph 46 of the Complaint.

                                                47.

       The City admits that an investigation was conducted into the sexual harassment allegations



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against Fire Chief Horton, that the investigation determined that Fire Chief Horton violated the

City’s workplace harassment policy, and that the Governing Body terminated Fire Chief Horton

after receiving the findings of the investigation. The City denies the remaining allegations pled in

Paragraph 47 of the Complaint.

                                                  48.

       The City denies the allegations pled in Paragraph 48 of the Complaint.

                                                  49.

       The City admits that Plaintiff appeared at Fire Chief Horton’s appeal hearing. The City

denies the remaining allegations pled in Paragraph 49 of the Complaint.

                                                  50.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 50 of the Complaint.

                                                  51.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 51 of the Complaint.

                                                  52.

       The City denies the allegations pled in Paragraph 52 of the Complaint.

                                                  53.

       The City denies the allegations pled in Paragraph 53 of the Complaint.

                                                  54.

       The City admits Plaintiff had a meeting with City Manager Marc-Antonie Cooper on May

28, 2021. The City denies the remaining allegations pled in Paragraph 54 of the Complaint.




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                                                55.

       The City admits that the City investigated an allegation of improper surveillance and

determined the allegations to be unfounded. The City denies the remaining allegations pled in

Paragraph 55 of the Complaint.

                                                56.

       The City denies the allegations pled in Paragraph 56 of the Complaint.

                                                57.

       The City denies the allegations pled in Paragraph 57 of the Complaint.

                                                58.

       The City denies the allegations pled in Paragraph 58 of the Complaint.

                                                59.

       The City admits the City Manager hired the City’s Fire Chief. The City denies the

remaining allegations pled in Paragraph 59 of the Complaint.

                                                60.

       The City denies the allegations pled in Paragraph 60 of the Complaint.

                                                61.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 61 of the Complaint.

                                                62.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 62 of the Complaint.

                                                63.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 63 of the Complaint.

                                                 64.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 64 of the Complaint.

                                                 65.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 65 of the Complaint.

                                                 66.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 66 of the Complaint.

                                                 67.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 67 of the Complaint.

                                                 68.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 68 of the Complaint.

                                                 69.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 69 of the Complaint.

                                                 70.

       The City shows that the allegations pled in Paragraph 70 of the Complaint refer to an online

document, the content of which speaks for itself. The City denies the remaining allegations pled

in Paragraph 70 of the Complaint.



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                                                 71.

       The City shows that the allegations pled in Paragraph 71 of the Complaint refer to an online

document, the content of which speaks for itself. The City denies the remaining allegations pled

in Paragraph 71 of the Complaint.

                                                 72.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 72 of the Complaint.

                                                 73.

       The City shows that the allegations pled in Paragraph 73 of the Complaint refer to an

external document, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 73 of the Complaint.

                                                 74.

       The City denies the allegations pled in Paragraph 74 of the Complaint.

                                                 75.

       The City denies the allegations pled in Paragraph 75 of the Complaint.

                                                 76.

       The City denies the allegations pled in Paragraph 76 of the Complaint.

                                                 77.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether a City official told Plaintiff the statements alleged in Paragraph 77 of the Complaint.




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                                COUNT I:
                         RETALIATION UNDER THE
              GEORGIA WHISTLEBLOWER ACT, O.C.G.A. § 45-1-4, et seq.
                                (The City)

                                                 78.

       The City incorporates by reference its responses to Paragraphs 1 through 77 of the

Complaint as though set forth specifically herein.

                                                 79.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City shows that the referenced code

section, O.C.G.A. § 45-1-4, speaks for itself. The City denies the remaining allegations pled in

Paragraph 79 of the Complaint.

                                                 80.

       The City admits Plaintiff entered into a new employment contract with the City on

November 4, 2020 and shows that the content of this employment contract speaks for itself. The

City denies the remaining allegations pled in Paragraph 80 of the Complaint.

                                                 81.

       The City denies the allegations pled in Paragraph 81 of the Complaint.

                                                 82.

       The City denies the allegations pled in Paragraph 82 of the Complaint.

                                                 83.

       The City denies the allegations pled in Paragraph 83 of the Complaint.

                                                 84.

       The City denies the allegations pled in Paragraph 84 of the Complaint.




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                                                 85.

       The City denies the allegations pled in Paragraph 85 of the Complaint.

                                                 86.

       The City denies the allegations pled in Paragraph 86 of the Complaint.

                                  COUNT II:
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    UNDER THE COMMON LAW OF GEORGIA
                               (Defendant Wells)

                                                 87.

       The City incorporates by reference its responses to Paragraphs 1 through 86 of the

Complaint as though set forth specifically herein.

                                                 88.

       The City denies the allegations pled in Paragraph 88 of the Complaint.

                                                 89.

       The City denies the allegations pled in Paragraph 89 of the Complaint.

                                         COUNT III:
                                          SLANDER
                                       (Defendant Wells)

                                                 90.

       The City incorporates by reference its responses to Paragraphs 1 through 89 of the

Complaint as though set forth specifically herein.

                                                 91.

       The City denies the allegations pled in Paragraph 91 of the Complaint.

                                                 92.

       The City denies the allegations pled in Paragraph 92 of the Complaint.




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                                                    93.

          The City denies the allegations pled in Paragraph 93 of the Complaint.

                                                    94.

          The City denies the allegations pled in Paragraph 94 of the Complaint.

                                                    95.

          The City denies Plaintiff is entitled to any of the relief set forth in the requests in the

unnumbered “WHEREFORE” paragraph immediately following Paragraph 94 of the Complaint,

including the relief sought in subsections (a) through (h), and denies that Plaintiff is entitled to any

relief whatsoever under any theory at law or in equity. The City denies the remaining allegations

pled in this unnumbered paragraph of the Complaint.

                                                    96.

          Any allegations in the Complaint not heretofore answered, qualified, or denied are here

and now denied as though set forth specifically and denied.

          WHEREFORE, The City in the above-referenced civil action respectfully requests that

this Court:

          1.     Dismiss with prejudice Plaintiff’s Complaint;

          2.     Enter judgment in favor of the City and against Plaintiff;

          3.     Award the City its reasonable attorney’s fees, costs, and expenses pursuant to

applicable law; and

          4.     Award any and all other relief to the City that this Court may deem necessary and

proper.




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                               Respectfully submitted,

                               FREEMAN MATHIS & GARY, LLP


                               /s/ Michael M. Hill
                               Michael M. Hill
                               Georgia Bar No. 770486
                               Shaheem M. Williams
                               Georgia Bar No. 666654
                               100 Galleria Parkway
                               Suite 1600
                               Atlanta, Georgia 30339
                               T: (770) 818-0000
                               F: (770) 937-9960

                               Counsel for City of Forest Park, GA




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                     IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                 STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
        Plaintiff,                               )       Civil Action
                                                 )       No. 2021CV03928-14
 v.                                              )
                                                 )
 CITY OF FOREST PARK, GA and                     )
 LATRESA AKINS-WELLS, in her                     )
 Official and individual capacity,               )
                                                 )
        Defendants.                              )

                                 CERTIFICATE OF SERVICE

        I certify that on this day I electronically filed the foregoing CITY OF FOREST PARK,

GEORGIA’S ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk of

Court using the Peach Court e-filing system, which will automatically send electronic mail

notification of such filing to all counsel of record, and by depositing a true copy of the same in the

United States mail, proper postage prepaid, addressed to counsel of record as follows:

                                             Jackie Lee
                                      LEE LAW FIRM, LLC
                                1100 Peachtree Street NE, Suite 250
                                      Atlanta, Georgia 30309
                                       jackie@leelawga.com

        This 20th day of December, 2021.

                                               /s/ Michael M. Hill
                                               Michael M. Hill
                                               Georgia Bar No. 770486
                                               FREEMAN MATHIS & GARY, LLP
                                               100 Galleria Parkway
                                               Suite 1600
                                               Atlanta, Georgia 30339
                                               T: (770) 818-0000
                                               F: (770) 937-9960




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                                                                                        CLERK OF SUPERIOR COURT
                                                                                        CLAYTON COUNTY, GEORGIA
                                                                                        2021CV03928-14
                         IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                      STATE OF GEORGIA                                  JAN 06, 2022 04:52 PM



NATHANIEL CLARK,                                     )
                                                     )
                  Plaintiff,                         )         CIVIL ACTION FILE NO.:
                                                     )
vs.                                                  )         2021-CV-03928-14
                                                     )
CITY OF FOREST PARK, GA, and                         )
LATRESA AKINS-WELLS, in her                          )
Official and Individual Capacity,                    )         Jury Trial Demanded
                                                     )
                  Defendants.                        )


          ANSWER AND DEFENSES OF DEFENDANT LATRESA AKINS-WELLS
                        TO PLAINTIFF’S COMPLAINT

         COMES NOW LATRESA AKINS-WELLS (hereinafter “this Defendant”), a named

Defendant in the above-styled action, and files and serves this Answer and Defenses to Plaintiff’s

Complaint, respectfully showing this Court as follows:

                                                 FIRST DEFENSE

         Plaintiff’s Complaint fails to state or set forth claims against this Defendant upon which

relief can be granted.

                                                 SECOND DEFENSE

         As a Second Defense, this Defendant answers the numbered paragraphs of Plaintiff’s

Complaint as follows:

                                                    PARTIES

                                                         1.

         The allegations set forth in paragraph 1 regarding O.C.G.A. § 45-1-4 are statements of law

requiring no response from this Defendant. This Defendant responds that she is without sufficient



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knowledge or information to admit or deny the remaining allegations set forth in paragraph 1 and

puts Plaintiff on strict proof of same.

                                                   2.

         This Defendant admits that the City of Forest Park’s principal address is located at 745

Forest Parkway, Forest Park, GA 30297. The remaining allegations set forth in paragraph 2

regarding O.C.G.A. § 45-1-4 are statements of law requiring no response from this Defendant. To

the extent further response is required, this Defendant denies the allegations as stated.

                                                   3.

         This Defendant admits that she serves as an elected member of the City Council of the City

of Forest Park. This Defendant also admits that Plaintiff purports to sue this Defendant in her

individual and official capacities, but she denies any and all liability to Plaintiff.

                                         JURISDICTION AND VENUE

                                                   4.

         The allegation regarding venue and jurisdiction is a statement of law requiring no response

from this Defendant. This Defendant denies any and all liability to Plaintiff in connection with the

acts, events or omissions alleged in Plaintiff’s Complaint.

                                                   5.

         This Defendant admits that she and the City of Forest Park reside in Clayton County, but

she is without sufficient knowledge or information to admit or deny the remaining allegations.

This Defendant denies that she engaged in any unlawful conduct.




                                                  -2-
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                                                  6.

         This Defendant denies the allegations in paragraph 6.

                                          FACTUAL ALLEGATIONS

                                                  7.

         This Defendant avers that Plaintiff was hired as Police Chief on May 15, 2019. This

Defendant denies the allegations in paragraph 7 as stated.

                                                  8.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 8 and puts Plaintiff on strict proof of same.

                                                  9.

         This Defendant admits the allegations contained within paragraph 9.

                                                  10.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 10 and puts Plaintiff on strict proof of same.

                                                  11.

         This Defendant admits the allegations contained within paragraph 11.

                                                  12.

         This Defendant admits that, shortly after Chief Clark was hired, an audit was conducted on

the City of Forest Park Police Department. This Defendant is without sufficient knowledge or

information to admit or deny the remaining allegations set forth in paragraph 12 and puts Plaintiff

on strict proof of same.




                                                  -3-
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                                                  13.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 13 and puts Plaintiff on strict proof of same.

                                                  14.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 14 and puts Plaintiff on strict proof of same.

                                                  15.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 15 and puts Plaintiff on strict proof of same.

                                                  16.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 16 and puts Plaintiff on strict proof of same. In further

response, this Defendant states that the document referenced speaks for itself.

                                                  17.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 17 and puts Plaintiff on strict proof of same.

                                                  18.

         This Defendant admits that the City appointed Plaintiff as Interim City Manager/Police

Chief after City Manager left her employment with the City in January of 2020. This Defendant

denies the remaining allegations set forth in paragraph 18.

                                                  19.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 19 and puts Plaintiff on strict proof of same.



                                                 -4-
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                                                 20.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 20 and puts Plaintiff on strict proof of same.

                                                 21.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 21 and puts Plaintiff on strict proof of same.

                                                 22.

         This Defendant admits the allegations set forth in paragraph 22.

                                                 23.

         This Defendant admits that Plaintiff’s June 30, 2020, annual performance review states that

“Chief Clark identified and addressed an array of structural and systemic issues (i.e. FLSA and

Title VII violations, Enhanced Recruitment and Disparities, CAD/Record Management failures)”

and that “during this appointment the reported crime rate decreased significantly in 2019 (8 year

low).” This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 23 and puts Plaintiff on strict proof of

same. This Defendant states that the performance review speaks for itself.

                                                 24.

         This Defendant admits that a copy of a document titled “Correspondence from Barker

regarding Chief Clark’s promotion” is attached to the Complaint as Exhibit A. This Defendant

states that Exhibit A speaks for itself. To the extent that any allegations contained in paragraph 24

of Plaintiff’s Complaint are inconsistent with the statements contained therein, those allegations

are denied. This Defendant denies the remaining allegations set forth in paragraph 24.




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                                                 25.

         This Defendant denies the allegations set forth in paragraph 25 as stated.

                                                 26.

         This Defendant admits that a copy of a document titled “Public Safety Director/Deputy

City Manager job description” is attached to the Complaint as Exhibit B. To the extent that any

allegations contained in paragraph 26 of Plaintiff’s Complaint are inconsistent with the statements

contained therein, those allegations are denied. This Defendant responds that she is without

sufficient knowledge or information to admit or deny the allegations set forth in paragraph 26 and

puts Plaintiff on strict proof of same.

                                                 27.

         This Defendant denies the allegations set forth in paragraph 27.

                                                 28.

         This Defendant denies that she harassed or retaliated against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 28 and puts Plaintiff on strict proof of same.

                                                 29.

         This Defendant admits that a copy of a purported email dated September 4, 2020, from

Chief Clark to Albert Barker is attached to the Complaint as Exhibit C. The content of Exhibit C

speaks for itself. To the extent that any allegations contained in paragraph 29 of Plaintiff’s

Complaint are inconsistent with the statements contained therein, those allegations are denied. This

Defendant responds that she is without sufficient knowledge or information to admit or deny the

remaining allegations set forth in paragraph 29 and puts Plaintiff on strict proof of same.




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                                                 30.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 30 and puts Plaintiff on strict proof of same.

                                                 31.

         This Defendant admits that a copy of an email dated August 27, 2021, from Chief Clark to

Deputy Finance Director Darquita Williams is attached to the Complaint as Exhibit D. The content

of Exhibit D speaks for itself. To the extent that any allegations contained in paragraph 31 of

Plaintiff’s Complaint are inconsistent with the statements contained therein, those allegations are

denied. This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 31 and puts Plaintiff on strict proof of

same.

                                                 32.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 32 and puts Plaintiff on strict proof of same.

                                                 33.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 33 and puts Plaintiff on strict proof of same.

                                                 34.

         This Defendant admits that a copy of an email dated October 28, 2020, from Chief Clark

to Albert Barker is attached to the Complaint as Exhibit E. The content of Exhibit E speaks for

itself. To the extent that any allegations contained in paragraph 34 of Plaintiff’s Complaint are

inconsistent with the statements contained therein, those allegations are denied. This Defendant




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responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 34 and puts Plaintiff on strict proof of same.

                                                 35.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 35 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                 36.

         This Defendant denies that she told Barker to offer Chief Clark a large sum of money to

stop the financial audits. This Defendant responds that she is without sufficient knowledge or

information to admit or deny the remaining allegations set forth in paragraph 36 and puts Plaintiff

on strict proof of same.

                                                 37.

         This Defendant admits that Barker’s November 2, 2020, performance review noted that

“Chief Clark was appointed Deputy City Manager/Director of Public Safety on July 1, 2020; he

also continues to hold the position of Police Chief; during this appointment the reported crime rate

decreased significantly in 2020 (21-year low), this speaks volume [sic] of Chief Clark’s dedication

in making the community safe for all.” The content of the performance review speaks for itself.

This Defendant responds that she is without sufficient knowledge or information to admit or deny

the remaining allegations set forth in paragraph 37 and puts Plaintiff on strict proof of same.




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                                                 38.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 38 and puts Plaintiff on strict proof of

same. The content of the performance review speaks for itself.

                                                 39.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 39 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.

                                                 40.

         This Defendant admits that Chief Clark signed a professional services agreement on

November 4, 2020. The content of the agreement speaks for itself. This Defendant denies the

remaining allegations set forth in paragraph 40.

                                                 41.

         This Defendant denies the allegation set forth in paragraph 41.

                                                 42.

         This Defendant denies the allegation set forth in paragraph 42.

                                                 43.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 43 and puts Plaintiff on strict proof of same.

                                                 44.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 44 and puts Plaintiff on strict proof of same.



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                                                  45.

         This Defendant admits the allegations set forth in paragraph 45.

                                                  46.

         This Defendant admits that Fire Chief Horton was put on administrative leave. This

Defendant is without sufficient knowledge or information to admit or deny the allegations set forth

in paragraph 46 and puts Plaintiff on strict proof of same.

                                                  47.

         This Defendant admits the allegations against Fire Chief Horton were investigated and that

the findings of the investigation were submitted to the Governing Body. This Defendant further

admits that Fire Chief Horton was terminated. This Defendant denies the remaining allegations set

forth in paragraph 47 as stated.

                                                  48.

         This Defendant denies the allegations set forth in paragraph 48. Responding further, this

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.

                                                  49.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 49 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.




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                                                  50.

         This Defendant denies the allegations set forth in paragraph 50. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  51.

         This Defendant denies the allegations set forth in paragraph 51. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  52.

         This Defendant denies the allegations set forth in paragraph 52.

                                                  53.

         This Defendant denies the allegations set forth in paragraph 53. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  54.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 54 and puts Plaintiff on strict proof of same.

                                                  55.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 55 and puts Plaintiff on strict proof of same.

                                                  56.

         This Defendant denies the allegations set forth in paragraph 56.




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                                                  57.

         This Defendant denies the allegations set forth in paragraph 57.

                                                  58.

         This Defendant denies the allegations set forth in paragraph 58.

                                                  59.

         This Defendant denies that Plaintiff was responsible for hiring fire department employees

as Public Safety Director. This Defendant denies the remaining allegations set forth in paragraph

59, as stated.

                                                  60.

         This Defendant denies the allegations set forth in paragraph 60.

                                                  61.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 61 and puts Plaintiff on strict proof of same.

                                                  62.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 62 and puts Plaintiff on strict proof of same.

                                                  63.

         This Defendant denies the allegations set forth in paragraph 63, as stated. Responding

further, this Defendant denies that she committed any wrongful acts and she further denies any

and all liability to Plaintiff.




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                                                  64.

         This Defendant denies the allegations set forth in paragraph 64. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  65.

         This Defendant admits that she sought exit interview information in an effort to find ways

to retain employees in the department. This Defendant denies the remaining allegations set forth

in paragraph 65.

                                                  66.

         This Defendant denies the allegations set forth in paragraph 66.

                                                  67.

         This Defendant admits that she sought exit interview information in an effort to find ways

to retain employees in the department. This Defendant denies the remaining allegations set forth

in paragraph 67. Responding further, this Defendant denies that she committed any wrongful acts

and she further denies any and all liability to Plaintiff.

                                                  68.

         This Defendant admits a criminal investigation was opened regarding allegations against

this Defendant and her husband. This Defendant is without sufficient knowledge or information to

admit or deny the remaining allegations set forth in paragraph 68 and puts Plaintiff on strict proof

of same. Responding further, this Defendant denies that she committed any criminal or wrongful

acts and she further denies any and all liability to Plaintiff.




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                                                  69.

         This Defendant denies receiving confidential information from someone at the police

department regarding the details of the investigation. This Defendant is without sufficient

knowledge or information to admit or deny the remaining allegations set forth in paragraph 69 and

puts Plaintiff on strict proof of same. Responding further, this Defendant denies that she committed

any criminal or wrongful acts and she further denies any and all liability to Plaintiff.

                                                  70.

         This Defendant admits posting a video to Facebook on September 22, 2021. The Defendant

avers that the content of the Facebook video speaks for itself. This Defendant denies the remaining

allegations set forth in paragraph 70.

                                                  71.

         This Defendant admits that the Facebook video posted on September 22, 2021, has received

49 comments to date. This Defendant denies making false statements about Plaintiff. This

Defendant is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 71 and puts Plaintiff on strict proof of same. Responding further,

this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                  72.

         This Defendant denies receiving any improper information regarding an anonymous email

sent to Cooper on September 12, 2021. This Defendant states that the content of the purported

email speaks for itself. This Defendant is without sufficient knowledge or information to admit or

deny the remaining allegations set forth in paragraph 72 and puts Plaintiff on strict proof of same.




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Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.

                                                  73.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 73 and puts Plaintiff on strict proof of same. This

Defendant states that the content of the purported email speaks for itself. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  74.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 74 and puts Plaintiff on strict proof of same.

Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.

                                                  75.

         This Defendant denies participating in any retaliation against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 75 and puts Plaintiff on strict proof of same. Responding further,

this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                  76.

         This Defendant denies participating in any retaliation against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 76 and puts Plaintiff on strict proof of same. Responding further,



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this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                       77.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 77 and puts Plaintiff on strict proof of same.

Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.



                                                   COUNT I

                    Retaliation Under the Georgia Whistleblower Protection Act

                                            O.C.G.A. § 45-1-4 et seq.

                                      (Defendant City of Forest Park, GA)

                                                       78.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 77 of Plaintiff’s Complaint.

                                                       79.

         The allegations set forth in paragraph 79 are statements of law requiring no response from

this Defendant. To the extent further response is required, this Defendant admits that Plaintiff

purports to bring an action under the Georgia Whistleblower Act, O.C.G.A. § 45-1-4 (“GWA”),

but this Defendant denies that Defendant violated the GWA. This Defendant denies any and all

liability to Plaintiff.




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                                                        80.

         This Defendant admits that Chief Clark signed a professional services agreement on

November 4, 2020. This Defendant states that the content of the agreement speaks for itself. This

Defendant avers that the duties related to Public Safety Director and Chief of Police remained the

same in this agreement. This Defendant denies the remaining allegations set forth in paragraph 80.

                                                        81.

         This Defendant denies the allegations set forth in paragraph 81.

                                                        82.

         This Defendant denies the allegations set forth in paragraph 82.

                                                        83.

         This Defendant denies the allegations set forth in paragraph 83.

                                                        84.

         This Defendant denies the allegations set forth in paragraph 84.

                                                        85.

         This Defendant denies the allegations set forth in paragraph 85.

                                                        86.

         This Defendant denies the allegations set forth in paragraph 86. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                    COUNT II

                                Intentional Infliction of Emotional Distress

                                     Under the Common Law of Georgia

                                                 (Defendant Wells)



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                                                        87.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 86 of Plaintiff’s Complaint.

                                                        88.

         This Defendant denies the allegations set forth in paragraph 88. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                        89.

         This Defendant denies the allegations set forth in paragraph 89. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                   COUNT III

                                                     Slander

                                                 (Defendant Wells)

                                                        90.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 89 of Plaintiff’s Complaint.

                                                        91.

         This Defendant denies the allegations set forth in paragraph 91. Responding further, this

Defendant denies that she made any false or defamatory statements.




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                                                      92.

          This Defendant denies the allegations set forth in paragraph 92. Responding further, this

Defendant denies that she made any false or defamatory statements, and she further denies any

and all liability to Plaintiff.

                                                      93.

          This Defendant denies that she made any false, malicious, defamatory statements and she

further denies any and all liability to Plaintiff.

                                                      94.

          This Defendant denies the allegations set forth in paragraph 94. Responding further, this

Defendant denies that Plaintiff is entitled to any recovery. Plaintiff is not entitled to the requested

relief.

                                                      95.

          This Defendant denies the allegations contained in the unnumbered “WHEREFORE”

paragraph, and its subparts, of Plaintiff’s Complaint. This Defendant further denies that she is

liable to Plaintiff and that Plaintiff is entitled to any relief from this Defendant.

                                                      96.

          All other allegations in Plaintiff’s Complaint not specifically responded to are hereby

denied.

                                                 THIRD DEFENSE

          This Defendant is entitled to official immunity as to Plaintiff’s state law claims against her

in her individual capacity.




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                                                 FOURTH DEFENSE

         To the extent this Defendant published any statement about Plaintiff, any and all such

statements are substantially true and/or privileged.

                                                  FIFTH DEFENSE

         This Defendant asserts that Plaintiff’s alleged damages, if any, were directly and

proximately caused by persons or entities other than Defendant.

                                                  SIXTH DEFENSE

         The claims and allegations set forth in Plaintiff’s Complaint, even if taken as true, do not

state a claim for relief under O.C.G.A. § 45-1-4. As such, Defendant respectfully submits that this

Court lacks subject matter jurisdiction over Plaintiff’s Complaint.

                                                 SEVENTH DEFENSE

         Plaintiff cannot recover punitive damages against this Defendant.

                                                 EIGHTH DEFENSE

         Some or all of Plaintiff’s claims are time-barred by the applicable statute of limitations.

                                                  NINTH DEFENSE

         Plaintiff’s claims against this Defendant in her official capacity are barred by sovereign

immunity.

                                                 TENTH DEFENSE

         Plaintiff’s claims against this Defendant in her official capacity are duplicative of

Plaintiff’s claims against Defendant City of Forest Park.

                                            ELEVENTH DEFENSE

         This Defendant asserts each and every defense set forth in O.C.G.A. § 9-11-8 to the extent

applicable.



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         WHEREFORE, having answered fully, Defendant LATRESA AKINS-WELLS

respectfully requests that this Court dismiss the Complaint and cast all costs against Plaintiff.

         DEFENDANT DEMANDS A TRIAL BY JURY OF 12 JURORS.

         Respectfully submitted this 6th day of January, 2022.

                                                 Cruser, Mitchell, Novitz, Sanchez,
                                                 Gaston & Zimet, LLP

                                                 /s/ Karen E. Woodward
                                                 Karen E. Woodward
                                                 Georgia Bar No. 775260
                                                 Email: kwoodward@cmlawfirm.com
                                                 Direct Dial: 404-881-2623

                                                 /s/ Marisa M. Beller
                                                 Marisa M. Beller
                                                 Georgia Bar No. 845893
                                                 Email: mbeller@cmlawfirm.com
                                                 Direct Dial: 678-684-2147

                                                 Attorneys for Defendant
                                                 Latresa Akins-Wells


Meridian II, Suite 2000
275 Scientific Drive
Peachtree Corners, GA 30092




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                                        CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that I have this day electronically filed ANSWER AND

DEFENSES           OF      DEFENDANT             LATRESA      AKINS-WELLS       TO       PLAINTIFF’S

COMPLAINT with the Clerk of Court using the PeachCourt file and serve system which will

automatically serve an electronic copy of same upon the following counsel of record:

                                                  Jackie Lee
                                            LEE LAW FIRM, LLC
                                        1100 Peachtree St., NE, Ste. 250
                                              Atlanta, GA 30309
                                            jackie@leelawga.com
                                            (Attorney for Plaintiff)

                                                Michael M. Hill
                                     FREEMAN MATHIS & GARY, LLP
                                       100 Galleria Parkway, Suite 1600
                                              Atlanta, GA 30339
                                             mhill@fmglaw.com
                                     (Attorney for the City of Forest Park)

         This 6th day of January, 2022.

                                                    Cruser, Mitchell, Novitz, Sanchez,
                                                    Gaston & Zimet, LLP

                                                    /s/ Karen E. Woodward
                                                    Karen E. Woodward
                                                    Georgia Bar No. 775260




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                                                                                         CLERK OF SUPERIOR COURT
                                                                                         CLAYTON COUNTY, GEORGIA
                                                                                        2021CV03928-14
                         IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                      STATE OF GEORGIA                                    JAN 06, 2022 04:52 PM



NATHANIEL CLARK,                                     )
                                                     )
                  Plaintiff,                         )         CIVIL ACTION FILE NO.:
                                                     )
vs.                                                  )         2021-CV-03928-14
                                                     )
CITY OF FOREST PARK, GA, and                         )
LATRESA AKINS-WELLS, in her                          )
Official and Individual Capacity,                    )
                                                     )
                  Defendants.                        )


                         DEMAND FOR TRIAL BY A JURY OF 12 JURORS
                           BY DEFENDANT LATRESA AKINS-WELLS

         COMES NOW LATRESA AKINS-WELLS, a named Defendant in the above-styled

action, and files and serves this Demand for Trial by a Jury of 12 Jurors pursuant to O.C.G.A.

§15-12-122(a)(2), which states as follows:

         In all civil actions in the state courts in which the claim for damages is greater than
         $25,000.00, either party may demand in writing prior to the commencement of the
         trial term that the case be tried by a jury of 12. If such a demand is made, the judge
         shall follow the procedures for superior courts of sub-section (b) of this Code
         section.

See also O.C.G.A. § 15-12-123(a)(2), which provides:

         In all civil actions in the state courts in which a jury of 12 is demanded, the judge
         shall follow the procedures for superior courts of sub-section (b) of this Code
         section.

WHEREFORE, demand is made for trial of this case by a jury of 12 as provided by law.

                                             [signatures on next page]




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     Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 91 of 297




         Respectfully submitted this 6th day of January, 2022.

                                                 Cruser, Mitchell, Novitz, Sanchez,
                                                 Gaston & Zimet, LLP

                                                 /s/ Karen E. Woodward
                                                 Karen E. Woodward
                                                 Georgia Bar No. 775260
                                                 Email: kwoodward@cmlawfirm.com
                                                 Direct Dial: 404-881-2623

                                                 /s/ Marisa M. Beller
                                                 Marisa M. Beller
                                                 Georgia Bar No. 845893
                                                 Email: mbeller@cmlawfirm.com
                                                 Direct Dial: 678-684-2147

                                                 Attorneys for Defendant
                                                 Latresa Akins-Wells

Meridian II, Suite 2000
275 Scientific Drive
Peachtree Corners, GA 30092




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     Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 92 of 297




                                        CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that I have this day electronically filed DEMAND FOR TRIAL

BY A JURY OF 12 JURORS BY DEFENDANT LATRESA AKINS-WELLS with the Clerk

of Court using the PeachCourt file and serve system which will automatically serve an electronic

copy of same upon the following counsel of record:

                                                  Jackie Lee
                                            LEE LAW FIRM, LLC
                                        1100 Peachtree St., NE, Ste. 250
                                              Atlanta, GA 30309
                                            jackie@leelawga.com
                                            (Attorney for Plaintiff)

                                                Michael M. Hill
                                     FREEMAN MATHIS & GARY, LLP
                                       100 Galleria Parkway, Suite 1600
                                              Atlanta, GA 30339
                                             mhill@fmglaw.com
                                     (Attorney for the City of Forest Park)



         This 6th day of January, 2022.

                                                    Cruser, Mitchell, Novitz, Sanchez,
                                                    Gaston & Zimet, LLP

                                                    /s/ Karen E. Woodward
                                                    Karen E. Woodward
                                                    Georgia Bar No. 775260




                                                     -3-
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                                                                                      CLERK OF SUPERIOR COURT
                                                                                      CLAYTON COUNTY, GEORGIA
                                                                                     2021CV03928-14
                     IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA                                     JAN 06, 2022 04:52 PM



NATHANIEL CLARK,                                 )
                                                 )
                Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                 )
vs.                                              )       2021-CV-03928-14
                                                 )
CITY OF FOREST PARK, GA, and                     )
LATRESA AKINS-WELLS, in her                      )
Official and Individual Capacity,                )       Jury Trial Demanded
                                                 )
                Defendants.                      )

  DEFENDANT LATRESA AKINS-WELLS’ MOTION TO DISMISS PLAINTIFF’S
 OFFICIAL CAPACITY CLAIMS AND DEFENDANT WELLS’ MOTION TO ADOPT
AND INCORPORATE CITY OF FOREST PARK’S MOTION TO DISMISS OR, IN THE
        ALTERNATIVE, MOTION FOR MORE DEFINITE STATEMENT

         COMES NOW Latresa Akins-Wells, a Defendant in the above-styled action, and, pursuant

to O.C.G.A. §§ 9-11-12(b)(1) and (6), hereby moves to dismiss Plaintiff’s official capacity claims

against her. In addition, this Defendant moves to adopt and incorporate City of Forest Park’s

Motion to Dismiss and its brief in support thereof, or, in the alternative, this Defendant moves that

Plaintiff pursuant to O.C.G.A. § 9-11-12(e) to file a more definite statement of his defamation

claim.

         As grounds for the Motion to Dismiss Plaintiff’s official capacity claims, this Defendant

respectfully submits that the claims asserted against her in her official capacity are functionally

equivalent and redundant to the claims asserted against the City of Forest Park. Accordingly,

Plaintiff’s official capacity claims against Defendant Wells should be dismissed for failure to state

a claim upon which relief can be granted.

         This Defendant also adopts City of Forest Park’s Motion to Dismiss and its brief in support

thereof or, in the alternative, this Defendant requests that Plaintiff provide a more definite

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statement as to his defamation claims. Although this Defendant has answered to the best of her

ability, the Complaint is so vague or ambiguous that this Defendant cannot reasonably be required

to frame a proper responsive pleading. In particular, the Complaint fails to show:

   1. The content of the allegedly false statements; and

   2. The context of the allegedly false statements;

   3. To whom the allegedly false statement statements were made;

   4. The approximate date that the allegedly false statements occurred.

          WHEREFORE, for the reasons stated above, this Defendant respectfully request that this

court grant Defendant Wells’ Motions to Dismiss Plaintiff’s official capacity claims and adopt and

incorporate City of Forest Park’s Motion to Dismiss and brief in support thereof or in the

alternative enter an order requiring Plaintiff to file a more definite statement as to his defamation

claims.

          Respectfully submitted, this 6th day of January, 2022.

                                                 Cruser, Mitchell, Novitz, Sanchez,
                                                 Gaston & Zimet, LLP

                                                 /s/ Karen E. Woodward
                                                 Karen E. Woodward
                                                 Georgia Bar No. 775260
                                                 Email: kwoodward@cmlawfirm.com
                                                 Direct Dial: 404-881-2623

                                                 /s/ Marisa M. Beller
                                                 Marisa M. Beller
                                                 Georgia Bar No. 845893
                                                 Email: mbeller@cmlawfirm.com
                                                 Direct Dial: 678-684-2147

                                                 Attorneys for Defendant
                                                 Latresa Akins-Wells
Meridian II, Suite 2000
275 Scientific Drive
Peachtree Corners, GA 30092

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   Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 95 of 297




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served a copy of the within and foregoing

DEFENDANT LATRESA AKINS-WELLS’ MOTION TO DISMISS PLAINTIFF’S

OFFICIAL CAPACITY CLAIMS AND DEFENDANT WELLS’ MOTION TO ADOPT

AND INCORPORATE CITY OF FOREST PARK’S MOTION TO DISMISS OR, IN THE

ALTERNATIVE, MOTION FOR MORE DEFINITE STATEMENT to all parties in this

matter via PeachCourt to counsel of record addressed as follows:

                                         Jackie Lee
                                   LEE LAW FIRM, LLC
                               1100 Peachtree St., NE, Ste. 250
                                     Atlanta, GA 30309
                                   jackie@leelawga.com
                                   (Attorney for Plaintiff)

                                        Michael M. Hill
                             FREEMAN MATHIS & GARY, LLP
                               100 Galleria Parkway, Suite 1600
                                      Atlanta, GA 30339
                                     mhill@fmglaw.com
                             (Attorney for the City of Forest Park)

       This 6th day of January, 2022.

                                                      Cruser, Mitchell, Novitz, Sanchez,
                                                      Gaston & Zimet, LLP

                                                      /s/ Karen E. Woodward
                                                      Karen E. Woodward
                                                      Georgia Bar No. 775260




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      Case 1:22-cv-02748-CAP-RDC Document 1-2 Filed 07/13/22 Page 96 of 297

                                                                                        CLERK OF SUPERIOR COURT
                                                                                        CLAYTON COUNTY, GEORGIA
                                                                                       2021CV03928-14
                     IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA                                       JAN 06, 2022 04:52 PM



NATHANIEL CLARK,                                )
                                                )
               Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                )
vs.                                             )       2021-CV-03928-14
                                                )
CITY OF FOREST PARK, GA, and                    )
LATRESA AKINS-WELLS, in her                     )
Official and Individual Capacity,               )       Jury Trial Demanded
                                                )
               Defendants.                      )

      BRIEF IN SUPPORT OF DEFENDANT LATRESA AKINS-WELLS’ MOTION TO
       DISMISS OFFICIAL CAPACITY CLAIMS AGAINST DEFENDANT LATRESA
      AKINS-WELLS AND MOTION TO ADOPT DEFENDANT OF CITY OF FOREST
              PARK’S MOTION TO DISMISS, OR, IN THE ALTERNATIVE,
                   MOTION FOR MORE DEFINITE STATEMENT

        Pursuant to O.C.G.A. §§ 9-11-12(b)(1) and (6), Defendant Latresa Akins-Wells, a named

Defendant in the above-styled civil action, files this Motion to Dismiss all Plaintiff’s claims against

her. In support of this motion, this Defendant relies on her argument below, and she adopts and

incorporates herein Defendant City of Forest Park’s Brief in Support of City of Forest Park’s

Motion to Dismiss. Defendant Akins-Wells submits that the claims against her should be dismissed

or, in the Alternative, this Court should require Plaintiff to file a more definite statement of

Plaintiff’s defamation claim pursuant to O.C.G.A. § 9-11-12(e). In addition, Defendant Wells

seeks dismissal of Plaintiff’s claims against her in her official capacity on the ground that they are

duplicative of Plaintiff’s claims against the City of Forest Park.

        I.     INTRODUCTION

        Plaintiff filed the instant action on action on November 1, 2020, alleging whistleblower

retaliation by co-Defendant City of Forest Park pursuant to the Georgia Whistleblower Act



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(“GWA”), O.C.G.A. § 45-1-4, and alleging claims of Intentional Infliction of Emotional Distress

and Slander against Defendant Wells. Councilwoman Wells served as a councilwoman for the

City of Forest Park at the time of these incidents allegedly occurred. Plaintiff sued Defendant

Wells in both her individual and official capacities. (Complaint, Caption). For the reasons argued

below, this Court should grant Defendant Wells’ motion to dismiss the official capacity claims as

they are duplicative of Plaintiff’s claims against the City of Forest Park. Accordingly, Plaintiff

fails to state a claim upon which relief can be granted against this Defendant as to Plaintiff’s

official capacity claims. This Defendant also adopts and herein incorporates City of Forest Park’s

motion to dismiss and its brief in support of said motion filed on January 6, 2022, and moves for

dismissal on the grounds set forth in the City’s motion. If this Court declines to dismiss the case

on those grounds, this Defendant requests this Court to enter an order directing Plaintiff to provide

a more definite statement of his defamation claim.

       II.     STANDARD OF REVIEW

       A motion to dismiss filed pursuant to O.C.G.A. § 9-11-12(b)(6) for failure to state a claim

upon which relief can be granted will be sustained if: (1) the allegations of the complaint disclose

with certainty that the claimant would not be entitled to relief under any state of provable facts

asserted in support thereof; and (2) the movant establishes that the claimant could not possibly

introduce evidence within the framework of the complaint sufficient to warrant a grant of the relief

sought. Racette v. Bank of Am., N.A., 318 Ga. App. 171, 172 (2012); Anderson v. Daniel, 314

Ga. App. 394, 397 (2012). In ruling on a motion to dismiss under O.C.G.A. § 9-11-12(b)(6), a

court must assume the factual allegations of the complaint are true. Charles H. Wesley Educ. Fund.,

Inc. v. State Election Bd., 282 Ga. 707, 714 (2007). Plaintiff’s official capacity claims against

Defendant Wells should be dismissed for failure to state a claim.



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       III.    ARGUMENT AND CITATION TO AUTHORITY

   A. Plaintiff’s Official Capacity Claims Against Defendant Wells Are Duplicative and
      Subject to Dismissal

       Defendant Wells respectfully submits that the claims asserted against her in her official

capacity are functionally equivalent and redundant to the claims asserted against the City of Forest

Park. Therefore, these claims are subject to dismissal. A claim against a public official in his

official capacity is considered a claim against the governmental entity that the official represents.

Hafer v. Melo, 502 U.S. 21, 25 (1991). See also, Smith v. City of Atlanta, No. 1:11-CV-765-TWT,

2011 WL 4500022, at *3 (N.D. Ga. Sept. 27, 2011)(dismissing claims against individual

defendants asserted in their official capacities because said claims were redundant to claims

asserted against employer-entity).Therefore, this Defendant respectfully requests that this Court

dismiss Plaintiff’s claims against her in her official capacity.

   B. Plaintiff’s Slander and Intentional Infliction of Distress Claims Fail as a Matter of
      Law

       This Defendant adopts and incorporates co-Defendant City of Forest Park’s brief in support

of Motion to dismiss herein and moves for dismissal on those grounds.

   C. In the Alternative, this Defendant Request that This Court Grant Defendant’s Motion
      for More Definite Statement

       In the event this Court denies this Defendant’s motion to dismiss set forth in section B,

above, this Defendant moves this Court to enter an Order requiring Plaintiff to amend his pleading

to assert a more definite statement. Pursuant to O.C.G.A. § 9-11-12(e), when “a pleading to which

a responsive pleading is permitted is so vague or ambiguous that a party cannot reasonably be

required to frame a proper responsive pleading…[s]he may move for a more definite statement.”

Plaintiff’s Complaint failed to include facts showing the content, context, or timing of for the

allegedly defamatory statements. Plaintiff must provide Defendant Wells with the notice she needs

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to defend against Plaintiff’s slander claim. Specifically, a plaintiff “must plead sufficient facts to

provide a defendant with notice of both the content of the allegedly defamatory statements and the

context in which those statements were made.” Wylie v. Denton, 323 Ga. App. 161, 170–71

(2013). A complaint must contain “[a] short and plain statement of the claims showing that the

pleader is entitled to relief.” O.C.G.A. § 9–11–8(a)(2)(A); Bush v. Bank of NY Mellon, 313 Ga.

App. 84, 90 (2011). “[T]his short and plain statement must include enough detail to afford the

defendant fair notice of the nature of the claim and a fair opportunity to frame a responsive

pleading.” Id. (quoting Benedict v. State Farm Bank, FSB, 309 Ga. App. 133, 134 (2011)).

       A slander claim against a public official requires the plaintiff to show (1) that the defendant

made a false and defamatory statement concerning plaintiff in reference to that person's trade,

office, or profession calculated to injure that person therein; (2) the defendant made an

unprivileged communication of that statement to a third party; (3) fault by the defendant

constituting at least negligence; and (3) either that the plaintiff suffered special harm or that the

statement is actionable even in the absence of special harm. O.C.G.A. § 51-5-4(1)(3); Wylie v.

Denton, 323 Ga. App. 161, 171 (2013) (citing Renton v. Watson, 319 Ga. App. 896, 900 (2013)).

Plaintiff vaguely alleges that:

        1. Councilwoman Wells has made numerous false and defamatory remarks

            concerning the Chief Clark’s tenure at the city;

        2. During public City Council meetings, Councilwoman Wells made comments

            regarding Chief Clark’s integrity; and

        3. Councilwoman Wells made several false statements about Chief Clark with

            the specific intent to do harm in Facebook video posted on September 22,

            2021.



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(Complaint, ¶¶ 48, 63, 91). Plaintiff does not identify to whom these allegedly false

statements were made, nor does she state the content, context or approximate date of these

allegedly false statements. The allegations in the Complaint are so broad, vague, and far-

reaching that it is impossible for this Defendant to know whether these purportedly false

statements occurred in the last two months or in the last three years and in what context the

purported statements occurred. Further, this Defendant reviewed the Facebook post at issue

and fails to see any false statements in this video.

       IV.     CONCLUSION

       For the foregoing reasons, Defendant Wells respectfully requests that this Court

enter an order dismissing Plaintiff’s official capacity claims against her. In addition, she

moves for this Court to dismiss all of Plaintiff’s individual capacity claims against her or,

in the alternative, require Plaintiff to amend his Complaint to plead more definite facts

regarding his defamation claim.

       This 6th day of January, 2022.

                                                Cruser, Mitchell, Novitz, Sanchez,
                                                Gaston & Zimet, LLP

                                                /s/ Karen E. Woodward
                                                Karen E. Woodward
                                                Georgia Bar No. 775260
                                                Email: kwoodward@cmlawfirm.com
                                                Direct Dial: 404-881-2623

                                                /s/ Marisa M. Beller
                                                Marisa M. Beller
                                                Georgia Bar No. 845893
                                                Email: mbeller@cmlawfirm.com
                                                Direct Dial: 678-684-2147

                                                Attorneys for Defendant
                                                Latresa Akins-Wells

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Meridian II, Suite 2000
275 Scientific Drive
Peachtree Corners, GA 30092




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served a copy of the within and foregoing

BRIEF IN SUPPORT OF DEFENDANT LATRESA AKINS-WELLS’ MOTION TO

DISMISS OFFICIAL CAPACITY CLAIMS AGAINST DEFENDANT LATRESA AKINS-

WELLS AND MOTION TO ADOPT DEFENDANT OF CITY OF FOREST PARK’S

MOTION TO DISMISS, OR, IN THE ALTERNATIVE, MOTION FOR MORE DEFINITE

STATEMENT to all parties in this matter via PeachCourt to counsel of record addressed as

follows:

                                         Jackie Lee
                                   LEE LAW FIRM, LLC
                               1100 Peachtree St., NE, Ste. 250
                                     Atlanta, GA 30309
                                   jackie@leelawga.com
                                   (Attorney for Plaintiff)

                                       Michael M. Hill
                            FREEMAN MATHIS & GARY, LLP
                              100 Galleria Parkway, Suite 1600
                                     Atlanta, GA 30339
                                    mhill@fmglaw.com
                            (Attorney for the City of Forest Park)

       This 6th day of January, 2022.

                                                      Cruser, Mitchell, Novitz, Sanchez,
                                                      Gaston & Zimet, LLP

                                                      /s/ Karen E. Woodward
                                                      Karen E. Woodward
                                                      Georgia Bar No. 775260




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                                 2021CV03928-14                     103 of 297
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                                                                                            CLAYTON COUNTY, GA
                                                                                            1/18/2022 4:24 PM
                                                                                            Jacquline D. Wills
                                                                                            CLERK SUPERIOR COURT




                      IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA

    NATHANIEL CLARK,                                    )
                                                        )
                   PLAINTIFF,                           )
                                                        )
                                                        )
    V.                                                  )
                                                        )
                                                        )       Civil Action No.: 2021CV03928-14
    CITY OF FOREST PARK, GA;
    LATRESA AKINS-WELLS, in her                         )
    Official and Individual capacity                    )
                                                        )
                                                        )
                   DEFENDANTS.                          )

                       PLAINTIFF’S RESPONSE TO DEFENDANT
                CITY OF FOREST PARK, GEORGIA’S MOTION TO DISMISS

         COMES NOW Plaintiff Nathaniel Clark (“Plaintiff” or “Chief Clark”) by and through his

undersigned counsel, hereby files this Response to Defendant City of Forest Park, Georgia’s

Motion to Dismiss, showing the Court as follows:

I.       INTRODUCTION.

         The City of Forest Park (the City)’s attempt to boil down a 94-paragraph Complaint rife

with details of corruption, fraud, unlawful activity, and retaliation—and exhibits to prove as

much—into a frivolous complaint is unavailing.1 The City cannot genuinely argue that Chief

Clark’s cannot prove—under any set of facts—a claim under the Georgia Whistleblower

Protection Act where the Complaint is replete with evidence that: Chief Clark has been blowing

the whistle on fraudulent and unlawful conduct including his uncovering of financial

discrepancies, pay discrepancies, systemic racism, illegal quotas, and other unlawful and


1
 The City’s “Statement of the Case” section completely misrepresents portions of the Complaint and leaves out crucial
facts. Nonetheless, the Complaint speaks for itself.


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fraudulent activity; he has been told by members of the Governing Body to stand down

immediately on the financial audit he has been requesting; City Manager Barker told Chief Clark

he had been offered a large sum of money to stop the financial audit; Barker warned Chief Clark

he would face backlash over his identification of fraudulent and unlawful activity; Chief Clark

overheard a city official make a statement that he (Chief Clark) takes detailed notes, to retrieve

everything he has been working on as Deputy City Manager, and to “stop him;” and where several

city officials, including the present City Manager Cooper, have admitted and acknowledged the

retaliation Chief Clark has experienced and is continuing to experience. For example, although

Chief Clark was promoted to the position of Deputy City Manager/Public Safety Director—a new

position that had been created—by Barker, Chief Clark has essentially been stripped of all duties

related to that combined position. Specifically, in November 2020—the same month Barker

warned him he would face “backlash” for his uncovering of unlawful and fraudulent activity—he

was demoted from the position of Deputy City Manager as his contract was amended so that he

would only serve in that capacity in the City Manager’s absence. Moreover, more recently, after

Chief Clark’s involvement in the investigation into sexual harassment allegations against the Fire

Chief Don Horton in March 2021, Chief Clark was stripped of his duties as Public Safety Director,

specifically, overseeing the fire department. Additionally, Chief Clark has been subjected to a

hostile work environment for his raising of unlawful and fraudulent activity. The City’s attempt

to argue that the Court should dismiss his whistleblower claim at this early juncture because he

cannot prove a claim—under any set of facts—is nonsensical.




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II.      ARGUMENT AND CITATION TO AUTHORITY.2

         A.       Legal Standard for Motion to Dismiss for Failure to State a Claim.

         Motions to dismiss are not taken lightly. A trial court should not grant a motion to dismiss

for failure to state a claim unless:

         (1) the allegations of the complaint disclose with certainty that the claimant would
         not be entitled to relief under any state of provable facts asserted in support thereof;
         and (2) the movant establishes that the claimant could not possibly introduce
         evidence within the framework of the complaint sufficient to warrant a grant of the
         relief sought. In deciding a motion to dismiss, all pleadings are to be construed
         most favorably to the party who filed them, and all doubts regarding such pleadings
         must be resolved in the filing party’s favor. In other words, a motion to dismiss for
         failure to state a claim should not be granted unless it appears with certainty that
         the plaintiff would be entitled to no relief under any state of facts which could be
         proved in support of his claim. If, within the framework of the complaint, evidence
         may be introduced which will sustain a grant of relief to the plaintiff, the compliant
         is sufficient.

Webb v. Bank of America, N.A., 328 Ga.App. 62, 63, 761 S.E.2d 485, 486 (2014) (citations

omitted).

         Notably, “it is no longer necessary for a complaint to set forth all the elements of a cause

of action in order to survive a motion to dismiss for failure to state a claim. If, within the

framework of the complaint, evidence may be introduced which will sustain a grant of relief to the

plaintiff, the complaint is sufficient.” Id. at 64.




2
  The City also is requesting that the Court dismiss Chief Clark’s claims against Councilwoman Wells in her official
capacity. Plaintiff plans to change the case caption to reflect that is only bringing claims against Councilwoman Wells
in her individual capacity. Because Plaintiff is not bringing claims against Councilwoman Wells in her official
capacity, Plaintiff does not need to address the arguments brought forth in the City’s Motion to Dismiss Sections II.A
and II.B(2) & (3). Plaintiff will address Councilwoman’s Wells Motion to Dismiss or for More Definite Statement
by separate response at the appropriate time.


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       B.      The City’s Attempt to Have Plaintiff’s Whistleblower Claim Dismissed is
               Unavailing; The City Cannot Plausibly Argue That There Are No State of
               Facts that Would Entitle Chief Clark to Relief.

               1.      The City’s Argument that Plaintiff Cannot Raise Events Occurring Before
                       November 1, 2020 in its Complaint as They Are Time Bared is Contrary to
                       the Statute.

       The City attempts to argue that Plaintiff cannot bring a retaliation claim “based on events

occurring before November 1, 2020” (emphasis added) as those are time-barred. This is simply

not true.    The Georgia Whistleblower Protection Act, O.C.G.A. §45-1-4(e)(1) requires

whistleblower retaliation claims to be asserted “within one year after discovering the retaliation or

within three years after the retaliation, whichever is earlier.” Nowhere in the statute does it say

that the claim must be brought within one-year of the protected activity, the event that precipitated

the retaliation, as the City is attempting to argue. Here, to the extent the Complaint raises events

that occurred before November 1, 2020, it is to establish that Chief Clark had engaged in protected

activity, a necessary element of a retaliation claim.

               2.      Chief Clark Has Identified Several Adverse Employment Actions After
                       November 1, 2020.

       The City attempts to argue that Chief Clark has only identified three “events” after

November 1, 2020 and none of those three events is an adverse employment action under the

Georgia Whistleblower Protection Act. According to the City, the three “events” that the

Complaint lists after November 1, 2020 are as follows: (1) Chief Clark’s November 2020

demotion; (2) the investigation into workplace surveillance; and (3) Councilwoman Wells’s

alleged comments. As an initial matter, the City has greatly mischaracterized the Complaint. The

Complaint alleges adverse employment actions beyond those three identified by the City. For

example, in addition to the November 2020 demotion during which Chief Clark was stripped of

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his duties as a Deputy City Manager, the Complaint also alleges a retaliatory hostile work

environment as well as Chief Clark being stripped of his duties as a Public Safety Director—

including all authority regarding the fire department—as a result of his involvement in a sexual

harassment investigation of Fire Chief Don Horton.

                       a.      November 2020 Demotion.

       As the Complaint alleges, in May 2020, Albert Barker was appointed to the position of

City Manager. (Complaint, ¶ 22). On June 30, 2020, Chief Clark received his annual performance

review. Id. at ¶ 23. The review was very complimentary of Chief Clark’s performance. Id. In

that review, Barker wrote that “Chief Clark identified and addressed an array of structural and

systemic issues (i.e. FLSA and Title VII Violations, Enhanced Recruitment and Disparities,

CAD/Record Management System failures).” Id. Moreover, his review stated that “during his

appointment [as Police Chief] the reported crime rate was decreased significantly in 2019 (8 year

low).” Id.

       On or about July 1, 2020, Chief Clark was promoted to the position of Deputy City

Manager/Public Safety Director while also maintaining his position as Police Chief. Id. at ¶ 24.

The position of Deputy City Manager/Public Safety Director was a position that had been created

by the Governing Body and Barker was given discretion to appoint someone to that position. Id.

at ¶ 25. Exhibit A to the Complaint is an offer letter to Chief Clark offering him the position of

Public Safety Director/Deputy City Manager to begin on July 1, 2020. Id. at ¶ 24, Ex. A. The job

description (attached as Exhibit B to the Complaint) is attached to the offer letter. Id. at ¶ 26, Ex.

B. Importantly, the job description states that the position is to have “supervisory responsibility

over all departments in coordination with and subject to the director of the City Manager.” Id.


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Moreover, the list of other duties states that the Deputy City Manager is to provide “staff assistance

to the City Manager.” Id. In other words, the job description makes clear that the Deputy City

Manager is to work in junction with the City Manager—not to serve as the “acting city manager”

in the City Manager’s absence. Id. As the Deputy City Manager/Public Safety Director, Chief

Clark also had full management responsibility for all public safety services and activities including

the police department and fire department and also had supervisory responsibility over all

departments in coordination with and subject to the direction of the City Manager. Id. The job

description specifically states that the position will oversee “the hiring, supervision, training,

evaluation and discipline of [the fire and police] department employees.” Id.

       When Barker appointed Chief Clark to that position, his decision was met with extreme

resistance from some of the Governing Body as they were worried that, as Deputy City Manager,

Chief Clark would continue to uncover fraudulent and unlawful activity as that position had access

to the City’s financial documents. Id. at ¶ 27. In fact, Barker told Chief Clark that the Governing

Body in part was going to do all they could to ensure that the audit he had been requesting would

never be conducted and also told Chief Clark that they would continue to harass and retaliate

against him to the point of having his employment terminated. Id. at ¶ 28. Chief Clark even

contacted the United States Department of Justice regarding the City’s federal asset forfeiture

account. Id. at ¶ 32. On October 28, 2020, Chief Clark again sent Barker another email requesting

that a financial audit be conducted immediately based upon the DOJ’s recommendation, Finance

Director Ken Thompson’s admissions, and financial discrepancies previously identified. Id. at ¶

34, Ex. E. On November 2, 2020, Chief Clark received another stellar performance review from

Barker. Id. at ¶ 37. In that review, Barker wrote the following: “Chief Clark was appointed Deputy


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City Manager/Director of Public Safety on July 1, 2020; he also continues to hold the position of

Police Chief; during this appointment the reported crime rate decreased significantly in 2020 (21-

year low), this speaks volume [sic] of Chief Clark’s dedication in making the community safe for

all.” Id. Barker also wrote, “Deputy City Manager/Public Safety Director Clark was warned that

he will face backlash referencing the audits (funding discrepancies) and his continual exposure of

biased practices.” Id. at ¶ 38. On November 4, 2020, Chief Clark overheard a City Official make

a statement that he (Chief Clark) takes detailed notes, to retrieve everything that he has been

working on as Deputy City Manager and to “stop him.” Id. at ¶ 39. That same day, on November

4, 2020, Chief Clark was demoted from his position of Deputy City Manager. Id. at ¶ 40.

Specifically, Chief Clark’s contract was amended so that he would only serve as Public Safety

Director and Chief of Police. Id. Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager. Id.

       The City claims that the November 2020 demotion is not an “adverse employment action”

because it does not meet the “threshold level of substantiality” as established in Davis v. Town of

Lake Park, 245 F.3d 1232, 1238-39 (11th Cir. 2001). The City further argues that Chief Clark’s

demotion did not meet this level of substantiality as changes in job duties or responsibilities does

not meet the threshold level of substantiality. As an initial matter, the case law is misrepresented

in the City’s brief. The Davis case does not hold that changes in job duties or responsibilities can

never constitute an adverse employment action. Instead, Davis states the following:

       Although the statute does not require proof of direct economic consequences in all
       cases, the asserted impact cannot be speculative and must at least have a tangible
       adverse effect on plaintiff’s effect on Plaintiff’s employment. We therefore hold
       that, to prove adverse employment action in a case under Title VII’s anti-
       discrimination clause, an employee must show a serious and material change in the
       terms, conditions, or privileges of employment. Moreover, the employee’s

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         subjective view of the significance and adversity of the employer’s action is not
         controlling; the employment action must be materially adverse as viewed by a
         reasonable person in the circumstances.

Davis, 245 F.3d at 1239.3 Here, there can be no question that stripping Chief Clark of his Deputy

City Manager role—to only be “acting City Manager” in the City Manager’s absence—is a

“serious and material change in the terms, conditions, or privileges of employment” and one that

would be considered “materially adverse as viewed by a reasonable person in the circumstances.”

Id. The Deputy City Manager role to which Chief Clark had been serving for a few months was

one of the highest positions in the City (behind that of the City Manager, Mayor, and Governing

Body). The position allowed Chief Clark to essentially perform any function of a City Manager

as assigned by the City Manager including, but not limited to, developing plans to improve

department operations, developing annual department budgets, developing long-range capital

budgets for various public safety programs, monitoring departmental budgets, participating on a

variety of boards, directing the activities of assigned departments. Id. at ¶ 26, Ex. B. That was all

stripped from in November 2020 when he was only to perform those functions in the City

Manager’s absence. The City cannot possibly argue that this was not a “serious and material

change in the terms, conditions, or privileges of employment” and one that would be considered

“materially adverse as viewed by a reasonable person in the circumstances.” In fact, in Albers v.

Georgia Bd. of Regents of Univ. System of Ga.—a Georgia Whistleblower Protection Act case—



3
 In Davis, the Court held—at trial (not at the motion to dismiss stage)—that the fact that the Plaintiff, a police officer,
was removed from his Officer In Charge (“OIC”) designation was not an adverse employment action. Id. at 1243-44.
The Court held that the “OIC designation is, by definition, ephemeral: an officer is not permanently named the OIC
for any given shift, but rather that determination is made on a case-by-case basis by the relevant supervisory officials.”
Id. at 1243. The Court held that because it was “ephemeral” and was not a “permanent feature of his job
responsibilities” as a police officer, the fact that it was taken away was not a demotion. Id. at 1243-44. This could not
be further from the facts presented here.

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the Georgia Court of Appeals expressly recognized that stripping a police chief of duties could be

an adverse employment action. Albers v. Georgia Bd. of Regents of Univ. System of Ga., 330 Ga.

App. 58, 65, 766 S.E.2d 520, 525, n.22 (2014) (“Although other adverse actions were arguably

taken against Albers—such as stripping him of his duties as police chief—he does not allege a

retaliation claim based on these actions.”).

       Additionally, as Franklin v. Pitts, 349 Ga.App. 544, 556-57, 826 S.E.2d 427, 438 (2019)—

a Georgia Whistleblower Protection Act case establishes—if the removal of job duties has an

objectively negative impact on future employment opportunities—then it is more likely to be

considered an “adverse employment action” under the statute. See also Doe v. Dekalb County Sch.

Dist., 145 F.3d 1441, 1449 (11th Cir. 2000) (listing missed “employment opportunities” as one

factor in determining whether an action was adverse); Swanson v. Civil Air Patrol, 37 F.Supp.2d

1312, 1327-1328 (M.D. Ala. 1998) (“a term or condition of employment is affected if the adverse

action has a demonstrable adverse impact on present or future performance or opportunity”);

Zachery v. Coosa County Bd. of Education, No. 2:18-cv-982-RAH-JTA, 2021 WL 359731, at *5

(M.D. Ala. 2021) (“transfers that impede an employee’s professional growth or advancement can

constitute an adverse employment action”). Here, there can be no denying that Chief Clark’s

“demotion” or change in job duties as the City would refer to it—will have a negative objective

impact on future employment opportunities. Chief Clark—as Director of Public Safety, Deputy

City Manager, and Police Chief—holds some of the most visible positions at the City. A change

whereby he is completely stripped of all Deputy City Manager functions—unless the City Manager

is absent—will certainly have an impact on future employment opportunities as the very fact that

it was stripped will need to be explained and moreover, it strips him of very crucial experience as


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a City Manager. If Chief Clark were to apply to a City Manager, Deputy City Manager, or even

Police Chief position at another City, there is no denying that his ability to only function as a

Deputy City Manager on those rare—if any—occasions in which the City Manager is absent, strips

him of that crucial experience.

         Lastly, although the City argues that the stripping of job duties is not a demotion because

the City Charter contemplates that the “Acting City Manager” is only to serve as the City Manager

in the City Manager’s “temporary absence or disability” this argument completely misses the

mark. As the Complaint states, the Public Safety Director/Deputy City Manager position was a

new position created by the Governing Body in June/July 2020 and City Manager Barker was

given discretion to appoint someone to that position. (Complaint, ¶ 25). In fact, a job description

had been created for this new position. Id. at ¶ 26, Ex. B. The fact that the City Charter—which

should have been amended to reflect this new position but was not and instead provides for a

“Acting City Manager”—an entirely different position—has no relevance whatsoever to the

analysis.4

         There can be no denying that Chief Clark’s change in job duties to only serve as Deputy

City Manager in the City Manager’s absence was a “demotion” as discovery in this matter will

reveal. Because the Georgia Whistleblower Protection Act specifically identifies “demotion” as




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  Similarly, the City’s claim that Chief Clark was not demoted because he signed the employment agreement is
likewise weak. The City has not provided any case law supporting their position that because an employee signs a
new employment contract—one in which he accepts a demotion—he cannot then bring a claim stemming from that
demotion. In fact, the quote the City cites in support of their position that one who signs or accepts a written contract,
in the absence of fraud or other wrongful act on the part of another contracting part, is conclusively presumed to know
its contents and to assent to them—is completely taken out of context. That quote from the case of Tracy v. Fla. Atl.
Univ. Bd. of Trs., 980 F.3d 799, 806 (11th Cir. 2020) was about the vagueness doctrine in contracts—nothing to do
with the issues here.


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an adverse employment action (O.C.G.A. § 45-1-4(a)(5))—and the City cannot possibly establish

with certainty that Chief Clark would be entitled to no relief under any state of facts which could

be proved in support of his claim—the Motion to Dismiss as to the November 2020 demotion is

due to be denied.

                          b.       Retaliatory Hostile Work Environment.

        The City claims—in a footnote—that Chief Clark cannot bring a retaliatory hostile work

environment claim because the City’s attorney is “unaware of any controlling authority

recognizing such a claim under the GWA.” Interestingly, however, the City acknowledges in

another part of the brief that “Georgia courts construe ‘adverse employment action’ under the

GWA consistent with the interpretation given to discrimination claims under Title VII of the Civil

Rights Act.”5 See Franklin, 349 Ga.App at 437. The Eleventh Circuit case law makes clear that

Title VII does support a claim for retaliatory hostile work environment as an “adverse employment

action.” See Babb v. Secretary, Dept. of Veterans Affairs, 992 F.3d 1193 (11th Cir. 2021)

(analyzing claim of retaliatory hostile work environment under Title VII). Additionally, although

the City states it is unable to identify any case law recognizing a hostile work environment claim

under the Georgia Whistleblower Protection Act, the case of City of Pendergrass v. Rintoul, 354

Ga.App. 618, 625, 841 S.E.2d 399, 405 (2020), demonstrates that such claims are recognized.6

For these reasons, the Court should not bar Chief Clark’s retaliatory hostile work environment


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  O.C.G.A. § 45-1-4(a)(5) defines “retaliation” as “the discharge, suspension, or demotion by a public employer of a
public employee or any other adverse employment action taken by a public employer against a public employee in
the terms or conditions of employment for disclosing a violation of or noncompliance with a law, rule, or regulation
to either a supervisor or government agency.”
6
 That case held that the Plaintiff was not collaterally estopped from asserting he was subjected to a hostile work
environment under the Georgia Whistleblower Protection Act.


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claim and certainly not on a motion to dismiss which would require that the Court determine with

certainty that under no set of facts would the plaintiff be entitled to relief.

                         c.     Chief Clark Being Stripped of His Duties as Public Safety Director
                                Including All Responsibilities Related to the Fire Department.

        As a Deputy City Manager/Public Safety Director, Chief Clark had full management

responsibility for all public safety services and activities including the police department and fire

department and also had supervisory responsibility over all departments in coordination with and

subject to the direction of the City Manager. (Complaint, ¶ 26). The job description specifically

stated that the position would oversee “the hiring, supervision, training, evaluation and discipline

of [the fire and police] department employees.” Id. Following Chief Clark’s involvement in the

sexual harassment allegations of Fire Chief Horton in March 2021, Chief Clark was stripped of

essentially all job responsibilities related to the fire department. Id. at 57-62. For example, the

Fire Chief’s reporting structure was changed so that the Fire Chief no longer reports to Chief Clark

but instead reports directly to the City Manager, which is inconsistent with his job description and

contract signed by the Governing Body. Id. at 58. Additionally, when the City was recruiting for

the position of Fire Chief after Chief Horton was terminated, despite Chief’s Clark job description

stating that he would be responsible for hiring of the fire department employees, Chief Clark was

excluded from screening applicants or participating on the hiring committee. Id. at 59.

        For the same reasons identified in Section II.(B)(2)(a) above (the November 2020

“demotion”)—stripping Chief Clark of all job responsibilities related to the fire department is an

“adverse employment action.” Given that Chief Clark has supervisory responsibility over the

police department in his role as Police Chief, the promotion to Deputy City Manager gave him the

additional role of supervisory responsibility over the fire department. Following Chief Clark’s

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involvement in the sexual harassment allegations by Chief Horton—that has been taken away. The

City cannot possibly argue that this was not a “serious and material change in the terms, conditions,

or privileges of employment” and one that would be considered “materially adverse as viewed by

a reasonable person in the circumstances.” Davis, 245 F.3d at 1239. See also Albers v. Georgia

Bd. of Regents of Univ. System of Ga., 330 Ga. App. 58, 65, 766 S.E.2d 520, 525, n.22 (2014)

(holding that stripping a police chief of job responsibilities may be considered an adverse

employment action).

III.   CONCLUSION.

       A motion to dismiss for failure to state a claim should not be granted unless it appears with

certainty that the plaintiff would be entitled to no relief under any state of facts which could be

proved in support of his claim. Webb, 328 Ga.App. at 63 (emphasis added). If, within the

framework of the complaint, evidence may be introduced which will sustain a grant of relief to the

plaintiff, the complaint is sufficient.” Id. at 64. Here, dismissal is inappropriate because Plaintiff

cannot demonstrate that there is no possible evidence that could be introduced which will sustain

a grant of relief to Chief Clark—to the contrary—the Complaint is replete with evidence of

egregious retaliation. For the foregoing reasons, we respectfully request that the City’s Motion to

Dismiss be denied.

       Respectfully submitted, this 18th day of January, 2022.

                                                s/ Jackie Lee
                                                Jackie Lee
                                                Georgia Bar No. 419196
                                                jackie@leelawga.com
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                                 COUNSEL FOR PLAINTIFF




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                     IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                 STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
                 PLAINTIFF,                      )
                                                 )
                                                 )
 V.                                              )
                                                 )
                                                 )    Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                     )
 Official and Individual capacity                )
                                                 )
                                                 )
                 DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

       I certify that on January 18, 2022 I electronically filed the foregoing Plaintiff’s Response

to the City of Forest Park, GA’s Motion to Dismiss with the Clerk of Court which will

automatically send notification of such filing to all counsel of record and by e-mail to the following

counsel of record:

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                                                s/ Jackie Lee
                                                Jackie Lee

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                                 Georgia Bar No. 419196




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                    IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
                  PLAINTIFF,                    )
                                                )
                                                )
 V.                                             )
                                                )       Civil Action No.:
 CITY OF FOREST PARK, GA;                       )       2021CV03928-14
 LATRESA AKINS-WELLS, in her                    )
 individual capacity                            )
                                                )
                                                )
                  DEFENDANTS.                   )


                               FIRST AMENDED COMPLAINT

          COMES NOW Plaintiff Nathaniel Clark (“Plaintiff” or “Chief Clark”) by and through his

undersigned counsel, files this FIRST AMENDED COMPLAINT against Defendants City of

Forest Park, GA (“the City”) and Latresa Akins-Wells (“Councilwoman Wells”) (collectively

“Defendants”), showing the Court as follows:

                                            PARTIES

          1.     Plaintiff Nathaniel Clark was hired by the City of Forest Park as Police Chief on

May 14, 2019 and remains employed by the City. At all times relevant to this action, Chief Clark

was a “public employee” for purposes of the Georgia Whistleblower Protection Act, O.C.G.A. §

45-1-4.

          2.     Defendant City of Forest Park, GA is a “public employer” as defined in O.C.G.A.

§ 45-1-4. City of Forest Park, GA has its principal address at 745 Forest Parkway, Forest Park,

GA 30297.




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           3.   Defendant Latresa Akins-Wells is a member of the Forest Park City Council. She

is sued in her individual capacity.

                                 JURISDICTION AND VENUE

           4.   Jurisdiction and venue are proper in the Superior Court of Clayton County.

           5.   The City of Forest Park, GA and Councilwoman Wells are all residents of Clayton

County. All the acts complained herein occurred in Clayton County.

           6.   This action has been brought within the time provided by O.C.G.A. § 45-1-4(e)(1).

                            WAIVER OF SOVERIGN IMMUNITY

           7.   The right of action provided for in the Georgia Whistleblower Act, O.C.G.A. § 45-

1-4, is a waiver of the City’s sovereign immunity. See Pattee v. Ga. Ports Auth., 477 F.Supp.2d

1253, 1269 (S.D. Ga. 2006).

           8.   The slanderous statements made by Councilwoman Wells were made outside her

official function, and therefore official immunity does not bar Plaintiff’s slander claim. See Gilbert

v. Richardson, 264 Ga. 744, 452 S.E.2d 476, 483 (1994) (an official function is “any act performed

within the officer's or employee's scope of authority, including both ministerial and discretionary

acts.”).

           9.   As for any acts Councilwoman Wells performed in her official function, an officer

may be personally liable in the performance of a ministerial duty if she acts with negligence, actual

malice or an intent to injure. An officer may be liable for the performance of a discretionary

function if she acts with actual malice or an intent to injure. Ga. Const. art. 1, § 2, ¶ IX(d); see

O.C.G.A. § 36–33–4.




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                                  FACTUAL ALLEGATIONS

        10.    Chief Clark was hired by the City of Forest Park as Police Chief on May 14, 2019.

Chief Clark was the first and only permanent Black individual to be hired as Police Chief by the

City.

        11.    Chief Clark has been in law enforcement for approximately 33 years and was

previously a police chief for a city in Arkansas.

        12.    The former permanent Chief of Police for the City of Forest Park, L. Dwayne

Hobbs, served as Police Chief for over two decades.

        13.    As Chief of Police, Chief Clark is responsible for overseeing the City’s police

department which includes approximately 95 sworn personnel and is responsible for the safety and

protection of the 20,000 civilians residing in the City.

        14.    As Chief of Police, Chief Clark reports to the City Manager who in turn reports to

the Governing Body. The Governing Body is comprised of the Mayor and the five members of

the City Council.

        15.    Soon after becoming Chief of Police, Chief Clark immediately requested that an

audit be conducted on the Police Department to, among other things, determine the financial status

of the Police Department.

        16.    The audit revealed that there were fraudulent, and unlawful, practices in the Police

Department that had occurred under prior leadership. Specifically, the audit revealed, among other

things, that the police department was selling ammunition that belonged to the City to civilians,

that the police department was cashing checks made out to the City of Forest Park/Forest Park

Police Department for cash and then were not turning it over to the finance department for proper


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documentation, and that some members of the department were doing surveillance on two city

council members.

       17.     Two supplemental audits were conducted which collaborated the initial audit. As

a result of the audit, some individuals in the police department were terminated and some left

voluntarily. The cases were reviewed by the Georgia Bureau of Investigations (“GBI”) and were

subsequently forwarded to the Clayton County prosecutor’s office for possible criminal charges.

       18.     In addition to the financial deficiencies uncovered in the audit requested by Chief

Clark, Chief Clark uncovered other illegal practices within the police department including an

illegal quota system for citations and systemic race and religious discrimination practices including

recruitment disparities and “Give a Christian a Ticket Sunday” which was a practice whereby

police officers would target Black and Hispanic Churches and give citations to members of those

communities.

       19.     In fact, the City’s Hispanic population has dropped by ten (10) percentage points

since 2010, from 37% to 27%, in part due to the police department previously targeting the

Hispanic community and issuing them an unprecedented number of citations.                        See

https://canopyatlanta.org/forest-park/hispanic-communities-police/

       20.     Despite Chief Clark’s uncovering of the illegal quota system for citations, some

members of the Governing Body wanted the police department to continue issuing citations for

profit. Chief Clark made it clear to the Governing Body that citations would be issued for the

protection of society and not to generate revenue.




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       21.     In January 2020, City Manager Angela Redding left her employment with the City.

Chief Clark was assigned as Interim City Manager and Police Chief from on or about January 6,

2020 until on or about May 18, 2020.

       22.     As Interim City Manager, Chief Clark had access to the City’s financial records

and accounts, not just those of the police department.

       23.     Soon after becoming Interim City Manager, Chief Clark identified financial

deficiencies throughout the City, on a much larger scale. Specifically, Chief Clark identified

unlawful commingling of E-911 funds (balancing the budget by using E-911 funds) and charging

SPLOST expenditures to accounts that did not exist.

       24.     After identifying these financial deficiencies, Chief Clark immediately requested

that an audit be conducted on the City’s financial accounts given that it appeared there was

unlawful activity occurring within the City. However, upon information and belief, the City never

conducted an audit on the E-911 or SPLOST accounts.

       25.     In May 2020, Albert Barker was appointed to the position of City Manager.

       26.     On June 30, 2020, Chief Clark received his annual performance review. The review

was very complimentary of Chief Clark’s performance. In that review, Barker wrote that “Chief

Clark identified and addressed an array of structural and systemic issues (i.e. FLSA and Title VII

Violations, Enhanced Recruitment and Disparities, CAD/Record Management System failures).”

Moreover, his review stated that “during his appointment [as Police Chief] the reported crime rate

was decreased significantly in 2019 (8 year low).”




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        27.      On or about July 1, 2020, Chief Clark was promoted to the position of Deputy City

Manager/Public Safety Director while also maintaining his position as Police Chief. See Exhibit

A, Correspondence from Barker regarding Chief Clark’s promotion.

        28.      The position of Deputy City Manager/Public Safety Director was a position that

had been created by the Governing Body and Barker was given discretion to appoint someone to

that position.

        29.      As a Deputy City Manager/Public Safety Director, Chief Clark had full

management responsibility for all public safety services and activities including the police

department and fire department and also had supervisory responsibility over all departments in

coordination with and subject to the direction of the City Manager. The job description specifically

stated that the position would oversee “the hiring, supervision, training, evaluation and discipline

of [the fire and police] department employees.” See Exhibit B, Public Safety Director/Deputy City

Manager job description.

        30.      When Barker appointed Chief Clark to that position, his decision was met with

extreme resistance from some of the Governing Body as they were worried that, as Deputy City

Manager, Chief Clark would continue to uncover fraudulent and unlawful activity as that position

had access to the City’s financial documents.

        31.      In fact, Barker told Chief Clark that the Governing Body in part was going to do all

they could to ensure that the audit he had been requesting would never be conducted and also told

Chief Clark that they would continue to harass and retaliate against him to the point of having his

employment terminated.




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       32.     On September 4, 2020, Chief Clark sent Barker an email that stated the following:

“Recently Finance Director Ken Thompson brought to our attention that in past years SPLOST

expenditures were charged to account(s) that doesn’t exist. Based on the financial inconsistencies

recently brought to our attention, I am recommending that an external audit be conducted

immediately regarding any and all finances.” See Exhibit C, 09.04.2020 Email from Chief Clark

to Barker.

       33.     Chief Clark also identified procedural concerns with the City’s federal asset

forfeiture account and requested that an audit be conducted.

       34.     Upon information and belief, the financial audit that Chief Clark recommended

regarding the federal asset forfeiture account was never conducted. See Exhibit D, 08.27.2021

Email from Chief Clark to Deputy Finance Director Darquita Williams.

       35.     Because Chief Clark was extremely concerned regarding potential fraudulent and

unlawful activity occurring, Chief Clark contacted the United States Department of Justice

(“DOJ”) regarding the City’s federal asset forfeiture account. The DOJ stated that an audit needed

to be conducted immediately.

       36.     Chief Clark also discovered, or was instrumental in bringing to light, other financial

discrepancies including discrepancies with the bank reconciliations (approximately $200,000

worth of discrepancies), discrepancies with the FBI reimbursement, and discrepancies with the

Georgia Emergency Management and Homeland Security Agency (“GEMA”) grant.

       37.     On October 28, 2020, Clark again sent Barker another email requesting that a

financial audit be conducted immediately based upon the DOJ’s recommendation, Finance




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Director Ken Thompson’s admissions, and financial discrepancies previously identified. See

Exhibit E, 10.28.2020 Email from Chief Clark to Barker.

       38.     Barker told Chief Clark that he was getting directives from members of the

Governing Body to stand down immediately on the financial audit.

       39.     In fact, Barker told Chief Clark and others that he had been offered a large sum of

money to stop the financial audits.

       40.     On November 2, 2020, Chief Clark received another stellar performance review

from Barker. In that review, Barker wrote the following: “Chief Clark was appointed Deputy City

Manager/Director of Public Safety on July 1, 2020; he also continues to hold the position of Police

Chief; during this appointment the reported crime rate decreased significantly in 2020 (21-year

low), this speaks volume [sic] of Chief Clark’s dedication in making the community safe for all.”

       41.     Barker also wrote, “Deputy City Manager/Public Safety Director Clark was warned

that he will face backlash referencing the audits (funding discrepancies) and his continual exposure

of biased practices.”

       42.     On November 4, 2020, Chief Clark overheard a City Official make a statement that

he (Chief Clark) takes detailed notes, to retrieve everything that he has been working on as Deputy

City Manager and to “stop him.”

       43.     That same day, on November 4, 2020, Chief Clark was demoted from his position

of Deputy City Manager. Specifically, Chief Clark’s contract was amended so that he would only

serve as Public Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City

Manager in the absence of a City Manager.




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       44.     Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.

       45.     Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do

things that other department heads were not required to do and his work was scrutinized and

nitpicked.

       46.     Soon after Chief Clark’s report to the DOJ as well as his insistence on a financial

audit in part due to Finance Director’s Ken Thompson’s admissions that SPLOST expenditures

were charged to accounts that did not exist, Thompson resigned his employment with the City and

took with him what appeared to be an extensive amount of confidential and highly sensitive

financial documents belonging to the City.

       47.     Moreover, on or about November 23, 2020, financial documents were removed

from the police department without Chief Clark’s consent.

       48.     In March 2021, Shalonda Brown, Director of Human Resources, filed a formal

complaint alleging sexual harassment by Fire Chief Don Horton. As Public Safety Director, Chief

Clark oversaw the Fire Department and Chief Horton reported to him.

       49.     Chief Clark subsequently put Chief Horton on administrative leave and

recommended that an external investigation be conducted.

       50.     The investigation—which was ultimately submitted to the City Manager and

Governing Body—confirmed that Chief Horton had been sexually harassing Brown and Chief

Horton was ultimately terminated.


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       51.     However, during the investigation and appeal process, Chief Clark was subjected

to continued harassment and verbal attacks by the Governing Body in part and Councilwoman

Wells. Specifically, during public City Council meetings, Councilwoman Wells made comments

regarding Chief Clark’s integrity.

       52.     In fact, during the appeal hearing, Chief Clark was berated for nearly two hours by

Chief Horton. Chief Clark was mandated to appear but was not afforded an opportunity by the

Governing Body to speak or defend himself in front of the community.

       53.     Councilwoman Wells told Chief Clark prior to the sexual harassment allegations

against Chief Horton that Chief Horton had given her $1,000 and that she had not recorded it to

either her ward or to her campaign.

       54.     Chief Clark told Councilwoman Wells twice that the $1,000 Chief Horton had

given her needed to be recorded, however, upon information and belief, it was never recorded.

       55.      Chief Clark has experienced a hostile work environment in retaliation for his

protected activity, namely, his involvement in the investigation into Brown’s sexual harassment

allegations against Chief Horton.

       56.     Specifically, Chief Clark has been verbally attacked and harassed by Wells.

       57.     On or about May 28, 2021, Chief Clark was summoned to City Manager Marc-

Antonie Cooper’s office and accused of having the Deputy Fire Chief, Latasha Clemmons

followed. Ms. Clemmons was hired by Chief Horton.

       58.     Chief Clark was placed under investigation, but the investigation showed that the

allegations were unfounded.

       59.     Upon information and belief, this was a conspiracy to have Chief Clark terminated.


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       60.     Moreover, Chief Clark has been stripped of additional job responsibilities.

       61.     For example, in May 2021, the Fire Chief’s reporting structure was changed so that

the Fire Chief no longer reports to Chief Clark but instead reports directly to the City Manager,

which is inconsistent with his job description and contract signed by the Governing Body.

       62.     Additionally, when the City was recruiting for the position of Fire Chief after Chief

Horton was terminated, despite Chief’s Clark job description stating that he would be responsible

for hiring of the fire department employees, Chief Clark was excluded from screening applicants

or participating on the hiring committee.

       63.     In fact, Chief Clark has been stripped of all authority regarding the fire department.

       64.     Moreover,    at   one    point   Chief    Clark    was    directed   to   cease    all

appointments/promotions at the police department until further notice.

       65.     Chief Clark also has been excluded from meetings regarding police operations.

       66.     Councilwoman Wells also continues to attack Chief Clark’s integrity by

undermining and questioning Chief Clark’s actions with respect to the police department.

       67.     For example, every time a police officer leaves the department, Councilwoman

Wells takes it upon herself to blame them leaving on Chief Clark.

       68.     Councilwoman Wells is constantly asking for data regarding the police department

in an attempt to find something to attack or look for ways to blame Chief Clark.

       69.     By way of example, in September 2021, Councilwoman Wells wanted Cooper to

reopen an investigation that had concluded nearly a year ago during which a member of the police

department had made claims against Chief Clark, which were investigated, and found to be

unfounded.


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       70.     Moreover, Councilwoman Wells wanted to see a copy of every exit interview and

every grievance filed against Chief Clark in an attempt to demean Chief Clark and punish him for

participating in the sexual harassment investigation into Chief Horton.

       71.     On or about September 12, 2021, Cooper received an email from an anonymous

individual(s), specifically “Concerned Citizens of Forest Park,” that stated that Councilwoman

Wells and her husband had physically assaulted a citizen. A criminal investigation was opened.

       72.     Soon thereafter, Chief Clark received information that the investigation appeared

to have been compromised as Councilwoman Wells had received confidential information from

someone at the police department regarding details of the investigation.

       73.     In fact, on September 22, 2021, Councilwoman Wells posted a lengthy video (14.5

minutes) to Facebook in which she appears to reference paperwork she was receiving from a

member of the police department regarding the investigation. Councilwoman Wells compromised

the integrity of the police department which is a violation of her duties as a City Council member.

       74.     In that same Facebook video, which to date has received 49 comments and 364

views, Councilwoman Wells made several false statements about Chief Clark with the specific

intent to do harm.

       75.     Specifically, among other things, Councilwoman Wells accused Chief Clark of

conducting an “illegal” investigation against her, one that was “not investigatable.”

       76.     Moreover, the Facebook video said, “So Chief Clark….go back to Arkansas

because we don’t need these issues as far as well, we got rid of it. You know we got rid of it. Now

you want to try and sue the City because you’re afraid of your job. Well if you did your job, you

wouldn’t have to worry about it…”


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       77.     In other words, Councilwoman Wells was compromising the integrity and

credibility of the police department, and more specifically, Chief Clark.

       78.     This video caused considerable disruption to the order and morale of the police

department and caused several subordinates to question Chief Clark’s leadership.

       79.     The video also harmed Chief Clark’s reputation both internally and externally with

the general public.

       80.     The video was so controversial that on January 4, 2022 another Councilwoman,

Kimberly James, filed an ethics complaint against Councilwoman Wells alleging, among other

things that the Facebook video was “false, misleading, unethical, without merit, humiliating and

defaming the character of staff and elected officials.” The ethics complaint further stated, “[t]he

information caused the public, which includes staff in every department including police, as well

as residents, non-residents, business owners and potential business owners to question the integrity

of everyone personally named in the outrageous video.”

       81.     Although it appeared that at least one high-ranking City official was aware that

Councilwoman Wells had received this information improperly, and had known for some time, no

action was taken to investigate.

       82.     On October 7, 2021, Chief Clark sent Cooper an email requesting an external

investigation (to avoid the appearance of impropriety) as it had appeared that someone at the police

department has been leaking information to Councilwoman Wells while there was an open

investigation pending.

       83.     Upon information and belief, no action has been taken to investigate Chief Clark’s

concerns.


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       84.     Chief Clark has repeatedly complained to his City Managers, members of the

Governing Body, the City’s in-house attorney and the City’s outside attorney regarding the

retaliation he is experiencing.

       85.     Several City officials, including Cooper, have admitted and acknowledged the

retaliation Chief Clark is experiencing but have done nothing to stop it.

       86.     Chief Clark was told by a City official that the City is attempting to dissolve the

position of Public Safety Director, decrease his salary, and eventually terminate his employment

based on his involvement in the sexual harassment investigation of Chief Horton.

                            COUNT I
                     RETALIATION UNDER THE
     GEORGIA WHISTLEBLOWER PROTECTION ACT, O.C.G.A. § 45-1-4 et seq.
               (DEFENDANT CITY OF FOREST PARK, GA)

       87.     Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       88.     Pursuant to O.C.G.A. § 45-1-4, it is unlawful for a public employer to retaliate

against a public employee “in the terms or conditions of employment for disclosing a violation of

or noncompliance with a law, rule, or regulation to either a supervisor or government agency.”

       89.     On November 4, 2020, Chief Clark demoted from his position of Deputy City

Manager. Specifically, Chief Clark’s contract was amended so that he would only serve as Public

Safety Director and Chief of Police. Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.

       90.     Chief Clark was demoted due to his uncovering of unlawful and fraudulent activity,

specifically including his uncovering of financial discrepancies, pay disparities, systemic racism,

illegal quotas, and other unlawful and fraudulent activity.



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       91.       Chief Clark also experienced a hostile work environment in retaliation for his

uncovering of these unlawful and fraudulent activities. Specifically, Chief Clark was asked to do

things that other department heads were not required to do and his work continues to be scrutinized

and nitpicked.

       92.       Moreover, Chief Clark has experienced a hostile work environment in retaliation

for his involvement in the investigation into Brown’s sexual harassment allegations against Chief

Horton.

       93.       Chief Clark has also been stripped of additional job responsibilities because of his

involvement in the investigation into Brown’s sexual harassment allegations against Chief Horton.

       94.       These adverse employment actions were in retaliation for Chief Clark’s disclosing

violations or noncompliance with laws, rules or regulations in violation of the Georgia

Whistleblower Protection Act, O.C.G.A. § 45-1-4 et seq.

       95.       These adverse employment actions have caused Chief Clark to suffer damages in

the form of loss of future earning capacity in that his credentials as Police Chief, Public Safety

Director and Deputy City Manager and reputation have been besmirched.

                                   COUNT II
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      UNDER THE COMMON LAW OF GEORGIA
                              (DEFENDANT WELLS)

       96.       Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       97.       As a direct and proximate cause of Councilwoman Wells’ actions, Chief Clark has

suffered damages in an amount to be proven at trial.

       98.       Councilwoman      Wells’   actions    demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to

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the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

       99.     Chief Clark has suffered extreme emotional distress as a result of the actions of

Councilwoman Wells as his reputation—something a Police Chief relies heavily on and cannot

function without—has been tarnished in the police department, the City, and the community.

                                            COUNT III
                                            SLANDER
                                       (DEFENDANT WELLS)

       100.    Plaintiff incorporates by reference all preceding paragraphs of the Complaint.

       101.    Councilwoman Wells’ Facebook post on September 22, 2021 contained numerous

false and defamatory remarks regarding Chief Clark’s tenure at the City.

       102.    In this video, Councilwoman Wells was compromising the integrity and credibility

of the police department, and more specifically, Chief Clark.

       103.    This video caused considerable disruption to the order and morale of the police

department and caused several subordinates to question Chief Clark’s leadership.

       104.    These statements have negatively impacted Chief Clark’s reputation both internally

in the City and police department and externally in the community in which he works.

       105.    Councilwoman Wells made these statements maliciously and with the specific

intent to do harm to Chief Clark and to punish him for exposing a hostile work environment and

for questionable and illegal acts.

       106.    Councilwoman          Wells’   actions   demonstrate   willful   misconduct,   malice,

wantonness, oppression and want of caring raising the presumption of conscious indifference to




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the consequences of her actions, entitling Plaintiff to punitive damages under O.C.G.A. § 51-12-

5.1.

          WHEREFORE, the Plaintiff demands that a trial by jury be had on all Counts of his

Complaint and that the following such judgment be entered on his behalf against Defendants

granting the following relief:

       (a) that Defendants be Ordered to make Plaintiff whole by providing for his out-of-pocket

          losses including any back pay in an amount equal to the sum of any wages, salary,

          employment benefits or other compensation denied or lost as a result of Defendants’

          unlawful and discriminatory acts, together with interest thereon, all in amounts to be

          determined at the trial;

       (b) that front pay be awarded as the employment relationship has been so severely damaged

          that the relationship is unsalvageable;

       (c) that compensatory damages be awarded against each Defendant individually to compensate

          Plaintiff for his mental and emotional distress, anxiety, humiliation, outrage, and loss of

          professional and personal reputation as a consequence of Defendants’ actions in an amount

          to be determined at the trial;

       (d) that punitive damages be awarded against Defendants in an amount to be determined at

          trial to deter Defendants and others from similar misconduct in the future;

       (e) that Plaintiff be granted attorney’s fees and expenses of litigation pursuant to O.C.G.A. §§

          45-1-4(f) and 13-6-11;

       (f) appropriate declaratory and injunctive relief;

       (g) that pre-judgment and post-judgment interest be awarded; and


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(h) that Plaintiff be granted such other and further additional relief as the jury deems equitable

   and just.

   Respectfully submitted, this 7th day of February, 2022.

                                            s/ Jackie Lee
                                            Jackie Lee
                                            Georgia Bar No. 419196
                                            jackie@leelawga.com
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                                            1100 Peachtree Street NE, Suite 250
                                            Atlanta, Georgia 30309
                                            Telephone: (404) 301-8973

                                            COUNSEL FOR PLAINTIFF




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                   IN THE SUPERIOR COURT OF CLAYTON COUNTY
                               STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
                PLAINTIFF,                      )
                                                )
                                                )
 V.                                             )
                                                )
                                                )    Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                    )
 individual capacity                            )
                                                )
                                                )
                DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

       I certify that on February 7, 2022 I electronically filed the foregoing Plaintiff’s First

Amended Complaint with the Clerk of Court which will automatically send notification of such

filing to all counsel of record and by e-mail to the following counsel of record:

                                       Michael M. Hill
                                     Shaheem M. Williams
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                                               s/ Jackie Lee
                                               Jackie Lee
                                               Georgia Bar No. 419196




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              Exhibit A
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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                PLAINTIFF,                     )
                                               )
                                               )
 V.                                            )
                                               )
                                               )       Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                   )
 individual capacity                           )
                                               )
                                               )
                DEFENDANTS.                    )

                             NOTICE OF LEAVE OF ABSENCE

       COMES NOW, Jackie R. Lee, respectfully notifies the Judge, Clerk of Court, and all

opposing counsel in the above-referenced matter, that she will be out of the country from February

24, 2022 to March 3, 2022.

       Respectfully submitted, this 7th day of February, 2022.

                                              s/ Jackie Lee
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                                              Georgia Bar No. 419196
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                                              1100 Peachtree Street NE, Suite 250
                                              Atlanta, Georgia 30309
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                                              COUNSEL FOR PLAINTIFF




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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                PLAINTIFF,                     )
                                               )
                                               )
 V.                                            )
                                               )
                                               )       Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                   )
 individual capacity                           )
                                               )
                                               )
                DEFENDANTS.                    )

                                CERTIFICATE OF SERVICE

       I certify that on February 7, 2022, I electronically filed the foregoing Notice of Leave of

Absence with the Clerk of Court which will automatically send notification of such filing to all

counsel of record and by e-mail to the following counsel of record:

                                      Michael M. Hill
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                                              s/ Jackie Lee
                                              Jackie Lee
                                              Georgia Bar No. 419196


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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                             )
                                              )
                PLAINTIFF,                    )
                                              )
                                              )
 V.                                           )
                                              )
                                              )       Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                  )
 individual capacity                          )
                                              )
                                              )
                DEFENDANTS.                   )

                     PLAINTIFF’S RESPONSE TO DEFENDANT
                   LATRESA AKINS-WELLS’ MOTION TO DISMISS

        COMES NOW Plaintiff Nathaniel Clark (“Plaintiff” or “Chief Clark”) by and through his

undersigned counsel, hereby files this Response to Defendant Latresa Akins-Wells’ Motion to

Dismiss, showing the Court as follows:

I.      INTRODUCTION.

        Defendant Latresa Akins-Wells’ (“Councilwoman Wells”) submitted a brief two-page

Motion to Dismiss asking the Court to dismiss this matter. However, the grounds upon which

Councilwoman Wells relies to support her Motion to Dismiss are entirely unclear. Although she

claims to incorporate the Defendant City of Forest Park’s Motion to Dismiss, the grounds by which

the City sought to dismiss the Complaint are, for the most part, entirely irrelevant to

Councilwoman Wells. Plaintiff cannot—and should not—be required to guess as to which

arguments from the City’s brief Councilwoman Wells seeks to rely.




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II.      ARGUMENT AND CITATION TO AUTHORITY.

         A.      Legal Standard for Motion to Dismiss for Failure to State a Claim.

         Motions to dismiss are not taken lightly. A trial court should not grant a motion to dismiss

for failure to state a claim unless:

         (1) the allegations of the complaint disclose with certainty that the claimant would
         not be entitled to relief under any state of provable facts asserted in support thereof;
         and (2) the movant establishes that the claimant could not possibly introduce
         evidence within the framework of the complaint sufficient to warrant a grant of the
         relief sought. In deciding a motion to dismiss, all pleadings are to be construed
         most favorably to the party who filed them, and all doubts regarding such pleadings
         must be resolved in the filing party’s favor. In other words, a motion to dismiss for
         failure to state a claim should not be granted unless it appears with certainty that
         the plaintiff would be entitled to no relief under any state of facts which could be
         proved in support of his claim. If, within the framework of the complaint, evidence
         may be introduced which will sustain a grant of relief to the plaintiff, the compliant
         is sufficient.

Webb v. Bank of America, N.A., 328 Ga.App. 62, 63, 761 S.E.2d 485, 486 (2014) (citations

omitted).

         Notably, “it is no longer necessary for a complaint to set forth all the elements of a cause

of action in order to survive a motion to dismiss for failure to state a claim. If, within the

framework of the complaint, evidence may be introduced which will sustain a grant of relief to the

plaintiff, the complaint is sufficient.” Id. at 64.

         B.      Plaintiff’s Slander Claim Against Defendant Wells Should Not be Dismissed
                 as Plaintiff Has Amended His Complaint to Add More Details Surrounding
                 that Claim.

         In her Motion to Dismiss, Councilwoman Wells requests that the Court dismiss Plaintiff’s

slander claim due to being “vague or ambiguous” or in alternative, enter an order requiring Plaintiff

to file a more definite statement as to his defamation claim. Although the Complaint contained

more than enough detail surrounding the slander claim—and even included a link to the Facebook

                                                      2
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post in considered slanderous—in an abundance of caution, Plaintiff has contemporaneously filed

a First Amended Complaint adding more detail surrounding that claim.

       C.      To the Extent Councilwoman Wells’ Attempts to Have Plaintiff’s Intentional
               Infliction of Emotional Distress Claim Dismissed, Her Attempt is Unavailing;
               She Cannot Plausibly Argue That There Are No State of Facts that Would
               Entitle Chief Clark to Relief.

       Plaintiff respectfully requests that the Court not consider any argument Councilwoman

Wells’ purports to make that are not included in Councilwoman Well’s Motion to Dismiss.

Although Councilwoman Wells claims to incorporate the City’s Motion to Dismiss in her Motion

to Dismiss, many of the arguments in the City’s Motion to Dismiss are simply inapplicable to

Councilwoman Wells as an individual. As a result, Plaintiff is having to sort through the City’s

Motion to Dismiss to determine which, if any, arguments could possibly pertain to Councilwoman

Wells. This is simply not required nor permissible.

       Nonetheless, should the Court be inclined to allow Councilwoman Wells to argue that the

intentional infliction of emotional distress claim be dismissed, in an abundance of caution, Plaintiff

will respond to that argument. As an initial matter, tellingly, the City did not cite one Georgia

state court case that dismissed an intentional infliction of emotional distress claim on a Motion to

Dismiss. Moreover, any reliance on case law from the Northern District of Georgia is not

persuasive as the federal courts have a different standard governing a Motion to Dismiss—one that

is more stringent for the Plaintiff. By contrast, the standard governing this Court requires that the

Court deny a Motion to Dismiss unless it appears with certainty that the plaintiff would be entitled

to no relief under any state of facts which could be proved in support of his claim. Webb, 328

Ga.App. at 63 (emphasis added).



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       Here, Councilwoman Wells cannot prove with certainty that Chief Clark would not be

entitled to relief under any set of facts. To the contrary, the relationship between Councilwoman

Wells and Chief Clark—and the intentional slander and retaliatory conduct to which she subjected

him—make it likely that such a claim would prevail.

       A plaintiff must prove the following elements in order to recover for intentional infliction

of emotional distress: (1) intentional or reckless conduct (2) which is extreme and outrageous and

(3) caused the emotional distress (4) which is severe. Bridges v. Winn-Dixie Atlanta, 176 Ga.App.

227, 230, 335 S.E.2d 445 (1985). The existence of a special relationship between the actor and

victim, such as that of employer to employee, may make otherwise non-egregious conduct

outrageous. Trimble v. Circuit City Stores, 220 Ga.App. 498, 499, 469 S.E.2d 776, 778 (1996).

“[B]y its very nature, [the employee-employer relationship] provides a captive victim who may

fear reprisal for complaining, so that the injury is exacerbated by repetition, and it presents a

hierarchy of structured relationships [that] cannot easily be avoided.” Id. at 500 (internal citations

omitted). Moreover, in Yarbray v. Southern Bell Tel., etc., Co., 261 Ga. 703, 704, 409 S.E.2d 835

(1991), the Georgia Supreme Court held that an employer’s retaliation against an employee for

testifying against the employer could provide the basis for an employee’s intentional infliction of

emotional distress claim.

       Here, Councilwoman Wells retaliated against Chief Clark for bringing forth unlawful

conduct, including for his involvement in the investigation into Shalonda Brown’s (Director of

Human Resources) formal complaint of sexual harassment by Fire Chief Don Horton. Since that

time, as alleged in the First Amended Complaint, and discovery will show, Councilwoman Wells

has: 1) made comments regarding Chief Clark’s integrity during public City Council meetings; 2)


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verbally attacked and harassed Chief Clark; 3) placed Chief Clark under investigation; 4) requested

that an investigation be reopened that had concluded nearly a year earlier during which a member

of the police department had made claims against Chief Clark that were investigated and found to

be unfounded; 5) repeatedly requested that paperwork be submitted to her regarding police

operations; and 6) posted a completely inappropriate and slanderous Facebook video which

accused Chief Clark of conducting an illegal investigation against her and compromised the

integrity of the police department and more specifically, Chief Clark, and caused considerable

disruption to the order and morale of the police department. As for the Facebook post, as detailed

in the First Amended Complaint, the conduct was so controversial that on January 4, 2022, another

Councilwoman, Kimberly James, filed an ethics complaint against Councilwoman Wells alleging,

among other things, that the Facebook video was “false, misleading, unethical, without merit,

humiliating and defaming the character of staff and elected officials.” The ethics complaint further

stated, “[t]he information caused the public, which includes staff in every department including

police, as well as residents, non-residents, business owners and potential business owners to

question the integrity of everyone personally named in the outrageous video.”

       Not only is there a special relationship between Councilwoman Wells and Chief Clark

(employer/employee) that would make otherwise non-egregious conduct outrageous, but here, we

are dealing with specialized concerns that come with the paramilitary nature of a police

department. As stated in Gresham v. City of Atlanta et al., No.1:10-CV-1301-RWS, 2011 WL

4601020, at *2 (Sept. 30, 2011 N.D. Ga.):

       The government’s interest in efficient public service is particularly acute in the
       context of police departments, which have more specialized concerns than a normal
       government office. Indeed, the Supreme Court has noted a particular “need for
       discipline[,] esprit de corps, and uniformity” within the police force. Kelley v.

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       Johnson, 425 U.S. 238, 246, 96 S.Ct. 1440, 47 L.Ed.2d 708 (1976). The Eleventh
       Circuit has likewise recognized the unique needs of police departments, noting,
       “Order and morale are critical to successful police work: a police department is a
       ‘paramilitary organization, with a need to secure discipline, mutual respect, trust
       and particular efficiency among the ranks due to its status as a quasi-military entity
       different from other public employers.’” Hansen v. Soldenwagner, 19 F.3d 573,
       577 (11th Cir. 1994) (quoting Bryson v. City of Waycross, No. CV588-017, 1988
       WL 428478, at *9 (S.D. Ga. Nov. 1, 1988), aff’d 888 F.2d 1562 (11th Cir. 1989)).

Given Councilwoman Well’s slanderous comments and intentional retaliatory behavior

toward Chief Clark—which she did knowing it would have a detrimental effect on his

reputation and the order and morale in the police department—the intentional infliction of

emotional distress claim should remain.

III.   CONCLUSION.

       A motion to dismiss for failure to state a claim should not be granted unless it appears with

certainty that the plaintiff would be entitled to no relief under any state of facts which could be

proved in support of his claim. Webb, 328 Ga.App. at 63 (emphasis added). If, within the

framework of the complaint, evidence may be introduced which will sustain a grant of relief to the

plaintiff, the complaint is sufficient.” Id. at 64. Here, dismissal is inappropriate because Plaintiff

cannot demonstrate that there is no possible evidence that could be introduced which will sustain

a grant of relief to Chief Clark—to the contrary—the First Amended Complaint is replete with

evidence that would support a slander and intentional infliction of emotional distress claim. For

the foregoing reasons, we respectfully request that the Councilwoman Wells’ Motion to Dismiss

be denied.

       Respectfully submitted, this 7th day of February, 2022.

                                                s/ Jackie Lee
                                                Jackie Lee
                                                Georgia Bar No. 419196

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                     IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                 STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
                 PLAINTIFF,                      )
                                                 )
                                                 )
 V.                                              )
                                                 )
                                                 )       Civil Action No.: 2021CV03928-14
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                     )
 individual capacity                             )
                                                 )
                                                 )
                 DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

       I certify that on February 7, 2022, I electronically filed the foregoing Plaintiff’s Response

Defendant Latresa Akins-Wells’ Motion to Dismiss with the Clerk of Court which will

automatically send notification of such filing to all counsel of record and by e-mail to the following

counsel of record:

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                                                s/ Jackie Lee
                                                Jackie Lee

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                                Georgia Bar No. 419196




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                                                                                                     CLERK OF SUPERIOR COURT
                                                                                                     CLAYTON COUNTY, GEORGIA
                                                                                                    2021CV03928-14
                         IN THE SUPERIOR COURT OF CLAYTON COUNTY                                           Jewel Scott
                                     STATE OF GEORGIA                                                 FEB 21, 2022 05:16 PM


    NATHANIEL CLARK,                                    )
                                                        )
            Plaintiff,                                  )       Civil Action
                                                        )       No. 2021CV03928-14
    v.                                                  )
                                                        )
    CITY OF FOREST PARK, GA and                         )
    LATRESA AKINS-WELLS, in her                         )
    individual capacity,                                )
                                                        )
            Defendants.                                 )

                           CITY OF FOREST PARK, GEORGIA’S REPLY
                         BRIEF IN SUPPORT OF ITS MOTION TO DISMISS

            COMES NOW the City of Forest Park, Georgia (“the City”), by and through the

undersigned counsel of record, and hereby files this Reply Brief In Support of Its Motion to

Dismiss.1

A.          Plaintiff’s Slander and Intentional Infliction of Emotional Distress Claims Are Not
            Applicable to the City                                                       __

            In Plaintiff’s response, he concedes that he intended to assert his intentional infliction of

emotional distress and slander claims in Counts II and III of the Complaint only against

Councilwoman Wells in her individual capacity. (Pl. Resp. Brief, p. 3, n.2). Plaintiff since has

amended the case caption to reflect that no claims are asserted against Councilwoman Wells in her

official capacity. (See generally Am. Compl.) Accordingly, to the extent Counts II and III of the

Complaint ever were asserted against the City, the Court should deem these claims voluntarily



1
 On February 7, 2022, Plaintiff filed an Amended Complaint, in which he changed the case caption to reflect that co-
defendant Latresa Akins-Wells (“Councilwoman Wells”) is being sued only in her individual capacity and that he is
dropping all official-capacity claims against Councilwoman Wells. The factual allegations regarding his
whistleblower retaliation claim against the City have not changed. Therefore, the City respectfully submits that the
arguments in its Motion to Dismiss Plaintiff’s Complaint, with respect to Plaintiff’s whistleblower retaliation claim,
apply equally to Plaintiff’s Amended Complaint. Of course, if the Court prefers that the City instead file a Motion to
Dismiss Plaintiff’s Amended Complaint, the undersigned counsel respectfully will do so.

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dismissed with regard to the City. Plaintiff’s claim in Count I under the Georgia Whistleblower

Act (“GWA”) is the only remaining claim asserted against the City.

B.      Plaintiff’s Complaint Does Not State A Viable Claim For Relief Against The City
        Under The Georgia Whistleblower Act

        As discussed in the City’s initial brief, none of Plaintiff’s alleged supervisory “nitpicking,”

changes in job duties, being investigated, or “scrutiny” rises to the threshold level of substantiality

for an actionable adverse employment action. See Davis v. Town of Lake Park, 245 F.3d 1232,

1238-39 (11th Cir. 2001).2 Plaintiff responds by arguing that his allegations of a November 2020

“demotion,” removal of duties as Public Safety Director, and retaliatory hostile work environment,

constitute adverse employment actions. But none of these alleged actions meets the requirement

of a “serious and material change” set forth in Davis.

        1.     Plaintiff’s Alleged “Demotion” Was Not An Adverse Employment Action

        Plaintiff appears to argue that his perception of an amended employment contract as an

involuntary “demotion”—even though he agreed to the terms of the contract by signing it—is

sufficient to establish an adverse employment action for a whistleblower retaliation claim. (Pl.

Resp. Brief, pp. 5-11). This is not the correct legal standard. When the Court in Davis held that

“an employee must show a serious and material change in the terms, conditions, or privileges of

employment to prove an adverse employment action,” it also held that “the employee’s subjective

view of the significance and adversity of the employer’s action is not controlling; the employment

action must be materially adverse as viewed by a reasonable person in the circumstances.” 245

F.3d at 1239 (emphasis added).



2
  For purposes of the GWA, courts construe the phrase “adverse employment action” consistently with federal courts’
interpretation of the same phrase in the context of discrimination claims brought under Title VII of the Civil Rights
Act (“Title VII”), which requires an employment action analogous to or of a similar kind as a “discharge, suspension,
or demotion.” Franklin v. Pitts, 349 Ga. App. 544, 552, 554 (2019).

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           Davis also stressed that a mere change in job duties, unaccompanied by any decrease in

salary, work-hour changes, or other tangible harm, is outside the scope of Title VII.3 Id. at 1244-

45 (citing Mungin v. Katten Muchin & Zavis, 116 F.3d 1549, 1557 (D.C. Cir. 1997) (agreeing with

“other circuits which have held that changes in assignments or work-related duties do not

ordinarily constitute adverse employment decisions if unaccompanied by a decrease in salary or

work hour changes”)); see also id. at 1236 (“[C]ourts have uniformly held that changes in

assignments or work-related duties do not amount to actionable adverse employment action if

unaccompanied by a decrease in salary.”). It is only in “unusual instances” that changes in work

duties could be sufficiently substantial and material to alter the “terms, conditions, or privileges”

of one’s employment. Id. at 1245. “In the vast majority of instances, . . . an employee alleging a

loss of prestige on account of a change in work assignments, without any tangible harm [e.g.,

decrease in salary], will be outside the protection afforded by [Title VII].” Id.

           Given the above guidance from Davis, it is clear the alleged change in job duties here,

viewed objectively, is not one of the “unusual instances” that constitutes a serious and material

change in employment. See id. Not only is this amended employment contract something to which

Plaintiff agreed, but Plaintiff does not even allege any tangible economic loss, such as a reduction

in pay or benefits. Nor does he allege any facts to indicate the change was involuntary or that

otherwise would call into question the mutual assent of his entering into a new employment

contract with the City.

           Moreover, the alleged change in duties under the November 2020 contract is not even

inconsistent with the job description of Deputy City Manager/Public Safety Director. The job

description itself makes clear that his supervisory duties were subject to change, and that the



3
    See supra note 2.

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Deputy City Manager role is subordinate to his duties as Public Safety Director. The job

description expressly provides that Plaintiff’s supervisory responsibilities as Deputy City Manager

are “subject to the direction of the City Manager” and that Plaintiff’s “primary role” is to “assist”

the City Manager in the activities and operations of the Police Department, Fire Service, 911,

Animal Control, and Public Information Officer. (Am. Compl., Ex. B (emphasis added)). Thus,

regardless of the supervisory duties listed in the job description, the City Manager always retained

discretion to determine which duties the Deputy City Manager could exercise and under what

circumstances. There is no inconsistency between Plaintiff’s November 2020 employment

contract and the Deputy City Manager/Public Safety Director job description, much less one that

could be considered a “serious and material” change to constitute an adverse employment action.

Cf. McNely v. Ocala Star -Banner Corp., 99 F.3d 1068, 1078 (11th Cir. 1996) (adverse action

where supervisor at newspaper reassigned to janitor duties, including cleaning toilets in bathrooms

and also performing physically strenuous tasks in the shipping department).

       2.      The Alleged Changes To Plaintiff’s Public Safety Director Duties Do Not
               Constitute Adverse Employment Actions

       Plaintiff also claims he suffered an adverse employment action because his duties as Public

Safety Director to oversee the Fire Department were “stripped.” (Pl. Resp. Brief, p. 12). Plaintiff

specifically alleges that the Fire Chief no longer was required to report to him and that he was

excluded from the Fire Chief’s hiring process. (Id., pp. 12-13.) For the same reasons identified in

the preceding section, however, none of these allegations constitutes a serious and material change

in the terms, conditions, or privileges of Plaintiff’s employment. See supra part B.1.

       As with Plaintiff’s Deputy City Manager position, the language in the job description gave

Plaintiff express notice his duties as Public Safety Director were subject to change. The job

description provides the listed duties “are not to be construed as exclusive or all inclusive” and

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that “[o]ther duties may be required and assigned.” (Am. Compl., Ex. B.) This means any duty,

even if listed in the job description, may or may not be required to be performed by Plaintiff and,

if the City so decides, even other duties could be required or assigned at any time and perhaps take

priority over others. Plaintiff’s contention that he suffered a “serious and material” change

regarding his work responsibilities is thus directly contradicted by the job description itself, which

is replete with language permitting his duties to be varied at the City Manager’s discretion.

Accordingly, Plaintiff does not and cannot allege an adverse employment action based on the

purported “stripping” of his Public Safety Director duties.

C.      Plaintiff Fails To State A Claim For Retaliatory Hostile Work Environment

        As the City pointed out in its initial brief, no controlling authority presented with the

question has held a retaliatory hostile work environment claim to be actionable under the GWA.

(See City’s Init. Br., p. 10 n.1.) In response, Plaintiff cites only to City of Pendergrass v. Rintoul,

354 Ga. App. 618, 625 (2020). But Plaintiff overstates the holding in that case.

        The question of whether the GWA contemplates a claim for retaliatory hostile work

environment was not presented to the Court in Rintoul. What Rintoul actually held was that, on a

defendant’s motion for directed verdict, the plaintiff was not collaterally estopped from asserting

a retaliation claim merely because the trial court already had granted the employer’s summary

judgment motion on the plaintiff’s constructive discharge claim. Id. at 624-26. The Court noted

that, beyond the issue of constructive discharge, the plaintiff had introduced evidence of other

adverse employment actions that fell squarely within the definition of actionable retaliation under

the GWA, including a suspension, a demotion, and a loss of a $5,000 to $10,000 a year benefit to

the plaintiff’s employment. Id. at 625-26. Thus, the Court’s references to hostile work environment

in Rintoul are dicta at best.



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       In addition, Plaintiff fails to state a claim for retaliatory hostile work environment. To

prevail on such a claim, Plaintiff is required to show that “(1) []he engaged in a protected activity;

(2) after doing so, []he faced unwelcome harassment; (3) the protected activity was a ‘but for’

cause of the harassment; (4) the harassment was sufficiently severe or pervasive to alter the terms

of h[is] employment; and (5) h[is] employer is responsible for the environment under either

vicarious or direct liability.” Joseph v. Board of Regents, No. 1:20-cv-502-TCB, 2020 U.S. Dist.

LEXIS 208570, at *18 (N.D. Ga. May 8, 2020) (assessing retaliatory hostile work environment

claim under Title VII (citing Adams v. Austal, U.S.A., LLC, 754 F.3d 1240, 1248-49 (11th Cir.

2014))). In evaluating whether certain treatment is sufficiently “severe or pervasive,” courts are

required to consider “(1) the frequency of the conduct; (2) the severity of the conduct; (3) whether

the conduct is physically threatening or humiliating, or a mere offensive utterance; and (4) whether

the conduct unreasonably interferes with the employee’s job performance.” Miller v. Kenworth of

Dothan, Inc., 277 F.3d 1269, 1276 (11th Cir. 2002) (citing Harris v. Forklift Sys., Inc., 510 U.S.

17, 23 (1993)). Courts generally require the alleged harassment to be so frequent as to render the

workplace “permeated with discriminatory intimidation, ridicule, and insult.” Barrow v. Georgia

Pacific Corp., 144 F. App’x 54, 56 (11th Cir. 2005) (quoting Harris, 510 U.S. at 21).

       Plaintiff fails to allege even in conclusory fashion that he experienced severe or pervasive

harassment. He alleges he was asked to do “things other department heads were not required to

do”; his work was “scrutinized” and “nitpicked” by unknown actors in nonspecific ways; he

received vague “verbal attacks” from “the Governing Body” and Councilwoman Wells; his job

duties changed over time (with no reduction in pay or benefits); and the City investigated him after

receiving an employee complaint about him (which investigation ultimately found in Plaintiff’s

favor). (Am. Compl., ¶¶ 45, 55, 57-58, 69, 91-92). Importantly, he alleges nothing to show these



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actions were physically threatening or humiliating or that they unreasonably interfered with his

job performance. See, e.g., Kelly v. Dun & Bradstreet, Inc., 2014 U.S. Dist. LEXIS 198480, at *15

(N.D. Ga. Sep. 12, 2014) (no retaliatory hostile work environment because plaintiff not abused,

physically threatened, marginalized, or humiliated).

       Even Plaintiff’s vague allegations of being “verbally attacked” by the Governing Body and

Councilwoman Wells with “comments” regarding his “integrity” are insufficient to meet the

required level of severity or pervasiveness. Courts routinely reject claims of pervasive harassment

if the remarks were not made on a daily or near-daily basis. “Courts have rejected claims of

pervasiveness in hostile work environment claims, for example, where the alleged incidents

numbered seven in six months; four in nine months; four in nine months [sic]; or seven in thirteen

months.” Frizzell v. Delta Air Lines, No. 1:19-CV-1573-TWT-JSA, 2019 U.S. Dist. LEXIS

186699, at *32-33 (N.D. Ga. Aug. 29, 2019) (citing Dawkins v. Fulton Cnty. Gov’t, No. 1:10-CV-

1718-WCO-AJB, 2012 U.S. Dist. LEXIS 193726, 2012 WL 12891446, at *17-18 (N.D. Ga. Jan.

31, 2012) (collecting cases)); see also Zarza v. Tallahassee Hous. Auth., 686 F. App’x 747, 752

(11th Cir. 2017) (no hostile work environment based on race where “Plaintiff was not subjected to

racially pejorative remarks multiple times a day, every day”); Aristyld v. City of Lauderhill, 543

F. App’x 905, 909 (11th Cir. 2013) (isolated comments do not rise to level necessary to support

retaliatory hostile work environment); Garrett v. Tyco Fire Prods., LP, 301 F. Supp. 3d 1099, 1119

(N.D. Ala. 2018) (four unwelcome comments and two instances of graffiti in three-month period

not sufficiently pervasive to establish hostile work environment); Fortson v. Columbia Farms Feed

Mill, 34 F. Supp. 3d 1302, 1305-08 (M.D. Ga. 2014) (twelve unwelcome comments in seven

months insufficiently frequent to show hostile work environment claim); Cushmeer-Muhammad

v. Fulton Cnty., No. 1:08-CV-3256-GET-JFK, 2010 WL 11500831, 2010 U.S. Dist. LEXIS



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158003, at *19 (N.D. Ga. July 19, 2010) (one incident of supervisor’s yelling not considered hostile

work environment).

        Accordingly, any claim for a retaliatory hostile work environment under the GWA fails as

a matter of law and should be dismissed.

D.      Conclusion

        For the reasons set forth above and in the City’s initial brief, the City respectfully requests

that its Motion to Dismiss be granted and that the Court dismiss with prejudice all claims asserted

against the City in this action.



                                               Respectfully submitted,

                                               FREEMAN MATHIS & GARY, LLP


                                               /s/ Michael M. Hill
                                               Michael M. Hill
                                               Georgia Bar No. 770486
                                               Shaheem M. Williams
                                               Georgia Bar No. 666654
                                               100 Galleria Parkway
                                               Suite 1600
                                               Atlanta, Georgia 30339
                                               T: (770) 818-0000
                                               F: (770) 937-9960

                                               Counsel for City of Forest Park, GA




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                      IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
         Plaintiff,                              )     Civil Action
                                                 )     No. 2021CV03928-14
 v.                                              )
                                                 )
 CITY OF FOREST PARK, GA and                     )
 LATRESA AKINS-WELLS, in her                     )
 Official and individual capacity,               )
                                                 )
         Defendants.                             )

                                  CERTIFICATE OF SERVICE

         I certify that on this day I served the foregoing CITY OF FOREST PARK, GEORGIA’S

REPLY BRIEF IN SUPPORT OF ITS MOTION TO DISMISS by electronically filing the

same with the Clerk of Court using the Peach Court e-filing system, which will automatically send

email notification of such filing to all counsel of record, and via email pursuant to agreement of the

parties to all counsel of record as follows:

                                              Jackie Lee
                                       LEE LAW FIRM, LLC
                                 1100 Peachtree Street NE, Suite 250
                                       Atlanta, Georgia 30309
                                        jackie@leelawga.com

                                         Karen E. Woodward
                                          Marisa M. Beller
                       Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
                                         275 Scientific Drive
                                        Meridian II, Suite 2000
                                  Peachtree Corners, Georgia 30092
                       kwoodward@cmlawfirm.com; mbeller@cmlawfirm.com

         This 21st day of February, 2022.

                                                      /s/ Michael M. Hill
                                                      Michael M. Hill
                                                      Georgia Bar No. 770486

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                                                                                        CLERK OF SUPERIOR COURT
                                                                                        CLAYTON COUNTY, GEORGIA
                                                                                        2021CV03928-14
                         IN THE SUPERIOR COURT OF CLAYTON COUNTY                            Jewel Scott
                                      STATE OF GEORGIA                                  MAR 07, 2022 02:20 PM



NATHANIEL CLARK,                                     )
                                                     )
                  Plaintiff,                         )         CIVIL ACTION FILE NO.:
                                                     )
vs.                                                  )         2021-CV-03928-14
                                                     )
CITY OF FOREST PARK, GA, and                         )
LATRESA AKINS-WELLS, in her                          )
Official and Individual Capacity,                    )         Jury Trial Demanded
                                                     )
                  Defendants.                        )


          ANSWER AND DEFENSES OF DEFENDANT LATRESA AKINS-WELLS
                 TO PLAINTIFF’S FIRST AMENDED COMPLAINT

         COMES NOW LATRESA AKINS-WELLS (hereinafter “this Defendant”), a named

Defendant in the above-styled action, and files and serves this Answer and Defenses to Plaintiff’s

First Amended Complaint, respectfully showing this Court as follows:

                                                 FIRST DEFENSE

         Plaintiff’s First Amended Complaint fails to state or set forth claims against this Defendant

upon which relief can be granted.

                                                 SECOND DEFENSE

         As a Second Defense, this Defendant answers the numbered paragraphs of Plaintiff’s First

Amended Complaint as follows:

                                                    PARTIES

                                                         1.

         The allegations set forth in paragraph 1 regarding O.C.G.A. § 45-1-4 are statements of law

requiring no response from this Defendant. This Defendant responds that she is without sufficient



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knowledge or information to admit or deny the remaining allegations set forth in paragraph 1 and

puts Plaintiff on strict proof of same.

                                                   2.

         This Defendant admits that the City of Forest Park’s principal address is located at 745

Forest Parkway, Forest Park, GA 30297. The remaining allegations set forth in paragraph 2

regarding O.C.G.A. § 45-1-4 are statements of law requiring no response from this Defendant. To

the extent further response is required, this Defendant denies the allegations as stated.

                                                   3.

         This Defendant admits that she serves as an elected member of the City Council of the City

of Forest Park. Defendant also admits that Plaintiff purports to sue this Defendant in her individual

capacity, but she denies any and all liability to Plaintiff.

                                         JURISDICTION AND VENUE

                                                   4.

         The allegation regarding venue and jurisdiction is a statement of law requiring no response

from this Defendant. This Defendant denies any and all liability to Plaintiff in connection with the

acts, events or omissions alleged in Plaintiff’s First Amended Complaint.

                                                   5.

         This Defendant admits that she and the City of Forest Park reside in Clayton County, but

she is without sufficient knowledge or information to admit or deny the remaining allegations.

Defendant denies that she engaged in any unlawful conduct.

                                                   6.

         This Defendant denies the allegations set forth in paragraph 6.




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                                   WAIVER OF SOVERIGN IMMUNITY

                                                  7.

         The allegations set forth in paragraph 7 regarding O.C.G.A. § 45-1-4 are statements of law

requiring no response from this Defendant.

                                                  8.

         This Defendant denies the allegation set forth in paragraph 8. This Defendant denies that

she committed any wrongful acts and she further denies any and all liability to Plaintiff. This

Defendant avers that she is entitled to official immunity for Plaintiff’s claims.

                                                  9.

         The allegations set forth in paragraph 9 regarding the Georgia Constitution art. 1, § 2, ¶

IX(d) and O.C.G.A. § 36-33-4 are statements of law requiring no response from this Defendant.

To the extent further response is required this Defendant denies the allegations set forth in

paragraph 9 as stated.

                                          FACTUAL ALLEGATIONS

                                                  10.

         Defendant avers that Plaintiff was hired as Police Chief on May 15, 2019. Defendant denies

the allegations in paragraph 10 as stated.

                                                  11.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 11 and puts Plaintiff on strict proof of same.

                                                  12.

         This Defendant admits the allegations contained within paragraph 12.




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                                                  13.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 13 and puts Plaintiff on strict proof of same.

                                                  14.

         This Defendant admits the allegations contained within paragraph 14.

                                                  15.

         This Defendant admits that, shortly after Chief Clark was hired, an audit was conducted on

the City of Forest Park Police Department. This Defendant is without sufficient knowledge or

information to admit or deny the remaining allegations set forth in paragraph 15 and puts Plaintiff

on strict proof of same.

                                                  16.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 16 and puts Plaintiff on strict proof of same.

                                                  17.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 17 and puts Plaintiff on strict proof of same.

                                                  18.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 18 and puts Plaintiff on strict proof of same.

                                                  19.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 19 and puts Plaintiff on strict proof of same. In further

response, this Defendant states that the document referenced speaks for itself.



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                                                 20.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 20 and puts Plaintiff on strict proof of same

                                                 21.

         This Defendant admits that the City appointed Plaintiff as Interim City Manager/Police

Chief after City Manager left her employment with the City in January of 2020. This Defendant

denies the remaining allegations set forth in paragraph 21.

                                                 22.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 22 and puts Plaintiff on strict proof of same.

                                                 23.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 23 and puts Plaintiff on strict proof of same.

                                                 24.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 24 and puts Plaintiff on strict proof of same.

                                                 25.

         This Defendant admits the allegations set forth in paragraph 25.

                                                 26.

         This Defendant admits that Plaintiff’s June 30, 2020, annual performance review states that

“Chief Clark identified and addressed an array of structural and systemic issues (i.e. FLSA and

Title VII violations, Enhanced Recruitment and Disparities, CAD/Record Management failures)”

and that “during this appointment the reported crime rate decreased significantly in 2019 (8 year



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low).” This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 26 and puts Plaintiff on strict proof of

same. This Defendant states that the performance review speaks for itself.

                                                 27.

         This Defendant admits that a copy of a document titled “Correspondence from Barker

regarding Chief Clark’s promotion” is attached to the Complaint as Exhibit A. This Defendant

states that Exhibit A speaks for itself. To the extent that any allegations contained in paragraph 27

of Plaintiff’s Complaint are inconsistent with the statements contained therein, those allegations

are denied. This Defendant denies the remaining allegations set forth in paragraph 27.

                                                 28.

         This Defendant denies the allegations set forth in paragraph 28 as stated.

                                                 29.

         This Defendant admits that a copy of a document titled “Public Safety Director/Deputy

City Manager job description” is attached to the Complaint as Exhibit B. To the extent that any

allegations contained in paragraph 29 of Plaintiff’s Complaint are inconsistent with the statements

contained therein, those allegations are denied. This Defendant responds that she is without

sufficient knowledge or information to admit or deny the allegations set forth in paragraph 29 and

puts Plaintiff on strict proof of same.

                                                 30.

         This Defendant denies the allegations set forth in paragraph 30.




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                                                 31.

         This Defendant denies that she harassed or retaliated against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 31 and puts Plaintiff on strict proof of same.

                                                 32.

         This Defendant admits that a copy of a purported email dated September 4, 2020, from

Chief Clark to Albert Barker is attached to the Complaint as Exhibit C. The content of Exhibit C

speaks for itself. To the extent that any allegations contained in paragraph 32 of Plaintiff’s

Complaint are inconsistent with the statements contained therein, those allegations are denied. This

Defendant responds that she is without sufficient knowledge or information to admit or deny the

remaining allegations set forth in paragraph 32 and puts Plaintiff on strict proof of same.

                                                 33.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 33 and puts Plaintiff on strict proof of same.

                                                 34.

         This Defendant admits that a copy of an email dated August 27, 2021, from Chief Clark to

Deputy Finance Director Darquita Williams is attached to the Complaint as Exhibit D. The content

of Exhibit D speaks for itself. To the extent that any allegations contained in paragraph 34 of

Plaintiff’s Complaint are inconsistent with the statements contained therein, those allegations are

denied. This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 34 and puts Plaintiff on strict proof of

same.




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                                                 35.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 35 and puts Plaintiff on strict proof of same.

                                                 36.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 36 and puts Plaintiff on strict proof of same.

                                                 37.

         This Defendant admits that a copy of an email dated October 28, 2020, from Chief Clark

to Albert Barker is attached to the Complaint as Exhibit E. The content of Exhibit E speaks for

itself. To the extent that any allegations contained in paragraph 37 of Plaintiff’s Complaint are

inconsistent with the statements contained therein, those allegations are denied. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 37 and puts Plaintiff on strict proof of same.

                                                 38.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 38 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                 39.

         This Defendant denies that she told Barker to offer Chief Clark a large sum of money to

stop the financial audits. This Defendant responds that she is without sufficient knowledge or

information to admit or deny the remaining allegations set forth in paragraph 39 and puts Plaintiff

on strict proof of same.



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                                                 40.

         This Defendant admits that Barker’s November 2, 2020, performance review noted that

“Chief Clark was appointed Deputy City Manager/Director of Public Safety on July 1, 2020; he

also continues to hold the position of Police Chief; during this appointment the reported crime rate

decreased significantly in 2020 (21-year low), this speaks volume [sic] of Chief Clark’s dedication

in making the community safe for all.” The content of the performance review speaks for itself.

This Defendant responds that she is without sufficient knowledge or information to admit or deny

the remaining allegations set forth in paragraph 40 and puts Plaintiff on strict proof of same.

                                                 41.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 41 and puts Plaintiff on strict proof of

same. The content of the performance review speaks for itself.

                                                 42.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 42 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.

                                                 43.

         This Defendant admits that Chief Clark signed a professional services agreement on

November 4, 2020. The content of the agreement speaks for itself. This Defendant denies the

remaining allegations set forth in paragraph 43.

                                                 44.

         This Defendant denies the allegation set forth in paragraph 44.



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                                                  45.

         This Defendant denies the allegation set forth in paragraph 45.

                                                  46.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 46 and puts Plaintiff on strict proof of same.

                                                  47.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 47 and puts Plaintiff on strict proof of same.

                                                  48.

         This Defendant admits the allegations set forth in paragraph 48.

                                                  49.

         This Defendant admits that Fire Chief Horton was put on administrative leave. This

Defendant is without sufficient knowledge or information to admit or deny the allegations set forth

in paragraph 49 and puts Plaintiff on strict proof of same.

                                                  50.

         This Defendant admits the allegations against Fire Chief Horton were investigated and that

the findings of the investigation were submitted to the Governing Body. This Defendant further

admits that Fire Chief Horton was terminated. This Defendant denies the remaining allegations set

forth in paragraph 50 as stated.

                                                  51.

         This Defendant denies the allegations set forth in paragraph 51. Responding further, this

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.



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                                                  52.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 52 and puts Plaintiff on strict proof of same. This

Defendant denies that she committed any wrongful acts, and she further denies any and all liability

to Plaintiff.

                                                  53.

         This Defendant denies the allegations set forth in paragraph 53. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  54.

         This Defendant denies the allegations set forth in paragraph 54. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  55.

         This Defendant denies the allegations set forth in paragraph 55.

                                                  56.

         This Defendant denies the allegations set forth in paragraph 56. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  57.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 57 and puts Plaintiff on strict proof of same.




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                                                  58.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 58 and puts Plaintiff on strict proof of same.

                                                  59.

         This Defendant denies the allegations set forth in paragraph 59.

                                                  60.

         This Defendant denies the allegations set forth in paragraph 60.

                                                  61.

         This Defendant denies the allegations set forth in paragraph 61.

                                                  62.

         This Defendant denies that Plaintiff was responsible for hiring fire department employees

as Public Safety Director. This Defendant denies the remaining allegations set forth in paragraph

62, as stated.

                                                  63.

         This Defendant denies the allegations set forth in paragraph 63.

                                                  64.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 64 and puts Plaintiff on strict proof of same.

                                                  65.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 65 and puts Plaintiff on strict proof of same.




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                                                  66.

         This Defendant denies the allegations set forth in paragraph 66, as stated. Responding

further, this Defendant denies that she committed any wrongful acts and she further denies any

and all liability to Plaintiff.

                                                  67.

         This Defendant denies the allegations set forth in paragraph 67. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  68.

         This Defendant admits that she sought exit interview information in an effort to find ways

to retain employees in the department. This Defendant denies the remaining allegations set forth

in paragraph 68.

                                                  69.

         This Defendant denies the allegations set forth in paragraph 69.

                                                  70.

         This Defendant admits that she sought exit interview information in an effort to find ways

to retain employees in the department. This Defendant denies the remaining allegations set forth

in paragraph 70. Responding further, this Defendant denies that she committed any wrongful acts

and she further denies any and all liability to Plaintiff.

                                                  71.

         This Defendant admits a criminal investigation was opened regarding allegations against

this Defendant and her husband. This Defendant is without sufficient knowledge or information to

admit or deny the remaining allegations set forth in paragraph 71 and puts Plaintiff on strict proof



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of same. Responding further, this Defendant denies that she committed any criminal or wrongful

acts and she further denies any and all liability to Plaintiff.

                                                  72.

         This Defendant denies receiving confidential information from someone at the police

department regarding the details of the investigation. This Defendant is without sufficient

knowledge or information to admit or deny the remaining allegations set forth in paragraph 72 and

puts Plaintiff on strict proof of same. Responding further, this Defendant denies that she committed

any criminal or wrongful acts and she further denies any and all liability to Plaintiff.

                                                  73.

         This Defendant admits posting a video to Facebook on September 22, 2021. The Defendant

avers that the content of the Facebook video speaks for itself. This Defendant denies the remaining

allegations set forth in paragraph 73. In further response, by way of further answer this Defendant

hereby incorporates by reference, the September 22, 2021, Facebook post attached hereto as

Exhibit 1.

                                                  74.

         This Defendant admits that the Facebook video posted on September 22, 2021, has received

49 comments to date. This Defendant denies making false statements about Plaintiff. This

Defendant is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 74 and puts Plaintiff on strict proof of same. Responding further,

this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.




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                                                      75.

         This Defendant denies the allegations set forth in paragraph 75 as stated. Responding

further, this Defendant denies that she made any false or defamatory statements and she further

denies any and all liability to Plaintiff.

                                                      76.

         This Defendant admits the allegations set forth in paragraph 76. Responding further, this

Defendant denies that she made any false or defamatory statements and she further denies any and

all liability to Plaintiff.

                                                      77.

         This Defendant denies the allegations set forth in paragraph 77. Responding further, this

Defendant denies that she made any false or defamatory statements and she further denies any and

all liability to Plaintiff.

                                                      78.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 78 and puts Plaintiff on strict proof of

same. Responding further, this Defendant denies that she committed any wrongful acts and she

further denies any and all liability to Plaintiff.

                                                      79.

         This Defendant denies the allegations set forth in paragraph 79. Responding further, this

Defendant denies that she made any false or defamatory statements and she further denies any and

all liability to Plaintiff.

                                                      80.

         This Defendant denies the allegations set forth in paragraph 80 as stated.



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                                                  81.

         This Defendant denies receiving any improper information regarding an anonymous email

sent to Cooper on September 12, 2021. This Defendant states that the content of the purported

email speaks for itself. This Defendant is without sufficient knowledge or information to admit or

deny the remaining allegations set forth in paragraph 81 and puts Plaintiff on strict proof of same.

Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.

                                                  82.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 82 and puts Plaintiff on strict proof of same. This

Defendant states that the content of the purported email speaks for itself. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                  83.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 83 and puts Plaintiff on strict proof of same.

Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.

                                                  84.

         This Defendant denies participating in any retaliation against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 84 and puts Plaintiff on strict proof of same. Responding further,




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this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                       85.

         This Defendant denies participating in any retaliation against Plaintiff. This Defendant

responds that she is without sufficient knowledge or information to admit or deny the remaining

allegations set forth in paragraph 85 and puts Plaintiff on strict proof of same. Responding further,

this Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                       86.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the allegations set forth in paragraph 86 and puts Plaintiff on strict proof of same.

Responding further, this Defendant denies that she committed any wrongful acts and she further

denies any and all liability to Plaintiff.

                                                   COUNT I

                    Retaliation Under the Georgia Whistleblower Protection Act

                                            O.C.G.A. § 45-1-4 et seq.

                                      (Defendant City of Forest Park, GA)

                                                       87.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 86 of Plaintiff’s Complaint.

                                                       88.

         The allegations set forth in paragraph 88 are statements of law requiring no response from

this Defendant. To the extent further response is required, this Defendant admits that Plaintiff



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purports to bring an action under the Georgia Whistleblower Act, O.C.G.A. § 45-1-4 (“GWA”),

but this Defendant denies that Defendant violated the GWA. This Defendant denies any and all

liability to Plaintiff.

                                                  89.

         This Defendant admits that Chief Clark signed a professional services agreement on

November 4, 2020. This Defendant states that the content of the agreement speaks for itself. This

Defendant avers that the duties related to Public Safety Director and Chief of Police remained the

same in this agreement. This Defendant denies the remaining allegations set forth in paragraph 89.

                                                  90.

         This Defendant denies the allegations set forth in paragraph 90.

                                                  91.

         This Defendant denies the allegations set forth in paragraph 91.

                                                  92.

         This Defendant denies the allegations set forth in paragraph 92.

                                                  93.

         This Defendant denies the allegations set forth in paragraph 93.



                                                  94.

         This Defendant denies the allegations set forth in paragraph 94.

                                                  95.

         This Defendant denies the allegations set forth in paragraph 95. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.



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                                                    COUNT II

                                Intentional Infliction of Emotional Distress

                                     Under the Common Law of Georgia

                                                 (Defendant Wells)

                                                        96.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 95 of Plaintiff’s Complaint.

                                                        97.

         This Defendant denies the allegations set forth in paragraph 97. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                        98.

         This Defendant denies the allegations set forth in paragraph 98. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.

                                                        99.

         This Defendant denies the allegations set forth in paragraph 99. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.




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                                                   COUNT III

                                                     Slander

                                                 (Defendant Wells)

                                                       100.

         Defendant incorporates herein by reference as if fully set forth herein its responses to

paragraphs 1 through 99 of Plaintiff’s Complaint.

                                                       101.

         This Defendant admits that the Facebook video posted on September 22, 2021. This

Defendant denies making false statements about Plaintiff. Responding further, this Defendant

denies that she committed any wrongful acts and she further denies any and all liability to Plaintiff.

                                                       102.

         This Defendant denies the allegations set forth in paragraph 102. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all

liability to Plaintiff.

                                                       103.

         This Defendant responds that she is without sufficient knowledge or information to admit

or deny the remaining allegations set forth in paragraph 103 and puts Plaintiff on strict proof of

same. Responding further, this Defendant denies that she committed any wrongful acts and she

further denies any and all liability to Plaintiff.

                                                       104.

         This Defendant denies making false statements about Plaintiff. Responding further, this

Defendant denies that she committed any wrongful acts and she further denies any and all liability

to Plaintiff.



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                                                      105.

          This Defendant denies that she made any false, malicious, defamatory statements and she

further denies any and all liability to Plaintiff.

                                                      106.

          This Defendant denies the allegations set forth in paragraph 106. Responding further, this

Defendant denies that Plaintiff is entitled to any recovery. Plaintiff is not entitled to the requested

relief.

                                                      107.

          This Defendant denies the allegations contained in the unnumbered “WHEREFORE”

paragraph, and its subparts, of Plaintiff’s First Amended Complaint. This Defendant further denies

that she is liable to Plaintiff and that Plaintiff is entitled to any relief from this Defendant.

                                                      108.

          All other allegations in Plaintiff’s First Amended Complaint not specifically responded to

are hereby denied.

                                                 THIRD DEFENSE

          This Defendant is entitled to official immunity as to Plaintiff’s state law claims against her

in her individual capacity.

                                                 FOURTH DEFENSE

          To the extent this Defendant published any statement about Plaintiff, any and all such

statements are substantially true and/or privileged.

                                                 FIFTH DEFENSE

          This Defendant asserts that Plaintiff’s alleged damages, if any, were directly and

proximately caused by persons or entities other than Defendant.


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                                                  SIXTH DEFENSE

         The claims and allegations set forth in Plaintiff’s Complaint, even if taken as true, do not

state a claim for relief under O.C.G.A. § 45-1-4. As such, Defendant respectfully submits that this

Court lacks subject matter jurisdiction over Plaintiff’s First Amended Complaint.

                                                 SEVENTH DEFENSE

         Plaintiff cannot recover punitive damages against this Defendant.

                                                 EIGHTH DEFENSE

         Some or all of Plaintiff’s claims are time-barred by the applicable statute of limitations.

                                                  NINTH DEFENSE

         Plaintiff’s claims against this Defendant in her official capacity are barred by sovereign

immunity.

                                                 TENTH DEFENSE

         Plaintiff’s claims against this Defendant in her official capacity are duplicative of

Plaintiff’s claims against Defendant City of Forest Park.

                                            ELEVENTH DEFENSE

         This Defendant asserts each and every defense set forth in O.C.G.A. § 9-11-8 to the extent

applicable.

         WHEREFORE, having answered fully, Defendant LATRESA AKINS-WELLS

respectfully requests that this Court dismiss Plaintiff’s First Amended Complaint and cast all costs

against Plaintiff.

         DEFENDANT DEMANDS A TRIAL BY JURY OF 12 JURORS.

                                             [signatures on next page]




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         Respectfully submitted this 7th day of March, 2022.

                                                 Cruser, Mitchell, Novitz, Sanchez,
                                                 Gaston & Zimet, LLP

                                                 /s/ Karen E. Woodward
                                                 Karen E. Woodward
                                                 Georgia Bar No. 775260
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                                        CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that I have this day electronically filed ANSWER AND

DEFENSES OF DEFENDANT LATRESA AKINS-WELLS TO PLAINTIFF’S FIRST

AMENDED COMPLAINT with the Clerk of Court using the PeachCourt file and serve system

which will automatically serve an electronic copy of same upon the following counsel of record:

                                                  Jackie Lee
                                            LEE LAW FIRM, LLC
                                        1100 Peachtree St., NE, Ste. 250
                                              Atlanta, GA 30309
                                            jackie@leelawga.com
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                                       100 Galleria Parkway, Suite 1600
                                              Atlanta, GA 30339
                                             mhill@fmglaw.com
                                     (Attorney for the City of Forest Park)

         This 7th day of March, 2022.

                                                    Cruser, Mitchell, Novitz, Sanchez,
                                                    Gaston & Zimet, LLP

                                                    /s/ Karen E. Woodward
                                                    Karen E. Woodward
                                                    Georgia Bar No. 775260




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                        EXHIBIT "1"
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                     CLARK V COUNCILWOMAN WELLS



                 September 22, 2021 Facebook Video




                    Janice Baker & Associates
            235 Peachtree Street, North Tower, Ste 400
                     Atlanta, Georgia 30303
                         (404)969-1206




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      Video transcription:                               3

      Certificate:                                      17




                         TRANSCRIPT CODES




      --                     denotes interruption/change in
      thought
      . . .                  denotes   incomplete thought
      [sic]                  denotes   word/phrase written verbatim
      (ph)                   denotes   word spelt phonetically
      (unintelligible)       denotes   word cannot be understood




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  1                       P R O C E E D I N G S

  2                 COUNCILWOMAN WELLS:    Good morning, y’all.

  3                 So look.    This is something that I don’t

  4         normally do.       I don’t do the talking through the

  5         phone stuff, the video stuff.       I don’t do none of

  6         that.

  7                 But it’s 9 o’clock in the morning.     And I’m on

  8         my way to meet with somebody to give me evidence

  9         that the Forest Park Police Department is

 10         investigating me again.       Again.

 11                 I got a call the other day, and they just

 12         called me –- the first call I got, they said:

 13         Please help us.

 14                 This from our police department:     Please help

 15         us.

 16                 And I’m, like, you know, just ever- --

 17         everything is going to get better.        Just give us

 18         time, you know.      I’m sorry y’all having to go

 19         through this.       This is -- I get these calls

 20         constantly.    Constantly; right?

 21                 So nobody knows what I have to deal with as a

 22         councilperson and how it affects me, how it bothers

 23         me, just trying to fight and do the -- the right

 24         thing for my community, and the one that’s doing

 25         the most, getting the most heat, you know.         If I
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  1         wasn’t doing nothing, they wouldn’t bother me.

  2                 So I can take that.    I can accept that.    But

  3         when other people’s hurt it –- hurting, it bothers

  4         me, because we made changes before.

  5                 And first it was:   Why the administration

  6         investigating me?     Now it’s a Black administration

  7         investigating me; our new city manager who has been

  8         there less than a year, Mr. Cooper; our new police

  9         chief who has been there almost three years, if not

 10         three years already, Nathaniel Clark; Angelyne

 11         Butler, who is the current mayor; Kimberly James.

 12                 So it’s not a Black and white thing.      It’s not

 13         a Black and white thing.      Race has absolutely

 14         nothing to do with it, I guess, now, since they

 15         investigating me.

 16                 They say that I got into a fight at a club and

 17         me and my husband sell drugs and we get money from

 18         the people in the club.       I don’t even go to the

 19         club.

 20                 Yeah, I go to JB’s.    That’s the only place in

 21         the city for –- for adults to go and enjoy an adult

 22         night.    So I go when I get ready.     I’m human.     I

 23         can do that.

 24                 It’s not unethical.    It’s not illegal.

 25                 But when people write a letter to the city
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  1         manager who works for us, the mayor and council,

  2         we’re his bosses, so you order the -- the police

  3         chief, Nathaniel Clark, to investigate your boss

  4         illegally, because nobody filed any complaints with

  5         the police department.

  6               There’s no victim.     There’s no nothing.

  7               And I got into a fight.      Who I get into a

  8         fight with?    Who filed the complaint?

  9               Because a letter is not a formal complaint,

 10         Cooper, Dr. Cooper.

 11               So while you, Angelyne Butler, Ellen Miers

 12         (ph.), and y’all, you know -– Kimberly James, y’all

 13         doing everything y’all can to get rid of

 14         Councilwoman Wells.

 15               What have y’all done in this community?

 16               Angelyne Butler, what have you done in this

 17         community?

 18               I’m sick of it.    Sick -- and they want me to

 19         be quiet.    And that’s what they get angry about,

 20         that’s why they frustrated with me because I -– I’m

 21         outspoken and that’s what the people elected me to

 22         do.

 23               So I’m going to speak up.      I’m going to speak

 24         up.

 25               They tried to pass an ordinance on Monday that
                                                                         5
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  1         restricted everything because they trying to get me

  2         caught up.    They want everything that I do –- I

  3         open my door and step on my step, they want it to

  4         be a ethics violation against me.

  5               So they tried to make it happen.       But no

  6         weapon formed shall prosper.       And it didn’t pass.

  7         And they were so upset that they was all looking

  8         crazy and texting each other during the meeting

  9         because they planning to plot against Councilwoman

 10         Wells.

 11               But God, He’s not seeing it.      That’s why God

 12         brought this person to me.

 13               And this guy called me and said:       I want you

 14         to be careful because they are after you.         They are

 15         after you.

 16               We got 50 in- -- investigations on this desk,

 17         50 investigations on this desk, yet they want to

 18         waste the tech –- the ti- -- the -- the city

 19         resources, which is your police department, on

 20         investigating something that’s not even

 21         investigatable –- if that’s a word.

 22               Shouldn’t even be investigated.       It’s nothing

 23         criminal.    You -– you’re investigating behavior?

 24         You can’t get mad if I don’t like somebody, if I

 25         don’t speak to somebody.      That’s me.
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  1                 But to have somebody investigating me for

  2         y’all to come up with these frivolous complaints is

  3         ridiculous.

  4                 Like, we got so much other stuff we can be

  5         focused on.    Like why the mayor been in office for

  6         four years, this fire station supposed to have been

  7         built, the –- the sign been out there two years?

  8         That hasn’t happened.

  9                 We’ve got these Fortune 500 companies, which

 10         she sit on the board, she know about.        But she

 11         haven’t opened those jobs to the citizens of Forest

 12         Park.

 13                 Nobody in For- –- nobody I know got one of

 14         those jobs over at Fort Gillem making 18-, $20 an

 15         hour.    Nobody that I know.     I don’t know if y’all

 16         got somebody over there.

 17                 But that’s the type of stuff we need to be

 18         focused on.    But yet and still they want to keep

 19         focusing on me.

 20                 Because they love what I do; they just hate

 21         the fact that it’s me doing it.       You know, they

 22         just hate the fact that it’s me doing it.

 23                 And it’s embarrassing.    It’s so embarrassing.

 24         Thirteen people out of the City of Forest Park came

 25         out to vote yesterday for the commissioner of
                                                                         7
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  1         Clayton County for the School Board.

  2                 Y’all, we got to really –- y’all got to know

  3         who y’all putting in office.       Y’all got to know

  4         that these people don’t care nothing about y’all.

  5                 Angelyne Butler moved here just to run for

  6         mayor.    Okay?   She moved here just to run for

  7         mayor, because the last one -- the other one needed

  8         to go.    And that was the only person that we had to

  9         go with.

 10                 So we messed up.   Please don’t mess up this

 11         time.

 12                 Kimberly James does absolutely nothing.      This

 13         Mr. Cooper guy came from Florida to investigate

 14         your council people, people that he worked for.

 15                 Because I’m not a –- because I’m not a yo-yo

 16         and they can’t tell me what to do, I don’t work for

 17         y’all.    I work for the people of Forest Park.

 18         That’s who can call me and tell me what to --

 19         that’s who can call me and say:       Councilwoman

 20         Wells, be quiet.

 21                 If you live in Ward 4 and you want me to be

 22         quiet and you want me to stop doing what you

 23         elected me to do, call me.      Call me.    I will do it.

 24                 But don’t –- another elected official that’s

 25         on the same level as me, don’t control me.         And
                                                                         8
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  1         see, that’s what they want.      They want somebody

  2         that they can control.

  3               That’s why they moved my daughter out of HR,

  4         which was a better –- a good move because she

  5         didn’t have to deal with the politics up there.

  6         They did all that because of me.

  7               Now they -– now they harassing my husband on

  8         his job.    They getting rid of people because they

  9         sat on councilwoman’s side at the -– at the council

 10         meeting.

 11               They get this man to write a -– the -- for a

 12         appeal, you know, to voice his opinion.        They

 13         just -- listen, well, his appeal was in writing

 14         so –- what I heard.

 15               You know, but this is the type of stuff that

 16         they do.    This is the type of stuff they focus -–

 17         this is so middle school and high school to me.

 18               But I refuse to be quiet.

 19               So I’m getting ready to go meet this guy, get

 20         the information that he has for me to let me know

 21         that they are investigating me again, and talk to

 22         my attorneys again.

 23               This is what I have to deal with.       Like, don’t

 24         nobody know.    And I tell you, nobody know how I

 25         feel coming from a council meeting, being a voice
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  1         for the people, getting out here trying to do

  2         things to bring my community together.

  3               You never seen nary one of them at the event.

  4         That should tell you something.       It’s a City-

  5         sponsored event.     If it’s about the people, why

  6         aren’t they there?

  7               Because it’s not about you; it’s about me.

  8         Like, they focus- -- they so focused on me.         And

  9         it’s heartbreaking.

 10               Like, there’s no way I should have to wake up

 11         to –- to go meet somebody from our department

 12         that’s scared of losing their job but want to help

 13         me.

 14               I’m tired of it.     Like, I’m so tired of it.

 15         And see, the thing is, they want me to step down.

 16               But you don’t have no reasons.

 17               I have two ethics violations -– well, two

 18         complaints.    One person said I was stalking her.           I

 19         ain’t got time to stalk nobody.

 20               Because our police chief was meeting –- had a

 21         meeting.    You got time to meet with these people

 22         that’s political activists.

 23               But you ain’t got time to come to the meeting

 24         and address the people concerned, or you don’t have

 25         time to explain to us why all of these officers are
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  1         leaving up under your leadership, but you got time

  2         to appoint somebody to investigate me.

  3                 That’s a problem.   Like, that’s a problem.

  4                 And this stuff bothering me so much.      And it

  5         shouldn’t because I’ve been in it for ten years.

  6         But ever since I’ve been in it, I’ve been giving my

  7         all and getting nothing.

  8                 So it ain’t never about me.    It ain’t about no

  9         money, because I don’t get paid enough to deal with

 10         what I have to deal with, you know.

 11                 The same community I’m fighting for, fighting

 12         against me.    And I have to go through this nonsense

 13         stuff.    Nobody know what I have to deal with with

 14         that.    It still –- it affects me.

 15                 It ain’t never about no money.     Never about no

 16         money.    It’s about this community, man.      I do all

 17         this for my community.      You got people that ain’t

 18         even from the community that don’t even know the

 19         community coming in here trying to take me.

 20                 And I’m tired of it.   Like I was just telling

 21         my son, like, ‘Quez, I was so frustrated yesterday,

 22         I was so frustrated because I had just got the

 23         call.    He wanted to come in a joke with me and

 24         stuff.    And I’m just trying to smile.      But deep

 25         down inside, I’m hurting because this job is so
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  1         frustrating.

  2               Like, why y’all keep coming for me?        Why y’all

  3         keep coming for me?     Because I’m fighting for my

  4         community and you don’t like it because you don’t

  5         do nothing?

  6               But I’m not going to be quiet.       So file all

  7         the ethics complaints you want.       You know, I got

  8         into it with –- with a landlord.         They want to file

  9         an ethics complaint.

 10               All of it is political.      They doing everything

 11         in they power to try to get rid of me.

 12               They didn’t put me in office.       The people did.

 13         So y’all want me gone?      I will go.     I will go.

 14               But I don’t deserve to keep going through this

 15         stuff because somebody taking something personal.

 16         That’s on you.

 17               But I ain’t never had a passion for fighting

 18         for people like I do now, because I feel like I

 19         make a difference.     I know I make a difference.

 20         And they know I make a difference.        And that’s why

 21         they hate me.

 22               But I didn’t know people can be that low-down

 23         and dirty to the point where you would just make up

 24         all types of things, come and ask me, the one

 25         person that’s going hard and fighting so hard for
                                                                         12
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  1         the community, come and ask me to step down because

  2         you feel -– because you got issues with yourself?

  3               You know, like, you want to be in power?        Tell

  4         me about the power.     Nobody ain’t got to call me

  5         councilwoman.

  6               No.   I am Shante.    Okay?   I’m Shante.     I’m

  7         going to always be Shante.

  8               A title don’t make me.     And if I step down

  9         today, I’m going to still be out in my community

 10         and still doing what I need to do.

 11               That’s what make y’all mad.      Y’all –- but

 12         y’all hung up on titles.      I don’t care about that.

 13               So, Chief Clark, go back to Arkansas, because

 14         we don’t need these issues in Forest Park.         We got

 15         rid of that.    You know, we got rid of that.

 16               Now you want to try to sue the City because

 17         you’re afraid of your job.      Well, if you did your

 18         job, you wouldn’t have to worry about it.

 19               Butler, if you did your job, you wouldn’t have

 20         to worry about it, you know.

 21               Like, it’s ridiculous.     Like, these people

 22         ganging up on me, little old Shante.        I got that

 23         much power?

 24               Put that energy into something else.        Put that

 25         energy into our community.      I promise you it need
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  1         it.   We need grocery stores.      We need restaurants.

  2         We need boutiques.     We need the Main Street to look

  3         like a Main Street.

  4                 We need something for our kids to do.      We need

  5         jobs for our people.      We need better homes, you

  6         know.    Focus on that.

  7                 Why y’all so hung up on me?    I don’t get it.

  8         I don’t get it.     But I’m tired of it.     I am so

  9         tired of it.

 10                 So I’m going to meet with my attorneys.      And I

 11         got to sue the city that I love and the city that I

 12         grew up in.     I’m doing it because they want to keep

 13         illegally investigating me.

 14                 I ain’t told my mama.   I ain’t told my

 15         brothers.    I ain’t told nobody, nobody, because

 16         I’ve been trying to deal with it by myself.

 17                 But this just is so overwhelming and so

 18         frustrating.    And I’m tired of it.      I’m so tired of

 19         it.     I am tired of it.

 20                 Dr. Lawanda Falomi stand up in the council

 21         meeting and threaten me:      Oh, I’m from the streets,

 22         so I know how -– I -– I’m –- what’d she say?         I’m

 23         stalking her.

 24                 Because somebody sent me a picture of her

 25         meeting with our police chief, a car –- her car and
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  1         another person’s car.      So the other lady said that

  2         I’m stalking them and filed an ethics complaint on

  3         me.

  4               Well, baby, I didn’t even take the picture.

  5         So now what they got the officers doing is focusing

  6         on who sent me that picture instead of focusing on

  7         her threatening me in the council meeting.

  8               You from the street?     What that mean?

  9               Now I’m fearing for my life because I don’t

 10         know what she –- what that meant.       You from the

 11         streets, you know how to deal with it?

 12               But they ain’t did nothing about that, but

 13         they investigating me.

 14               Well, I’m going to go get my evidence.        And

 15         I’m going to meet with my attorney.        And I’m going

 16         to handle it the right way, you know.

 17               So y’all just pray for me, because I’m tired.

 18         Like, this, y’all, is impacting my life.         I’m out

 19         here fighting for the people and then –- and -- and

 20         trying to make everybody else happy and put some

 21         eyes on everybody else and make something happen,

 22         and I’m going to bed at night crying because of

 23         what’s going on with me, what people are trying to

 24         do to me.

 25               You know, I got a family -- I got -- I care
                                                                         15
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  1         for.    But I focus so much on this city and the

  2         people in this city, and then these people don’t

  3         even focus on -– on the things that need to be

  4         focused on.

  5                 Like, you have a councilwoman that cares, that

  6         has your best interest at heart.       But you got these

  7         people that move here because they want power.         And

  8         we give it to them, and then they turn around and

  9         do stuff like this.

 10                 So if you support me, the only thing I ask you

 11         to do is please go November the 2nd to Parks and

 12         Rec and cast your vote and get Kimberly James out

 13         of office, get Angelyne Butler out of office.

 14                 And –- and mayor’s coming up when I come up in

 15         2023.    There has got to be a change.      Like, we done

 16         came too far.    We still got a long way to go, but

 17         they trying to set us ten years back.

 18                 And they hate the fact that I ain’t with them.

 19         They hate the fact that I ain’t with them.

 20                 But I love y’all.   Pray for me.    It is what it

 21         is, I guess.    The fight is on once again.

 22

 23

 24

 25
                                                                         16
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                          C E R T I F I C A T E


            G E O R G I A:

            Rockdale County:



                  I hereby certify that the foregoing transcript

            was stenographically recorded by me, as stated in

            the caption; the colloquies, statements, questions,

            and answers thereto were reduced to typewriting

            under my direction and supervision; and the

            transcript is a true and correct record of the

            video recording given to the best of my ability.

                  I further certify that I am not a relative or

            employee or attorney or counsel of any of the

            parties, nor am I a relative or employee of such

            attorney or counsel, nor am I financially

            interested in the action.

            March 1, 2022.



                                       ____________
                                       __         ____
                                 _________________________________

                                        J. Robin Sawyer

                                   Certified Court Reporter

                                    #4882-9574-0787-9168




                                                                         17
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                                                                                      CLERK OF SUPERIOR COURT
                                                                                      CLAYTON COUNTY, GEORGIA
                                                                                     2021CV03928-14
                     IN THE SUPERIOR COURT OF CLAYTON COUNTY                               Jewel Scott
                                  STATE OF GEORGIA                                     MAR 07, 2022 02:20 PM



NATHANIEL CLARK,                                 )
                                                 )
                Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                 )
vs.                                              )       2021-CV-03928-14
                                                 )
CITY OF FOREST PARK, GA, and                     )
LATRESA AKINS-WELLS, in her                      )
Official and Individual Capacity,                )       Jury Trial Demanded
                                                 )
                Defendants.                      )

      DEFENDANT LATRESA AKINS-WELLS’ MOTION TO DISMISS PLAINTIFF’S
                      FIRST AMENDED COMPLAINT

         COMES NOW Latresa Akins-Wells, a Defendant in the above-styled action, and, pursuant

to O.C.G.A. §§ 9-11-12(b) (6), hereby moves to dismiss Plaintiff’s claims against her. As grounds

for the Motion, Defendant states that Plaintiff has failed to state a claim of slander or intentional

infliction of emotional distress against this Defendant. This Defendant is also entitled to official

immunity and supplemental official immunity as to Plaintiff’s claims. Accordingly, Plaintiff’s

First Amended Complaint against this Defendant should be dismissed, in its entirety, for failure to

state a claim upon which relief can be granted.

         In support of its Motion, this Defendant files concurrently herewith her Brief in Support of

her Motion to Dismiss Plaintiff’s First Amended Complaint.



         Respectfully submitted, this 7th day of March, 2022.



                                  {Signatures on Following Page}




                              {SECURE Firm/1049/00028/DRAFTS/03452428.DOCX }1
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                                            Cruser, Mitchell, Novitz, Sanchez,
                                            Gaston & Zimet, LLP

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served a copy of the within and foregoing

DEFENDANT LATRESA AKINS-WELLS’ MOTION TO DISMISS PLAINTIFF’S FIRST

AMENDED COMPLAINT to all parties in this matter via PeachCourt to counsel of record

addressed as follows:

                                        Jackie Lee
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                            (Attorney for the City of Forest Park)

       This 7th day of March, 2022.

                                                     Cruser, Mitchell, Novitz, Sanchez,
                                                     Gaston & Zimet, LLP

                                                     /s/ Karen E. Woodward
                                                     Karen E. Woodward
                                                     Georgia Bar No. 775260




                          {SECURE Firm/1049/00028/DRAFTS/03452428.DOCX }3
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                                                                                        CLERK OF SUPERIOR COURT
                                                                                        CLAYTON COUNTY, GEORGIA
                                                                                       2021CV03928-14
                     IN THE SUPERIOR COURT OF CLAYTON COUNTY                                 Jewel Scott
                                  STATE OF GEORGIA                                       MAR 07, 2022 02:20 PM



NATHANIEL CLARK,                                 )
                                                 )
                Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                 )
vs.                                              )       2021-CV-03928-14
                                                 )
CITY OF FOREST PARK, GA, and                     )
LATRESA AKINS-WELLS, in her                      )
Individual Capacity,                             )       Jury Trial Demanded
                                                 )
                Defendants.                      )

      BRIEF IN SUPPORT OF DEFENDANT LATRESA AKINS-WELLS’ MOTION TO
                DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

         Pursuant to O.C.G.A. §§ 9-11-12(b)(1) and (6), Defendant Latresa Akins-Wells, a named

Defendant in the above-styled civil action, files this Motion to Dismiss all Plaintiff’s claims against

her. In support of this motion, this Defendant submits this brief in support of her Motion to

Dismiss. For the reasons set forth below, this Defendant respectfully requests this Court to dismiss

Plaintiff’s First Amended Complaint with prejudice pursuant to O.C.G.A. § 9-11-12(b)(6).

         I.     INTRODUCTION

         Plaintiff filed the instant action on action on November 1, 2020, alleging whistleblower

retaliation by co-Defendant City of Forest Park pursuant to the Georgia Whistleblower Act

(“GWA”), O.C.G.A. § 45-1-4, and alleging claims of Intentional Infliction of Emotional Distress

and Slander against Defendant Wells in her individual capacity. Councilwoman Wells served as a

councilwoman for the City of Forest Park at the time of these incidents allegedly occurred. For

the reasons argued below, this Court should grant Defendant Wells’ Motion to Dismiss the

Plaintiff’s First Amended Complaint.




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        II.     STANDARD OF REVIEW

        A motion to dismiss filed pursuant to O.C.G.A. § 9-11-12(b)(6) for failure to state a claim

upon which relief can be granted will be sustained if: (1) the allegations of the complaint disclose

with certainty that the claimant would not be entitled to relief under any state of provable facts

asserted in support thereof; and (2) the movant establishes that the claimant could not possibly

introduce evidence within the framework of the complaint sufficient to warrant a grant of the relief

sought. Racette v. Bank of Am., N.A., 318 Ga. App. 171, 172 (2012); Anderson v. Daniel, 314

Ga. App. 394, 397 (2012). In ruling on a motion to dismiss under O.C.G.A. § 9-11-12(b)(6), a

court must assume the factual allegations of the complaint are true. Charles H. Wesley Educ. Fund.,

Inc. v. State Election Bd., 282 Ga. 707, 714 (2007). Plaintiff’s official capacity claims against

Defendant Wells should be dismissed for failure to state a claim.

        III.    STATEMENT OF THE CASE

        Plaintiff is the current Police Chief and Deputy City Manager/Public Safety Director for

the City of Forest Park. (First Amended Complaint, ¶¶ 1¸ 29). Co-Defendant Latresa Akins- Wells

is a member of the City Council for the City of Forest Park. (Id., ¶ 3, 11). Plaintiff takes umbrage

with a September 22, 2021, Facebook video posted by Councilwoman Wells. (Id., ¶ 73). In this

video, Councilwoman Wells discusses an investigation being conducted by the City of Forest Park

Police Department into allegations against her. (Defendant’s Answer to First Amended Complaint,

Transcript of September 22, 2021, Facebook Video, Exhibit 1, hereinafter “Exhibit 1”, p. 3, ll. 9-

10, p. 4, ll. 16-19, p. 5, ll. 4-6). Councilwoman Wells explained that she believed that the City of

Forest Park Mayor and Council ordered Plaintiff to investigate her illegally and that she feels

that the allegations against her are “investigatable” because they are unfounded and “frivolous”.

(Id., p. 5. ll.1-5, p. 6, ll. 20-21, p. 7, l. 2, p. 14, ll. 11-13). Councilwoman Wells also expressed her



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unhappiness with Plaintiff and City of Forest Park Mayor Angelyne Butler’s job performance. (Id.,

p. 13, ll. 16-19).

         IV.      ARGUMENT AND CITATION TO AUTHORITY

    A.         Plaintiff Fails to State a Slander Claim Against Councilwoman Wells

         A slander claim against a public official requires the plaintiff to show (1) that the

defendant made a false and defamatory statement concerning plaintiff in reference to that

person's trade, office, or profession calculated to injure that person therein; (2) the

defendant made an unprivileged communication of that statement to a third party; (3) fault

by the defendant constituting at least negligence; and (3) either that the plaintiff suffered

special harm or that the statement is actionable even in the absence of special harm.

O.C.G.A. § 51-5-4(1)(3); Wylie v. Denton, 323 Ga. App. 161, 171 (2013) (citing Renton

v. Watson, 319 Ga. App. 896, 900 (2013)).

         Councilmember Wells’ statements were not false, defamatory, or made with the

specific intent to do harm. For a public official or public figure to prevail in a slander action,

the official must establish that the allegedly defamatory statement was false and made with

actual malice. New York Times v. Sullivan, 376 U.S. 254, 279-80 (1964); Murray v.

Williams, 166 Ga. App. 865, 866 (1983). Defamed public officials can only recover upon

a showing of actual malice, that is, proof that the statement was made with knowledge that

it was false or with reckless disregard of whether it was false or not. Sparks v. Peaster, 260

Ga. App. 232, 236 (2003) (citing Williams v. Tr. Co. of Ga., 140 Ga. App. 49, 59–60

(1976)). The standard of proof to make this showing is high. Id. A plaintiff “must show

in a clear and convincing manner that a defendant in fact entertained serious doubts as to

the truth of his statements.” Id., 260 Ga. App. at 237 (quoting Davis v. Shavers, 225 Ga.



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App. 497, 500-501(3) (1997) aff’d 269 Ga. 75 (1998)). A court may not assume knowledge

or falsity of reckless disregard for the truth, nor can it be derived solely from the language

of the publication itself. Jessup v. Rush, 271 Ga. App. 243, 245 (2005). As detailed below,

there is no evidence to support Plaintiff’s slander claim.

        Plaintiff alleges that Councilwoman Wells made several false statements: (1) that

Plaintiff was conducting an “illegal investigation” into her and said investigation was “not

investigatiable”. (First Amended Complaint, ¶ 75). However, Councilwoman Wells’

actually complained that the City of Forest Park was illegally investigating her not Plaintiff.

Indeed, Councilwoman Wells, stated that the City of Forest Park Mayor and Council

ordered Plaintiff to investigate her illegally. (Id., p. 5, ll. 1-5, p. 14, ll. 11-13)(emphasis

added). These statements are not defamatory because they do not concern Plaintiff.

Similarly, allegations that Councilwoman Wells compromised the integrity of an

investigation and that she received information improperly do not amount to slander

because these allegations do not concern Plaintiff. (First Am. Compl, ¶¶ 77, 80). Therefore,

Plaintiff’s contention that these statements were slanderous fail as a matter of law.

   1.      Non-actionable Opinion is not Defamatory

        Councilwoman Wells’ opinions about Clark’s performance of his duties as Police

Chief are mere opinion, not defamatory. Statements that are rhetorical hyperbole, or

expressions of opinion on matters with respect to which reasonable people might have

differing opinions, cannot support a claim for defamation. McCall v. Couture, 293 Ga.

App. 305, 308 (2008). Similarly,“[a] speaker cannot be sued for simply expressing his

opinion of another person, however unreasonable the opinion or vituperous the expressing

of it may be.” Elder v. Cardoso, 205 Ga. App. 144, 145 (1992)(quoting Bergen v.



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Martindale–Hubbell, 176 Ga. App. 745, 747(3)(1985)). Plaintiff claims that

Councilwoman Wells’ statement that Plaintiff “tried to sue the City because he is afraid to

do his job, and if he did his job he wouldn’t have to worry about it” is defamatory. (First

Amended Complaint, ¶¶ 73, 75-76). These statements are pure opinion and express

Councilwoman Wells’ her feelings as to Plaintiff’s job performance. See Chaney v.

Harrison & Lynam, LLC, 308 Ga. App. 808 (2011)(a sign inviting the public to ask the

defendant purchasers’ to give their opinion why not to buy a home from the plaintiff builder

was not defamatory, as it did not connote anything sufficiently factual to be susceptible of

being proved true or false). Therefore, Plaintiff’s slander claim fails as a matter of law.

   B.      Plaintiff’s Intentional Infliction of Emotional Distress Claim Against Wells
           Fails as a Matter of law.

        A claim of intentional infliction of emotional distress (“IIED”) requires a showing

that: (1) the defendant’s conduct was intentional or reckless; (2) the defendant’s conduct

was extreme and outrageous; (3) a causal connection existed between the wrongful conduct

and the emotional distress; and (4) the emotional harm was severe. Abdul-Malik v. AirTran

Airways, Inc., 297 Ga. App. 852, 855–56 (2009). Extreme and outrageous conduct is that

which is “so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.” Abdul-Malik, 297 Ga. App. at 856 (quoting Biven Software v. Newman, 222

Ga. App. 112, 113-114(1) (1996)).

        “[D]erogatory comments in the employment context generally do not fall into this

category of extreme and outrageous conduct… even though (i) given in crude and obscene

language, (ii) done with a smirk, (iii) conducted in a belittling, rude, and condescending

manner to embarrass and humiliate the employee, (iv) given at a poor time, (v) tinged with

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the intent to retaliate for former conflicts, and (vi) constituting a false accusation of

dishonesty or lack of integrity.” Jarrard v. United Parcel Serv., Inc., 242 Ga. App. 58, 59-

62 (2000). See also, Harris v. Pierce Cnty., No. CV 513–82, 2014 WL 3974668, at *18

(S.D. Ga. Aug. 14, 2014) (statements regarding plaintiff’s job performance made to the

public and to newspapers not extreme and outrageous). Councilwoman Wells’ expressed

her opinion with Chief Clark’s job performance, merely stating that he was “afraid of his

job” and that “if he did his job he wouldn’t have to worry about it.” These opinions clearly

do not rise to the level of extreme or outrageous conduct that would support his claim for

IIED. Likewise, Councilwoman Wells’ opinion that the city directed Chief Clark to

conduct an illegal investigation into her is neither extreme or outrageous. Therefore,

Plaintiff’s intentional infliction of emotional distress claim fails as a matter of law.

   C.      Councilwoman Wells is Entitled to Official Immunity

        Councilwoman Wells is entitled to official immunity for any statements made while

she was acting within the scope of her duties. Smith v. Lott, 317 Ga. App. 37, 38 (2012).

In Georgia, a municipal official acting within the scope of her discretionary authority is

entitled to “official immunity” from state law claims against her in her official capacity.

Outlaw v. Nasworthy, 250 Ga. App. 362, 365 (2001). Immunity applies unless the official

acted “with actual malice or with actual intent to cause injury.” Todd v. Kelly, 244 Ga.

App. 404, 406 (2000). “Actual malice denotes ‘express malice or malice in fact.’” Id.

(citing Merrow v. Hawkins, 266 Ga. 390, 392 (1996)). In other words, this standard

requires a “deliberate intention to do wrong.” Merrow, 266 Ga. at 392. Plaintiff cannot

show that Councilwoman Wells’ statements of opinion were made with the deliberate

intent to do wrong. Therefore, Councilwoman Wells’ is entitled to official immunity as to



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Plaintiff’s claims.

    D.        Councilwoman Wells is Entitled Supplemental Immunity under O.C.G.A.
              § 51-1-20(a)

         Finally, Councilmember Wells is entitled to immunity under O.C.G.A. § 51-1-

20(a). Unlike official immunity, O.C.G.A. § 51-1-20 immunity “applies regardless of

whether the nature of the person’s actions was ministerial or discretionary.” Atlanta

Airmotive v. Royal, 214 Ga. App. 760, 761 (1994). Councilmember Wells is an elected

official “serving with or without compensation as a member…of [a] local

governmental…board” when these false statements were allegedly made. O.C.G.A. § 51-

1-20(a). Therefore, Councilmember Wells cannot be held personally liable. Dyches v.

McCorkle, 212 Ga. App. 209, 215-17(1994).

         V.      CONCLUSION

         For the foregoing reasons, Defendant Wells respectfully requests that this Court

enter an order dismissing Plaintiff’s First Amended Complaint.

         This __ day of March, 2022.

                                                Cruser, Mitchell, Novitz, Sanchez,
                                                Gaston & Zimet, LLP

                                                /s/ Karen E. Woodward
                                                Karen E. Woodward
                                                Georgia Bar No. 775260
                                                Email: kwoodward@cmlawfirm.com
                                                Direct Dial: 404-881-2623

                                                /s/ Marisa M. Beller
                                                Marisa M. Beller
                                                Georgia Bar No. 845893
                                                Email: mbeller@cmlawfirm.com
                                                Direct Dial: 678-684-2147

                                                Attorneys for Defendant
                                                Latresa Akins-Wells

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Meridian II, Suite 2000
275 Scientific Drive
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served a copy of the within and foregoing

BRIEF IN SUPPORT OF DEFENDANT LATRESA AKINS-WELLS’ MOTION TO

DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT to all parties in this matter via

PeachCourt to counsel of record addressed as follows:

                                         Jackie Lee
                                   LEE LAW FIRM, LLC
                               1100 Peachtree St., NE, Ste. 250
                                     Atlanta, GA 30309
                                   jackie@leelawga.com
                                   (Attorney for Plaintiff)

                                        Michael M. Hill
                             FREEMAN MATHIS & GARY, LLP
                               100 Galleria Parkway, Suite 1600
                                      Atlanta, GA 30339
                                     mhill@fmglaw.com
                             (Attorney for the City of Forest Park)

       This 7th day of March, 2022.

                                                      Cruser, Mitchell, Novitz, Sanchez,
                                                      Gaston & Zimet, LLP

                                                      /s/ Karen E. Woodward
                                                      Karen E. Woodward
                                                      Georgia Bar No. 775260




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                                                                                      CLERK OF SUPERIOR COURT
                                                                                      CLAYTON COUNTY, GEORGIA
                                                                                     2021CV03928-14
                       IN THE SUPERIOR COURT OF CLAYTON COUNTY                             Jewel Scott
                                    STATE OF GEORGIA                                   MAR 09, 2022 11:38 AM



NATHANIEL CLARK,                                   )
                                                   )
                  Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                   )
vs.                                                )       2021-CV-03928-14
                                                   )
CITY OF FOREST PARK, GA, and                       )
LATRESA AKINS-WELLS, in her                        )
Individual Capacity,                               )       Jury Trial Demanded
                                                   )
                  Defendants.                      )

                               NOTICE OF ENTRY OF APPEARANCE

         COME NOW MARISA M. BELLER and KAREN E. WOODWARD of the law firm of

CRUSER, MITCHELL, NOVITZ, SANCHEZ, GASTON & ZIMET, LLP and hereby enter an

appearance as additional counsel for Defendant Latresa Akins-Wells, in her individual capacity.

The undersigned request that they be copied on all court filings, notices, orders, etc. regarding the

above-styled action. All pleadings, notices, orders and other documents required to be served shall

be directed to:

                                  Marisa M. Beller.
                                 Karen E. Woodward
              CRUSER, MITCHELL, NOVITZ, SANCHEZ, GASTON & ZIMET, LLP
                                Meridian II, Suite 2000
                                 275 Scientific Drive
                            Peachtree Corners, GA 30092
                              mbeller@cmlawfirm.com
                             kwoodward@cmlawfirm.com


                                [SIGNATURE ON FOLLOWING PAGE]


         Respectfully submitted, this 9th day of March, 2022.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have electronically filed this NOTICE OF ENTRY OF

APPEARANCE with the Clerk of Court via the PeachCourt file and serve system which will

automatically serve a copy of same upon the following counsel of record:


                                         Jackie Lee
                                   LEE LAW FIRM, LLC
                               1100 Peachtree St., NE, Ste. 250
                                     Atlanta, GA 30309
                                   jackie@leelawga.com
                                   (Attorney for Plaintiff)

                                        Michael M. Hill
                             FREEMAN MATHIS & GARY, LLP
                               100 Galleria Parkway, Suite 1600
                                      Atlanta, GA 30339
                                     mhill@fmglaw.com
                             (Attorney for the City of Forest Park)


       This 9th day of March, 2022.

                                                      CRUSER, MITCHELL, NOVITZ,
                                                      SANCHEZ, GASTON & ZIMET, LLP

                                                      /s/ Marisa M. Beller
                                                      Marisa M. Beller
                                                      Georgia Bar No. 845893




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                                                                                          CLERK OF SUPERIOR COURT
                                                                                          CLAYTON COUNTY, GEORGIA
                                                                                         2021CV03928-14
                        IN THE SUPERIOR COURT OF CLAYTON COUNTY                                Jewel Scott
                                    STATE OF GEORGIA                                       MAR 09, 2022 02:38 PM


 NATHANIEL CLARK,                                   )
                                                    )
           Plaintiff,                               )     Civil Action
                                                    )     No. 2021CV03928-09
 v.                                                 )
                                                    )
 CITY OF FOREST PARK, GA and                        )
 LATRESA AKINS-WELLS, in her                        )
 individual capacity,                               )
                                                    )
           Defendants.                              )

                     CITY OF FOREST PARK, GEORGIA’S ANSWER
              AND DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT

           COMES NOW the City of Forest Park, Georgia (the “City”), pursuant to O.C.G.A. §§ 9-

11-8 and 9-11-12, and hereby files this Answer and Defenses to Plaintiff’s First Amended

Complaint, and by way of said Answer respectfully shows the following:

                                           FIRST DEFENSE

           The First Amended Complaint (“Amended Complaint”) fails, in whole or in part, to state

a claim upon which relief can be granted.

                                          SECOND DEFENSE

           Some or all of Plaintiff’s claims are barred by the applicable statute of limitations,

including the failure to file the instant lawsuit within the time-period required by the applicable

statute.

                                           THIRD DEFENSE

           All actions taken with respect to the Plaintiff were for legitimate, non-retaliatory reasons.

                                          FOURTH DEFENSE

           The legitimate, non-retaliatory reasons for any adverse action taken with respect to the


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Plaintiff were not pretexts for unlawful retaliation.

                                           FIFTH DEFENSE

          Even if any adverse actions were taken against the Plaintiff for reasons related to Plaintiff’s

protected class status, protected activity, or any exercise by Plaintiff of protected rights, Plaintiff

would have been subject to adverse employment actions or otherwise for reasons unrelated to any

protected class status or activities, including after-acquired evidence.

                                           SIXTH DEFENSE

          Any adverse action taken against Plaintiff was done so in good faith without malice or

reckless indifference to Plaintiff’s protected rights.

                                        SEVENTH DEFENSE

          Plaintiff did not make any disclosure or engage in any other activity protected under the

Georgia Whistleblower Act (“GWA”), O.C.G.A. § 45-1-4.

                                         EIGHTH DEFENSE

          Plaintiff has no actual or reasonable belief that he complained of or reported the possible

existence of any activity constituting fraud, waste, or abuse in or relating to any state programs or

operations under the jurisdiction of the City.

                                          NINTH DEFENSE

          Plaintiff has no actual or reasonable belief that he complained of, disclosed, objected to, or

refused to participate in any violation of any law, rule, or regulation, as defined by O.C.G.A. § 45-

1-4(d).

                                          TENTH DEFENSE

          The City has not made, adopted or enforced a policy or practice of preventing disclosure

of or noncompliance with any law, rule, or regulation.



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                                       ELEVENTH DEFENSE

           Any complaint made by Plaintiff was made knowing it was false or with reckless disregard

for its truth or falsity.

                                        TWELFTH DEFENSE

           No act or omission of the City either proximately caused or contributed to any injuries or

damages allegedly incurred by Plaintiff. Therefore, Plaintiff has no right of recovery against the

City.

                                      THIRTEENTH DEFENSE

           Some or all of Plaintiff’s claims under the GWA fail because Plaintiff did not experience

a tangible adverse employment action.

                                     FOURTEENTH DEFENSE

           Plaintiff’s damages are limited to those remedies and those amounts provided for by

statute.

                                       FIFTEENTH DEFENSE

           Plaintiff has failed to mitigate damages as required by law.

                                       SIXTEENTH DEFENSE

           Plaintiff’s Amended Complaint fails to state a claim for punitive, actual, special,

exemplary, and/or compensatory damages.

                                     SEVENTEENTH DEFENSE

           Plaintiff’s Amended Complaint fails to state a claim for punitive damages. The City is

immune from liability for punitive damages, and punitive damages are the responsibility of none

other than the active tortfeasor.




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                                  EIGTHTEENTH DEFENSE

       Some or all of Plaintiff’s claims are barred by the doctrine of fraud.

                                   NINETEENTH DEFENSE

       Plaintiff has unclean hands.

                                    TWENTIETH DEFENSE

       The GWA does not support a claim for retaliatory hostile work environment.

                                  TWENTY-FIRST DEFENSE

       Even if Plaintiff was subject to unlawful conduct based on Plaintiff’s protected class status,

protected activity, or any exercise by Plaintiff of protected rights, the City exercised reasonable

care to prevent and correct the actions which support Plaintiff’s claim and Plaintiff unreasonably

failed to avail himself of preventive or corrective opportunities or to avoid harm otherwise.

                                TWENTY-SECOND DEFENSE

       Plaintiff has not been subjected to retaliatory harassment and Plaintiff’s Amended

Complaint does not allege, nor has Plaintiff experienced, retaliatory conduct sufficiently severe or

pervasive to constitute conduct for which there is a legal remedy.

                                  TWENTY-THIRD DEFENSE

       The City is not liable for the individual acts of Defendant Latresa Akins-Wells.

                                TWENTY-FOURTH DEFENSE

       Plaintiff’s claims may be subject to apportionment including pursuant to O.C.G.A § 51-

12-33 and otherwise.

                                  TWENTY-FIFTH DEFENSE

       The City reserves the right to plead and prove such other defenses as may become known

during the course of its investigation.



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                                  TWENTY-SIXTH DEFENSE

       For answers to the respective paragraphs of the Amended Complaint, the City shows as

follows:

                                             PARTIES

                                                 1.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City admits Plaintiff was hired as Police

Chief on May 14, 2019. The City denies the remaining allegations pled in Paragraph 1 of the

Amended Complaint.

                                                 2.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City admits its principal address is

located at 745 Forest Parkway, Forest Park, GA 30297. The City denies the remaining allegations

pled in Paragraph 2 of the Amended Complaint.

                                                 3.

       The City admits the allegations pled in Paragraph 3 of the Amended Complaint.

                                 JURISDICTION AND VENUE

                                                 4.

       The City admits the allegations pled in Paragraph 4 of the Amended Complaint.

                                                 5.

       The City admits that Councilwoman Latresa Akins-Wells (“Defendant Wells”) and the

City reside in Clayton County. The City denies the remaining allegations pled in Paragraph 5 of

the Amended Complaint



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                                                 6.

       The City denies the allegations pled in Paragraph 6 of the Amended Complaint.

                           WAIVER OF SOVEREIGN IMMUNITY

                                                 7.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City shows that the referenced code

section and Georgia case law speak for themselves. The City denies the remaining allegations pled

in Paragraph 7 of the Amended Complaint.

                                                 8.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City shows that the referenced Georgia

case law regarding official immunity speaks for itself. The City denies the remaining allegations

pled in Paragraph 8 of the Amended Complaint.

                                                 9.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City shows that the referenced law,

O.C.G.A. § 36-33-4 and Ga. Const. Art. 1, § 2, ¶ IX(d), speak for themselves. The City denies the

remaining allegations pled in Paragraph 9 of the Amended Complaint.

                                  FACTUAL ALLEGATIONS

                                                10.

       The City admits Plaintiff was hired as Police Chief on May 14, 2019. The City is without

knowledge or information sufficient to admit or deny the truth of the allegation that Plaintiff is a

“permanent Black individual.” The City denies the remaining allegations pled in Paragraph 10 of



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the Amended Complaint.

                                              11.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 11 of the Amended Complaint.

                                              12.

       The City admits the allegations pled in Paragraph 12 of the Amended Complaint.

                                              13.

       The City admits the allegations pled in Paragraph 13 of the Amended Complaint.

                                              14.

       The City admits the allegations pled in Paragraph 14 of the Amended Complaint.

                                              15.

       The City admits that an audit was conducted on the Police Department after Plaintiff

became Chief of Police. The City is without knowledge or information sufficient to admit or deny

the truth of the remaining allegations pled in Paragraph 15 of the Amended Complaint.

                                              16.

       The City denies the allegations pled in Paragraph 16 of the Amended Complaint.

                                              17.

       The City admits that some individuals in the Police Department were terminated after an

audit of the Police Department was conducted. The City is without knowledge or information

sufficient to admit or deny the truth of the remaining allegations plead in Paragraph 17 of the

Amended Complaint.

                                              18.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 18 of the Amended Complaint.

                                               19.

       The City shows that the allegations pled in Paragraph 19 of the Amended Complaint refer

to an online document, the content of which speaks for itself. The City is without knowledge or

information sufficient to admit or deny the truth of the remaining allegations pled in Paragraph 19

of the Amended Complaint.

                                                20.

       The City denies the allegations pled in Paragraph 20 of the Amended Complaint.

                                                21.

       The City admits that City Manager Angela Redding left employment with the City in

January 2020 and the City appointed Plaintiff as Interim City Manager/Police Chief. The City

denies the remaining allegations pled in Paragraph 21 of the Amended Complaint.

                                                22.

       The City admits the allegations pled in Paragraph 22 of the Amended Complaint.

                                                23.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 23 of the Amended Complaint.

                                                24.

       The City admits Plaintiff recommended that a financial audit be conducted regarding

SPLOST expenditures and that the City regularly conducts audits. The City denies the remaining

allegations pled in Paragraph 24 of the Amended Complaint.

                                                25.

       The City admits the allegations pled in Paragraph 25 of the Amended Complaint.



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                                                26.

       The City shows that the allegations pled in Paragraph 26 of the Amended Complaint refer

to an external document, the content of which speaks for itself. The City admits Plaintiff received

a performance review on June 30, 2020 from City Manager Barker. The City denies the remaining

allegations pled in Paragraph 26 of the Amended Complaint.

                                                27.

       The City shows that the allegations pled in Paragraph 27 of the Amended Complaint refer

to a document attached to the Amended Complaint as Exhibit A, the content of which speaks for

itself. The City denies the remaining allegations pled in Paragraph 27 of the Amended Complaint.

                                                28.

       The City admits creating the position of Deputy City Manager/Public Safety Director. The

City denies the remaining allegations pled in Paragraph 28 of the Amended Complaint.

                                                29.

       The City shows that the allegations pled in Paragraph 29 of the Amended Complaint refer

to a document attached to the Amended Complaint as Exhibit B, the content of which speaks for

itself. The City denies the remaining allegations pled in Paragraph 29 of the Amended Complaint.

                                                 30.

       The City denies the allegations pled in Paragraph 30 of the Amended Complaint.

                                                 31.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements to Plaintiff alleged in Paragraph 31 of the

Amended Complaint. The City denies the remaining allegations pled in Paragraph 31 of the

Amended Complaint.



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                                                 32.

       The City shows that the allegations pled in Paragraph 32 of the Amended Complaint refer

to a document attached to the Amended Complaint as Exhibit C, the content of which speaks for

itself. The City is without knowledge or information sufficient to admit or deny the truth of the

remaining allegations pled in Paragraph 32 of the Amended Complaint.

                                                33.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 33 of the Amended Complaint.

                                                34.

       The City shows that the allegations pled in Paragraph 34 of the Amended Complaint refer

to a document attached to the Amended Complaint as Exhibit D, the content of which speaks for

itself. The City admits it regularly conducts audits. The City is without knowledge or information

sufficient to admit or deny the truth of the remaining allegations pled in Paragraph 34 of the

Amended Complaint.

                                                35.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 35 of the Amended Complaint.

                                                36.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 36 of the Amended Complaint.

                                                37.

       The City shows that the allegations pled in Paragraph 37 of the Amended Complaint refer

to a document attached to the Amended Complaint as Exhibit E, the content of which speaks for



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itself. The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 37 of the Amended Complaint.

                                                 38.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements alleged in Paragraph 38 of the Amended

Complaint to Plaintiff. The City denies the remaining allegations pled in Paragraph 38 of the

Amended Complaint.

                                                 39.

       The City is without knowledge or information sufficient to admit or deny the truth of

whether City Manager Barker made the statements alleged in Paragraph 39 of the Amended

Complaint to Plaintiff and “others.” The City denies the remaining allegations pled in Paragraph

39 of the Amended Complaint.

                                                 40.

       The City shows that the allegations pled in Paragraph 40 of the Amended Complaint refer

to an external document, the content of which speaks for itself. The City admits Plaintiff received

a performance review from City Manager Barker on November 2, 2020. The City denies the

remaining allegations pled in Paragraph 40 of the Amended Complaint.

                                                 41.

       The City shows that the allegations pled in Paragraph 41 of the Amended Complaint refer

to an external document, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 41 of the Amended Complaint.

                                                 42.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 42 of the Amended Complaint.

                                                43.

       The City admits Plaintiff entered into a new employment contract with the City on

November 4, 2020 and shows that the content of this employment contract speaks for itself. The

City denies the remaining allegations pled in Paragraph 43 of the Amended Complaint.

                                                44.

       The City denies the allegations pled in Paragraph 44 of the Amended Complaint.

                                                45.

       The City denies the allegations pled in Paragraph 45 of the Amended Complaint.

                                                46.

       The City admits that Ken Thompson resigned from his position as Finance Director. The

City is without knowledge or information sufficient to admit or deny the truth of the remaining

allegations pled in Paragraph 46 of the Amended Complaint.

                                                47.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 47 of the Amended Complaint.

                                                48.

       The City admits that Human Resources Director Shalonda Brown made a complaint of

unprofessional sexual conduct against Fire Chief Don Horton while Plaintiff was Public Safety

Director. The City denies the remaining allegations pled in Paragraph 48 of the Amended

Complaint.

                                                49.

       The City admits Fire Chief Don Horton was put on administrative leave due to sexual



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harassment allegations against him. The City is without knowledge or information sufficient to

admit or deny the truth of the remaining allegations pled in Paragraph 49 of the Amended

Complaint.

                                                50.

       The City admits that an investigation was conducted into the sexual harassment allegations

against Fire Chief Horton, that the investigation determined that Fire Chief Horton violated City

policy, and that the Governing Body terminated Fire Chief Horton after receiving the findings of

the investigation. The City denies the remaining allegations pled in Paragraph 50 of the Amended

Complaint.

                                                51.

       The City denies the allegations pled in Paragraph 51 of the Amended Complaint.

                                                52.

       The City admits that Plaintiff was present at Fire Chief Horton’s appeal hearing. The City

denies the remaining allegations pled in Paragraph 52 of the Amended Complaint.

                                                53.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 53 of the Amended Complaint.

                                                54.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 54 of the Amended Complaint.

                                                55.

       The City denies the allegations pled in Paragraph 55 of the Amended Complaint.




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                                                56.

       The City denies the allegations pled in Paragraph 56 of the Amended Complaint.

                                                57.

       The City admits Plaintiff had a meeting with City Manager Marc-Antonie Cooper on May

28, 2021. The City denies the remaining allegations pled in Paragraph 57 of the Amended

Complaint.

                                                58.

       The City admits that the City investigated an allegation of improper surveillance and

determined the allegations to be unfounded. The City denies the remaining allegations pled in

Paragraph 58 of the Amended Complaint.

                                                59.

       The City denies the allegations pled in Paragraph 59 of the Amended Complaint.

                                                60.

       The City denies the allegations pled in Paragraph 60 of the Amended Complaint.

                                                61.

       The City denies the allegations pled in Paragraph 61 of the Amended Complaint.

                                                62.

       The City admits the City Manager hired the City’s Fire Chief. The City denies the

remaining allegations pled in Paragraph 62 of the Amended Complaint.

                                                63.

       The City denies the allegations pled in Paragraph 63 of the Amended Complaint.

                                                64.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 64 of the Amended Complaint.

                                                65.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 65 of the Amended Complaint.

                                                66.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 66 of the Amended Complaint.

                                                67.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 67 of the Amended Complaint.

                                                68.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 68 of the Amended Complaint.

                                                69.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 69 of the Amended Complaint.

                                                70.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 70 of the Amended Complaint.

                                                71.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 71 of the Amended Complaint.




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                                                72.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 72 of the Amended Complaint.

                                                73.

       The City shows that the allegations pled in Paragraph 73 of the Amended Complaint refer

to an online video posting, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 73 of the Amended Complaint.

                                                74.

       The City shows that the allegations pled in Paragraph 74 of the Amended Complaint refer

to an online video posting, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 74 of the Amended Complaint.

                                                75.

       The City shows that the allegations pled in Paragraph 75 of the Amended Complaint refer

to an online video posting, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 75 of the Amended Complaint.

                                                76.

       The City shows that the allegations pled in Paragraph 76 of the Amended Complaint refer

to an online video posting, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 76 of the Amended Complaint.

                                                77.

       The City denies the allegations pled in Paragraph 77 of the Amended Complaint.

                                                78.

       The City denies the allegations pled in Paragraph 78 of the Amended Complaint.



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                                                79.

       The City denies the allegations pled in Paragraph 79 of the Amended Complaint.

                                                80.

       The City admits that Councilwoman Kimberly James filed an ethics complaint against

Councilwoman Wells. The City further shows that the remaining allegations pled in Paragraph 80

of the Amended Complaint refer to an external document, the content of which speaks for itself.

The City denies any remaining allegations pled in Paragraph 80 of the Amended Complaint.

                                                81.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 81 of the Amended Complaint.

                                                82.

       The City shows that the allegations pled in Paragraph 82 of the Amended Complaint refer

to an external document, the content of which speaks for itself. The City denies the remaining

allegations pled in Paragraph 82 of the Amended Complaint.

                                                83.

       The City is without knowledge or information sufficient to admit or deny the truth of the

allegations pled in Paragraph 83 of the Amended Complaint.

                                                84.

       The City denies the allegations pled in Paragraph 84 of the Amended Complaint.

                                                85.

       The City is denies the allegations pled in Paragraph 85 of the Amended Complaint.

                                                86.

       The City is without knowledge or information sufficient to admit or deny the truth of the



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allegations pled in Paragraph 86 of the Amended Complaint.

                               COUNT I:
                        RETALIATION UNDER THE
             GEORGIA WHISTLEBLOWER ACT, O.C.G.A. § 45-1-4, et seq.
                               (The City)

                                                87.

       The City incorporates by reference its responses to Paragraphs 1 through 86 of the

Amended Complaint as though set forth specifically herein.

                                                88.

       The City shows that this paragraph contains a legal conclusion to which no response is

required; however, to the extent a response is required, the City shows that the referenced code

section, O.C.G.A. § 45-1-4, speaks for itself. The City denies the remaining allegations pled in

Paragraph 88 of the Amended Complaint.

                                                89.

       The City admits Plaintiff entered into a new employment contract with the City on

November 4, 2020 and shows that the content of this employment contract speaks for itself. The

City denies the remaining allegations pled in Paragraph 89 of the Amended Complaint.

                                                90.

       The City denies the allegations pled in Paragraph 90 of the Amended Complaint.

                                                91.

       The City denies the allegations pled in Paragraph 91 of the Amended Complaint.

                                                92.

       The City denies the allegations pled in Paragraph 92 of the Amended Complaint.

                                                93.

       The City denies the allegations pled in Paragraph 93 of the Amended Complaint.

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                                               94.

       The City denies the allegations pled in Paragraph 94 of the Amended Complaint.

                                               95.

       The City denies the allegations pled in Paragraph 95 of the Amended Complaint.

                                 COUNT II:
              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                   UNDER THE COMMON LAW OF GEORGIA
                              (Defendant Wells)

                                               96.

       The City incorporates by reference its responses to Paragraphs 1 through 95 of the

Amended Complaint as though set forth specifically herein.

                                               97.

       The City shows that the allegations pled in Paragraph 97 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 97 of the Amended Complaint.

                                               98.

       The City shows that the allegations pled in Paragraph 98 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 98 of the Amended Complaint.

                                               99.

       The City shows that the allegations pled in Paragraph 99 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 99 of the Amended Complaint.




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                                        COUNT III:
                                         SLANDER
                                      (Defendant Wells)

                                               100.

       The City incorporates by reference its responses to Paragraphs 1 through 99 of the

Amended Complaint as though set forth specifically herein.

                                               101.

       The City shows that the allegations pled in Paragraph 101 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 101 of the Amended Complaint.

                                               102.

       The City shows that the allegations pled in Paragraph 102 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 102 of the Amended Complaint.

                                               103.

       The City shows that the allegations pled in Paragraph 103 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 103 of the Amended Complaint.

                                               104.

       The City shows that the allegations pled in Paragraph 104 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 104 of the Amended Complaint.

                                               105.

       The City shows that the allegations pled in Paragraph 105 of the Amended Complaint are



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not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 105 of the Amended Complaint.

                                                   106.

          The City shows that the allegations pled in Paragraph 106 of the Amended Complaint are

not directed to the City and need no answer, but to the extent they require an answer, the City

denies the allegations pled in Paragraph 106 of the Amended Complaint.

                                                   107.

          The City denies Plaintiff is entitled to any of the relief set forth in the requests in the

unnumbered “WHEREFORE” paragraph immediately following Paragraph 106 of the Amended

Complaint, including the relief sought in subsections (a) through (h), and denies that Plaintiff is

entitled to any relief whatsoever under any theory at law or in equity. The City denies the remaining

allegations pled in this unnumbered paragraph of the Amended Complaint.

                                                   108.

          Any allegations in the Amended Complaint not heretofore answered, qualified, or denied

are here and now denied as though set forth specifically and denied.

          WHEREFORE, The City in the above-referenced civil action respectfully requests that

this Court:

          1.     Dismiss with prejudice Plaintiff’s Amended Complaint;

          2.     Enter judgment in favor of the City and against Plaintiff;

          3.     Award the City its reasonable attorney’s fees, costs, and expenses pursuant to

applicable law; and

          4.     Award any and all other relief to the City that this Court may deem necessary and

proper.



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   This 9th day of March, 2022.

                                  Respectfully submitted,

                                  FREEMAN MATHIS & GARY, LLP


                                  /s/ Michael M. Hill
                                  Michael M. Hill
                                  Georgia Bar No. 770486
                                  Shaheem M. Williams
                                  Georgia Bar No. 666654
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                                  Counsel for City of Forest Park, GA




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                      IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
         Plaintiff,                              )       Civil Action
                                                 )       No. 2021CV03928-09
 v.                                              )
                                                 )
 CITY OF FOREST PARK, GA and                     )
 LATRESA AKINS-WELLS, in her                     )
 individual capacity,                            )
                                                 )
         Defendants.                             )

                                  CERTIFICATE OF SERVICE

         I certify that on this day I served the foregoing CITY OF FOREST PARK, GEORGIA’S

ANSWER AND DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT by

electronically filing the same with the Clerk of Court using the Peach Court e-filing system, which

will automatically send email notification of such filing to all counsel of record, and via email

pursuant to agreement of the parties to all counsel of record as follows:

                                             Jackie Lee
                                      LEE LAW FIRM, LLC
                                1100 Peachtree Street NE, Suite 250
                                      Atlanta, Georgia 30309
                                       jackie@leelawga.com

                                         Karen E. Woodward
                                          Marisa M. Beller
                       Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
                                         275 Scientific Drive
                                        Meridian II, Suite 2000
                                  Peachtree Corners, Georgia 30092
                       kwoodward@cmlawfirm.com; mbeller@cmlawfirm.com

         This 9th day of March, 2022.

                                               /s/ Michael M. Hill
                                               Michael M. Hill
                                               Georgia Bar No. 770486

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                                                                                                  CLERK OF SUPERIOR COURT
                                                                                                  CLAYTON COUNTY, GEORGIA
                                                                                                 2021CV03928-14
                         IN THE SUPERIOR COURT OF CLAYTON COUNTY                                       Jewel Scott
                                     STATE OF GEORGIA                                              MAR 09, 2022 02:35 PM


    NATHANIEL CLARK,                                   )
                                                       )
            Plaintiff,                                 )      Civil Action
                                                       )      No. 2021CV03928-09
    v.                                                 )
                                                       )
    CITY OF FOREST PARK, GA and                        )
    LATRESA AKINS-WELLS, in her                        )
    individual capacity,                               )
                                                       )
            Defendants.                                )

                       CITY OF FOREST PARK, GEORGIA’S
            MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

            COMES NOW the City of Forest Park, Georgia (the “City”), by and through the

undersigned counsel of record, and, pursuant to O.C.G.A. § 9-11-12(b)(6), hereby moves this

Honorable Court to dismiss Plaintiff Nathaniel Clark’s First Amended Complaint (“Amended

Complaint”) for failure to state any claim for which relief may be granted against the City.1

                                 I.       STATEMENT OF THE CASE

            This action asserts a claim against the City for alleged whistleblower retaliation pursuant

to the Georgia Whistleblower Act (“GWA”), O.C.G.A. § 45-1-4 (Count I).2 The Plaintiff,

Nathaniel Clark, is the current Police Chief for the City. He also serves as Deputy City

Manager/Public Safety Director in the event the City Manager is absent or incapacitated. (Am.

Compl. ¶¶ 1, 27, 43.) Co-Defendant Latresa Akins-Wells (“Councilwoman Wells”) is a sitting

member of the City Council, which is composed of four other individuals. (Id. ¶¶ 3, 14.)




1
  The City’s Motion to Dismiss Plaintiff’s Initial Complaint remains pending, and the arguments asserted therein as
to Plaintiff’s whistleblower retaliation claim apply equally with respect to the same claim asserted in the Amended
Complaint. In an abundance of caution, however, the City renews its Motion to Dismiss herein more specifically to
assert it against Plaintiff’s Amended Complaint.
2
  Counts II and III are asserted only against Co-Defendant Latresa Akins-Wells in her individual capacity.

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        Plaintiff has served as the City’s Police Chief since May 2019. (Id. ¶¶ 1, 10.) He alleges he

was the first and only “permanent Black individual” to serve as Police Chief, but he does not

explain what he means by this phrase. (Id. ¶ 10.) As Plaintiff alleges, in the short span of just over

two years since his hire, he has received numerous promotions, accolades, and pay raises; been

entrusted with additional responsibilities; and received consistently positive performance reviews.

(Id. ¶¶ 21, 26, 27, 40.)

        Nevertheless, despite this series of positive outcomes, Plaintiff alleges the City has

harassed and retaliated against him in a “conspiracy” to have him terminated (even though it has

not actually terminated him or taken any steps to do so). (Id. ¶¶ 45, 55, 59.) Plaintiff alleges he

uncovered several unlawful practices in the Police Department, including selling City ammunition

to civilians; cashing checks made out to the City and not turning them over to the Finance

Department; surveilling two City Council members; and targeting Black and Hispanic church-

goers for traffic citations. (Id. ¶¶ 16, 18.) He also alleges that, during a period in which he served

as Interim City Manager, he discovered several other unlawful activities, such as commingling E-

911 funds; charging SPLOST expenditures to accounts that did not exist; “procedural concerns”

with the City’s asset forfeiture account; and “discrepancies” regarding bank reconciliations, FBI

reimbursements, and a Georgia Emergency Management Fund grant. (Id. ¶¶ 23, 33, 36.)

        While Plaintiff appears to allege the City was unhappy with his uncovering the above

activities, the City nevertheless promoted him, including to a new position created just for Plaintiff,

and gave him positive performance evaluations afterwards. (Id. ¶¶ 21, 26-28, 40.) Even so,

Plaintiff alleges he requested multiple audits the City did not conduct. (Id. ¶¶ 24, 34.) He alleges

former City Manager Alfred Barker told him unnamed “members of the Governing Body” wanted

him to “stand down immediately on the financial audit”; that Mr. Barker claimed he had been



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offered “a large sum of money to stop the financial audits”; that Mr. Barker warned him he would

face “backlash” for his audit requests and “continual exposure of biased practices”; and that an

unidentified “City Official” wanted to “stop him.” (Id. ¶¶ 38-39, 41-42.)

        The only person in City government whom Plaintiff specifically identifies as having any

issue with his work performance is Councilwoman Wells. He alleges that she has made non-

specific comments during public City Council meetings regarding his integrity; that she has

“verbally attacked and harassed” him for his involvement in an investigation into another

employee’s sexual harassment allegations against the former Fire Chief; that she attacks his

integrity and undermines and questions his actions; that she blames police officers’ departures on

Plaintiff; that she asks for “data” regarding the Police Department; that she sought to reopen an

investigation into an unspecified claim a member of the Police Department had made against

Plaintiff; that she asked to see exit interviews and grievances filed against Plaintiff; and that she

posted a video on Facebook that allegedly contained “false statements” about Plaintiff. (Id. ¶¶ 51,

55-56, 66-70, 73-76.)

        Although Plaintiff remains employed with the City, he filed the instant lawsuit on

November 1, 2021 against the City and Councilwoman Wells in both her individual and official

capacities, appearing to assert a GWA claim against the City and claims for intentional infliction

of emotional distress (“IIED”) and slander against Councilwoman Wells in her individual and

official capacities. In response, the City answered the Complaint and moved for dismissal of all

claims based on a lack of subject matter jurisdiction and/or failure to state any claim for which

relief can be granted.3 On February 7, 2022, Plaintiff amended his Complaint to assert claims



3
  On January 6, 2022, Councilwoman Wells also moved for dismissal of all official-capacity claims against
her, adopting and incorporating the City’s arguments, and moved for a more definite statement with respect
to Plaintiff’s slander claim.
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against the City and Councilwoman Wells in her individual capacity only. In Count I of the

Amended Complaint, Plaintiff asserts a GWA claim for whistleblower retaliation against the City.

Counts II and III assert claims for IIED and slander, respectively, against Councilwoman Wells

solely in her individual capacity.

        The City now moves to dismiss the GWA claim asserted against it for failure to state a

claim upon which relief may be granted. The vast majority of purportedly adverse actions and

statements about which Plaintiff complains occurred before the applicable one-year statute of

limitations, and the alleged incidents within the limitations period are not actionable “adverse

employment actions” as contemplated by the GWA. Accordingly, the Court should dismiss with

prejudice this sole claim asserted against the City.

                  II.     ARGUMENT AND CITATION TO AUTHORITY

A.      Legal Standard On A Motion To Dismiss

        A complaint should be dismissed pursuant to Rule 12(b)(6) of the Civil Practice Act for

failure to state a claim upon which relief should be granted “when it appears to a certainty that the

plaintiff would be entitled to no relief under any state of facts which could be proved in support of

his [or her] claim.” Lange v. Standard Telephone Co., 243 Ga. App. 301, 304 (2000); see also

Lord v. Lowe, 318 Ga. App. 222, 222 (2012) (affirming grant of motion to dismiss for failure to

state a claim, holding “[e]ven when a complaint is liberally construed, there still ‘must be some

legal basis for recovery.’”).

        A motion to dismiss for failure to state a claim is to be granted when (1) the allegations of

the complaint disclose with certainty that the claimant would not be entitled to relief under any

state of provable facts asserted in support thereof; and (2) the movant establishes that the claimant

could not possibly introduce evidence within the framework of the complaint sufficient to warrant



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a grant of relief sought. Common Cause/Georgia v. City of Atlanta, 279 Ga. 480, 481 (2005).

“While a trial court is required to consider a non-moving party’s factual allegations to be true, it

is not required to accept the legal conclusions the non-[moving] party suggests that those facts

dictate.” Trop, Inc. v. City of Brookhaven, 296 Ga. 85, 87 (2014).

        Here, Plaintiff has failed to allege sufficient facts to state any claim for relief against the

City. The Amended Complaint contains no allegations that, if assumed to be true, would support

a whistleblower retaliation claim.

B.      Plaintiff’s Whistleblower Retaliation Claim Fails As A Matter Of Law

        1.     Any Whistleblower Retaliation Claim Based On Alleged Adverse Actions
               Occurring Before November 1, 2020 Is Time-Barred And Must Be Dismissed

        The GWA requires whistleblower retaliation claims to be asserted “within one year after

discovering the retaliation or within three years after the retaliation, whichever is earlier.”

O.G.C.A. § 45-1-4(e)(1). “Retaliation” under the statute is limited to “adverse employment

action[s].” § 45-1-4(a)(5).

        Since Plaintiff originally filed this action on November 1, 2021, his whistleblower

retaliation claim is limited to “adverse employment action[s]” occurring after November 1, 2020.

According to the Amended Complaint, this timeframe limits his claim to the following alleged

adverse actions: (1) his alleged November 2020 “demotion,” (2) being allegedly “stripped” of his

Public Safety Director duties in or around May 2021, (3) the alleged investigation into workplace

surveillance, and (4) some of Councilwoman Wells’s alleged comments. (See Am. Compl. ¶¶ 43,

51, 56-59, 60-64, 66-67, 74.) A GWA claim based on any other alleged adverse action is due to be

dismissed as untimely.




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       2.      Plaintiff Fails To Identify Any Actionable Adverse Employment Actions
               Occurring After November 1, 2020

       None of the alleged events after November 1, 2020 is an adverse employment action for

purposes of the GWA. Under the GWA, the phrase “adverse employment action” is interpreted to

mean employment action analogous to or of a similar kind as a “discharge, suspension, or

demotion.” Franklin v. Pitts, 349 Ga. App. 544, 554 (2019).

       Georgia courts construe “adverse employment action” under the GWA consistent with the

interpretation that federal courts give to discrimination claims under Title VII of the Civil Rights

Act. See id. at 552. Importantly, this does not mean that any employment action one disagrees with

is automatically actionable; the law instead requires the challenged employment action to have a

“threshold level of substantiality” to be actionable. Davis v. Town of Lake Park, 245 F.3d 1232,

1238-39 (11th Cir. 2001). “[A]n employee must show a serious and material change in the terms,

conditions or privileges of employment to prove an adverse employment action.” Id. at 1239

(italics in original). “[T]he employee’s subjective view of the significance and adversity of the

employer’s action is not controlling; the employment action must be materially adverse as viewed

by a reasonable person in the circumstances.” Id. (emphasis added).

       Courts applying this analysis universally have held that allegations of supervisory nit-

picking, changes in job duties or responsibilities, being investigated, or receiving increased

scrutiny do not rise to the level of being actionable “adverse employment actions.” See, e.g., id.

(loss of officer-in-charge designation, increased workload and assignments, and negative job

criticisms did not constitute actionable adverse employment actions); Henderson v. City of

Birmingham, 826 F. App’x 736, 740-41 (11th Cir. 2020) (investigating an employee is not an

adverse employment action where it does not result in action that affects continued employment

or pay); Grimsley v. Marshalls of MA, Inc., 284 F. App’x 604, 609 (11th Cir. 2008) (increased

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work load, denial of breaks, and being forced to perform manual-labor tasks outside of job

description, even if based on race, are not actionable employment actions); Barnett v. Athens Reg’l

Med. Ctr. Inc., 550 F. App’x 711, 713 (11th Cir. 2013) (counseling and scolding are not actionable

employment actions if they do not lead to a material change in the terms or conditions of

employment, such as “an evaluation that directly disentitles an employee to a raise of any

significance”).

                  a.     Plaintiff’s Alleged “Demotion” Was Not An Adverse Employment Action

                         i.     Plaintiff Voluntarily Agreed To The Change In Job Duties

       While Plaintiff asserts in his Amended Complaint that he was “demoted” on November 4,

2020, his specific allegations show this not to be the case at all:

                  [O]n November 4, 2020, Chief Clark was demoted from his position
                  of Deputy City Manager. Specifically, Chief Clark’s contract was
                  amended so that he would only serve as Public Safety Director and
                  Chief of Police. Chief Clark was only to serve as Deputy City
                  Manager in the absence of a City Manager.

(Am. Compl. ¶ 43 (emphasis added).) Plaintiff thus did not receive an involuntary “demotion.”

Rather, he entered into a new employment contract with the City, the terms to which he indicated

his agreement and assent by signing it. “One who signs or accepts a written contract, in the absence

of fraud or other wrongful act on the part of another contracting party, is conclusively presumed

to know its contents and to assent to them.” Tracy v. Fla. Atl. Univ. Bd. of Trs., 980 F.3d 799, 806

(11th Cir. 2020) (quoting 27 Williston on Contracts § 70:114 (4th ed.)) (emphasis added). Plaintiff

alleges nothing to contradict this presumed assent. The fact that Plaintiff chooses to use the word

“demotion” when discussing a contract into which he willingly entered is not controlling because,

as discussed above, whether an employment action is adverse is subject to a reasonableness test




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and not on how the Plaintiff subjectively views the employment action. See Davis, 245 F.3d at

1239-40.

       Plaintiff’s mischaracterization of his new employment contract as a “demotion” further is

evidenced by his allegation that “Chief Clark was only to serve as Deputy City Manager in the

absence of a City Manager.” (Am. Compl. ¶ 43.) Thus, he admits he actually does still serve as

Deputy City Manager. To the extent he takes issue with the fact that he serves in this position only

in the City Manager’s absence, this outcome actually is demanded by the City’s Charter:

               Sec. 2.42. - Acting city manager.

                   (a) By letter filed with the city clerk, the city manager may
                       designate, subject to approval of the city council, a qualified
                       city administrative officer to exercise the powers and
                       perform the duties of city manager during his temporary
                       absence or disability. During such absence or disability, the
                       city council may revoke such designation at any time and
                       appoint another qualified city administrative officer of the
                       city to serve until the city manager shall return or his
                       disability shall cease.

                   (b) In the event of the city manager's permanent absence for any
                       reason, or in the event a temporary absence or disability later
                       becomes a permanent absence or disability, the city council
                       shall have the authority to designate a city administrative
                       officer to exercise the powers and perform the duties of city
                       manager until such time as the permanent replacement for
                       the city manager has been determined. Voting on the
                       replacement city manager shall be conducted as for the
                       adoption or ordinances as set out in section 2.23 of this
                       charter. The person appointed pursuant to this provision
                       shall be the acting city manager until such time as another
                       qualified city administrative officer is so designated or a new
                       city manager is appointed pursuant to section 2.40 of this
                       charter.




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Charter of City of Forest Park § 2.42 (emphasis added).4 Plaintiff cannot seriously contend the

City’s following its Charter is unlawful retaliation or even an adverse employment action. Nor

does he cite any authority for this proposition.

                        ii.     The Change In Plaintiff’s Job Duties Was Not “Serious And
                                Material”

        Not only is Plaintiff’s amended employment contract something to which he agreed, but

the change in job duties he attempts to mischaracterize as a demotion was objectively not “serious

and material” to constitute an adverse employment action. The Court in Davis stressed that a mere

change in job duties, unaccompanied by any decrease in salary, work-hour changes, or other

tangible harm, is outside the protection of the law. Id. at 1244-45 (citing Mungin v. Katten Muchin

& Zavis, 116 F.3d 1549, 1557 (D.C. Cir. 1997) (agreeing with “other circuits which have held that

changes in assignments or work-related duties do not ordinarily constitute adverse employment

decisions if unaccompanied by a decrease in salary or work hour changes”)); see also id. at 1236

(“[C]ourts have uniformly held that changes in assignments or work-related duties do not amount

to actionable adverse employment action if unaccompanied by a decrease in salary.”). It is only in

“unusual instances” that changes in work duties could be sufficiently substantial and material to

alter the “terms, conditions, or privileges” of one’s employment. Id. at 1245. “In the vast majority

of instances, . . . an employee alleging a loss of prestige on account of a change in work

assignments, without any tangible harm [e.g., decrease in salary], will be outside the protection

afforded by [Title VII],” id., and therefore outside the protection of the GWA.

        Given the above guidance from Davis, it is clear that the alleged “demotion” here, when

viewed objectively, is not one of the “unusual instances” that constitutes a serious and material



4
 The Court “may take judicial notice of city charter provisions.” City of Rincon v. Ernest Cmtys., LLC, 356
Ga. App. 84, 88 n.3 (2020).
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change in employment. See id. Plaintiff does not and cannot allege any tangible economic loss,

such as a reduction in pay or benefits. Nor does he allege any facts to indicate the change was

involuntary or that otherwise would call into question the mutual assent of his entering into a new

employment contract with the City.

       Moreover, the alleged change in duties under the November 2020 contract is not even

inconsistent with the job description of Deputy City Manager/Public Safety Director. The job

description itself makes clear that his supervisory duties were subject to change, and that the

Deputy City Manager duties are subordinate to his duties as Public Safety Director. The job

description expressly provides that Plaintiff’s supervisory responsibilities as Deputy City Manager

are “subject to the direction of the City Manager” and that Plaintiff’s “primary role” is to “assist”

the City Manager in the activities and operations of the Police Department, Fire Service, 911,

Animal Control, and Public Information Officer. (Am. Compl., Ex. B (emphasis added)). Thus,

regardless of the supervisory duties listed in the job description, the City Manager always retained

discretion to determine which duties the Deputy City Manager could exercise and under what

circumstances. There is no inconsistency between Plaintiff’s November 2020 employment

contract and the Deputy City Manager/Public Safety Director job description, much less one that

could be considered a “serious and material” change to constitute an adverse employment action.

Cf. McNely v. Ocala Star -Banner Corp., 99 F.3d 1068, 1078 (11th Cir. 1996) (adverse action

where supervisor at newspaper reassigned to janitor duties, including cleaning toilets in bathrooms

and performing physically strenuous tasks in shipping department).

               b.      The Alleged Changes To Plaintiff’s Public Safety Director Duties Do
                       Not Constitute Adverse Employment Actions

       Plaintiff also alleges that his duties as Public Safety Director to oversee the Fire

Department were “stripped.” (Am. Compl. ¶¶ 60-62.) Plaintiff specifically alleges that the Fire

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Chief no longer was required to report to him and that he was excluded from the Fire Chief’s hiring

process. Id. For the same reasons identified in the preceding section, however, none of these

allegations constitutes a “serious and material” change in the terms, conditions, or privileges of

Plaintiff’s employment. See supra part II.B.2.a.ii.

       As with Plaintiff’s Deputy City Manager position, the language in the job description gave

Plaintiff express notice his duties as Public Safety Director were subject to change. The job

description provides the listed duties “are not to be construed as exclusive or all inclusive” and

that “[o]ther duties may be required and assigned.” (Am. Compl., Ex. B.) This means any duty,

even if listed in the job description, may or may not be required to be performed by Plaintiff and,

if the City so decides, even other duties could be required or assigned at any time and perhaps take

priority over others. Plaintiff cannot contend that he suffered a “serious and material” change in

his work responsibilities when the job description itself is replete with language permitting his

duties to be varied at the City Manager’s discretion. Accordingly, Plaintiff does not and cannot

allege an adverse employment action based on the purported “stripping” of his Public Safety

Director duties.

               c.      The Alleged Investigation Into Workplace Surveillance and
                       Councilwoman Wells’s Alleged Comments Are Also Not Actionable
                       Adverse Actions

       Plaintiff’s alleged adverse actions regarding workplace surveillance and Councilwoman

Wells’s alleged comments are even further from the “threshold level of substantiality” than the

mischaracterized “demotion.” See Davis, 245 F.3d at 1238-39. Regarding the workplace

surveillance allegation, the City obviously has a duty to investigate complaints of potential

workplace rule violations. A sitting police chief cannot in good faith assert that a city should ignore

allegations of impropriety made by a sitting councilmember and fail to look into them. In any



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event, the investigation was not even adverse for Plaintiff because, as he readily admits, the City’s

investigation concluded that the allegations against him were unfounded. (Am. Compl. ¶ 58.)

       As for Councilwoman Wells’s alleged comments, it is well-established that her purported

motives in making any such comments cannot be attributed to the City because Councilwoman

Wells is just one member of a five-person City Council. See Matthews v. Columbia Cnty., 294

F.3d 1294, 1297 (11th Cir. 2002) (holding that “[b]ecause policymaking authority rests with the

[council] as an entity,” liability may not attach unless the council “ratif[ies] not only the decision

itself, but also the unconstitutional basis for it”) (citation omitted); Mason v. Village of El Portal,

240 F.3d 1337, 1339 (11th Cir. 2001) (“[T]here can be no municipal liability unless all three

members of the [five-person] council who voted against reappointing Plaintiff shared the illegal

motive.”); Church v. City of Huntsville, 30 F.3d 1332, 1343 (11th Cir. 1994) (comments of one

city councilman suggesting an unconstitutional motive was insufficient to show that the city

council had authorized an unconstitutional policy); Jones v. City of Coll. Park, No. 1:05-CV-1797-

WBH, 2011 U.S. Dist. LEXIS 91500, at *8 (N.D. Ga. Mar. 3, 2011) (holding city had no liability

for race discrimination claim when only two of four-person city council had discriminatory motive

in voting to terminate plaintiff). Thus, regardless of what Councilwoman Wells did or did not say,

her comments were not actions by the City and therefore wholly insufficient to support a

whistleblower retaliation claim.

       3.      Plaintiff Fails To State A Claim For Retaliatory Hostile Work Environment

       Although the phrase “hostile work environment” appears in many places in Plaintiff’s

Amended Complaint, and Plaintiff asserted in his earlier brief in response to the City’s Motion to

Dismiss Plaintiff’s Initial Complaint that such a claim was actionable, he cannot cite any




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controlling authority holding this to be so. To the contrary, Plaintiff cited only to City of

Pendergrass v. Rintoul, 354 Ga. App. 618, 625 (2020), but he overstated the holding in that case.

        The question of whether the GWA contemplates a claim for retaliatory hostile work

environment was not presented to the Court in Rintoul. What Rintoul actually held was that, on a

defendant’s motion for directed verdict, the plaintiff was not collaterally estopped from asserting

a retaliation claim merely because the trial court already had granted the employer’s summary

judgment motion on the plaintiff’s constructive discharge claim. Id. at 624-26. The Court noted

that, beyond the issue of constructive discharge, the plaintiff had introduced evidence of other

adverse employment actions that fell squarely within the definition of actionable retaliation under

the GWA, including a suspension, a demotion, and a loss of a $5,000 to $10,000 a year benefit to

the plaintiff’s employment. Id. at 625-26. Thus, the Court’s references to hostile work environment

in Rintoul are dicta at best.

        Plaintiff also fails to state a claim for retaliatory hostile work environment. To prevail on

such a claim, Plaintiff is required to show that “(1) []he engaged in a protected activity; (2) after

doing so, []he faced unwelcome harassment; (3) the protected activity was a ‘but for’ cause of the

harassment; (4) the harassment was sufficiently severe or pervasive to alter the terms of h[is]

employment; and (5) h[is] employer is responsible for the environment under either vicarious or

direct liability.” Joseph v. Board of Regents, No. 1:20-cv-502-TCB, 2020 U.S. Dist. LEXIS

208570, at *18 (N.D. Ga. May 8, 2020) (assessing retaliatory hostile work environment claim

under Title VII (citing Adams v. Austal, U.S.A., LLC, 754 F.3d 1240, 1248-49 (11th Cir. 2014))).

In evaluating whether certain treatment is sufficiently “severe or pervasive,” courts are required to

consider “(1) the frequency of the conduct; (2) the severity of the conduct; (3) whether the conduct

is physically threatening or humiliating, or a mere offensive utterance; and (4) whether the conduct



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unreasonably interferes with the employee’s job performance.” Miller v. Kenworth of Dothan, Inc.,

277 F.3d 1269, 1276 (11th Cir. 2002) (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 23 (1993)).

Courts generally require the alleged harassment to be so frequent as to render the workplace

“permeated with discriminatory intimidation, ridicule, and insult.” Barrow v. Georgia Pacific

Corp., 144 F. App’x 54, 56 (11th Cir. 2005) (quoting Harris, 510 U.S. at 21).

       Plaintiff fails to allege even in conclusory fashion that he experienced severe or pervasive

harassment. He alleges he was asked to do “things other department heads were not required to

do”; his work was “scrutinized” and “nitpicked” by unknown actors in nonspecific ways; he

received vague “verbal attacks” from “the Governing Body” and Councilwoman Wells; his job

duties changed over time (with no reduction in pay or benefits); and the City investigated him after

receiving an employee complaint about him (which investigation ultimately found in Plaintiff’s

favor). (Am. Compl., ¶¶ 45, 55, 57-58, 69, 91-92). Importantly, he alleges nothing to show these

actions were physically threatening or humiliating or that they unreasonably interfered with his

job performance. See, e.g., Kelly v. Dun & Bradstreet, Inc., 2014 U.S. Dist. LEXIS 198480, at *15

(N.D. Ga. Sep. 12, 2014) (no retaliatory hostile work environment because plaintiff not abused,

physically threatened, marginalized, or humiliated).

       Even Plaintiff’s vague allegations of being “verbally attacked” by the Governing Body and

Councilwoman Wells with “comments” regarding his “integrity” are insufficient to meet the

required level of severity or pervasiveness. Courts routinely reject claims of pervasive harassment

if the remarks were not made on a daily or near-daily basis. “Courts have rejected claims of

pervasiveness in hostile work environment claims, for example, where the alleged incidents

numbered seven in six months; four in nine months; four in nine months [sic]; or seven in thirteen

months.” Frizzell v. Delta Air Lines, No. 1:19-CV-1573-TWT-JSA, 2019 U.S. Dist. LEXIS



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186699, at *32-33 (N.D. Ga. Aug. 29, 2019) (citing Dawkins v. Fulton Cnty. Gov’t, No. 1:10-CV-

1718-WCO-AJB, 2012 U.S. Dist. LEXIS 193726, 2012 WL 12891446, at *17-18 (N.D. Ga. Jan.

31, 2012) (collecting cases)); see also Faragher v. City of Boca Raton, 524 U.S. 775, 788 (1998)

(emphasizing that “conduct must be extreme to amount to a change in the terms and conditions of

employment,” and that “occasional teasing,” and “offhand comments” are not enough to support

a hostile work environment claim); Zarza v. Tallahassee Hous. Auth., 686 F. App’x 747, 752 (11th

Cir. 2017) (no hostile work environment based on race where “Plaintiff was not subjected to

racially pejorative remarks multiple times a day, every day”); Aristyld v. City of Lauderhill, 543

F. App’x 905, 909 (11th Cir. 2013) (isolated comments do not rise to level necessary to support

retaliatory hostile work environment); Garrett v. Tyco Fire Prods., LP, 301 F. Supp. 3d 1099, 1119

(N.D. Ala. 2018) (four unwelcome comments and two instances of graffiti in three-month period

not sufficiently pervasive to establish hostile work environment); Fortson v. Columbia Farms Feed

Mill, 34 F. Supp. 3d 1302, 1305-08 (M.D. Ga. 2014) (twelve unwelcome comments in seven

months insufficiently frequent to show hostile work environment claim); Kelly, 2014 U.S. Dist.

LEXIS 198480, at *15 (single embarrassing incident insufficient to show ongoing abusive

environment); Cushmeer-Muhammad v. Fulton Cnty., No. 1:08-CV-3256-GET-JFK, 2010 WL

11500831, 2010 U.S. Dist. LEXIS 158003, at *19 (N.D. Ga. July 19, 2010) (one incident of

supervisor’s yelling not considered hostile work environment).

       Accordingly, Plaintiff cannot maintain his claim for a retaliatory hostile work environment

under the GWA.




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                                      III.    CONCLUSION

       For the reasons set forth above, the City respectfully requests that its Motion to Dismiss

Plaintiff’s First Amended Complaint be granted and that the Court dismiss with prejudice all

claims asserted against the City in this action.

                                               Respectfully submitted,

                                               FREEMAN MATHIS & GARY, LLP


                                               /s/ Michael M. Hill
                                               Michael M. Hill
                                               Georgia Bar No. 770486
                                               Shaheem M. Williams
                                               Georgia Bar No. 666654
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                                               Suite 1600
                                               Atlanta, Georgia 30339
                                               T: (770) 818-0000
                                               F: (770) 937-9960

                                               Counsel for City of Forest Park, GA




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                      IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA

 NATHANIEL CLARK,                                 )
                                                  )
         Plaintiff,                               )       Civil Action
                                                  )       No. 2021CV03928-09
 v.                                               )
                                                  )
 CITY OF FOREST PARK, GA and                      )
 LATRESA AKINS-WELLS, in her                      )
 individual capacity,                             )
                                                  )
         Defendants.                              )

                                  CERTIFICATE OF SERVICE

         I certify that on this day I served the foregoing CITY OF FOREST PARK, GEORGIA’S

MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT by electronically

filing the same with the Clerk of Court using the Peach Court e-filing system, which will

automatically send email notification of such filing to all counsel of record, and via email pursuant to

agreement of the parties to all counsel of record as follows:

                                              Jackie Lee
                                       LEE LAW FIRM, LLC
                                 1100 Peachtree Street NE, Suite 250
                                       Atlanta, Georgia 30309
                                        jackie@leelawga.com

                                         Karen E. Woodward
                                          Marisa M. Beller
                       Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
                                         275 Scientific Drive
                                        Meridian II, Suite 2000
                                  Peachtree Corners, Georgia 30092
                       kwoodward@cmlawfirm.com; mbeller@cmlawfirm.com

         This 9th day of March, 2022.


                                                          /s/ Michael M. Hill
                                                          Michael M. Hill
                                                          Georgia Bar No. 770486
                                                 - 17 -
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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                PLAINTIFF,                     )
                                               )
                                               )
 V.                                            )
                                               )       Civil Action No.:
 CITY OF FOREST PARK, GA;                      )       2021CV03928-10
 LATRESA AKINS-WELLS, in her                   )
 individual capacity                           )
                                               )
                                               )
                DEFENDANTS.                    )


        STIPULATION TO EXTEND TIME FOR PLAINTIFF TO RESPOND TO
              DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFF’S
                       FIRST AMENDED COMPLAINT

       COMES NOW Plaintiff Nathaniel Clark (“Plaintiff” or “Chief Clark”) files this stipulation

notifying the Court that undersigned counsel requested, and Defendants’ counsel agreed to, extend

the time for Plaintiff to respond to Defendants’ Motions to Dismiss Plaintiff’s First Amended

Complaint. With that extension, Plaintiff’s deadline to respond to Defendant Latresa Akins-Wells’

Motion to Dismiss Plaintiff’s First Amended Complaint is April 13, 2022 and Plaintiff’s deadline

to respond to Defendant City of Forest Park, Georgia’s Motion to Dismiss Plaintiff’s First

Amended Complaint is April 15, 2022.

       Respectfully submitted, this 4th day of April, 2022.

                                              s/ Jackie Lee
                                              Jackie Lee
                                              Georgia Bar No. 419196
                                              jackie@leelawga.com
                                              LEE LAW FIRM, LLC
                                              1100 Peachtree Street NE, Suite 250
                                              Atlanta, Georgia 30309
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Case 1:22-cv-02748-CAP-RDC Document   1-2 Filed 07/13/22 Page 274 of 297
                            2021CV03928-14




                                 COUNSEL FOR PLAINTIFF




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                               2021CV03928-14




                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                PLAINTIFF,                     )
                                               )
                                               )
 V.                                            )
                                               )
                                               )       Civil Action No.: 2021CV03928-10
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                   )
 individual capacity                           )
                                               )
                                               )
                DEFENDANTS.                    )

                                CERTIFICATE OF SERVICE

       I certify that on April 4, 2022, I electronically filed the foregoing Stipulation to Extend

Time for Plaintiff to Respond to Defendants’ Motions to Dismiss Plaintiff’s First Amended

Complaint with the Clerk of Court which will automatically send notification of such filing to all

counsel of record and by e-mail to the following counsel of record:

                                      Michael M. Hill
                                    Shaheem M. Williams
                             FREEMAN MATHIS & GARY, LLP
                              100 Galleria Parkway, Suite 1600
                                     Atlanta, GA 30339
                                     mhill@ fmglaw.com
                               shaheem.williams@fmglaw.com

                                       Karen Woodward
                                       Marisa M. Beller
                         Cruser, Mitchell, Novitz, Gaston & Zimet, LLP
                                     Meridian II, Suite 2000
                                      275 Scientific Drive
                                 Peachtree Corners, GA 30092
                                 kwoodward@cmlawfirm.com
                                   mbellar@cmlawfirm.com

                                              s/ Jackie Lee
                                              Jackie Lee
                                              Georgia Bar No. 419196


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                               2021CV03928-14                     276 of 297
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                                                                            Jacquline D. Wills
                                                                            CLERK SUPERIOR COURT




                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
                PLAINTIFF,                      )
                                                )
                                                )
 V.                                             )
                                                )       Civil Action No.:
 CITY OF FOREST PARK, GA;                       )       2021CV03928-10
 LATRESA AKINS-WELLS, in her                    )
 individual capacity                            )
                                                )
                                                )
                DEFENDANTS.                     )


      JOINT MOTION TO STAY ALL DEADLINES FOR FORTY-FIVE (45) DAYS

       COMES NOW Plaintiff Nathaniel Clark, Defendant City of Forest Park, Georgia and

Defendant Latresa Akins-Wells, and jointly file this Motion to Stay All Deadlines for Forty-Five

(45) Days. In support of their motion the Parties state as follows:

       1.      Plaintiff filed an Amended Complaint on February 7, 2022 alleging a retaliation

claim under the Georgia Whistleblower Protection Act against Defendant City of Forest Park, an

intentional infliction of emotional distress claim against Defendant Wells, and a slander claim

against Defendant Wells.

       2.      Defendant Wells filed an Answer and Motion to Dismiss Plaintiff’s First Amended

Complaint on March 7, 2022.

       3.      Defendant City of Forest Park, Georgia filed an Answer and Motion to Dismiss

Plaintiff’s First Amended Complaint on March 9, 2022.




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          4.    Plaintiff filed a Charge of Discrimination with the EEOC on August 12, 2021

alleging violations of Title VII of the Civil Rights Act of 1964, as amended (“Title VII”) against

the City of Forest Park, Georgia.

          5.    On April 4, 2022, Plaintiff requested that the EEOC issue the Dismissal and Notice

of Right to Sue. Plaintiff anticipates that he will have a copy of the Dismissal and Notice of Right

to Sue in the next thirty (30) days.

          6.    Once Plaintiff receives the Dismissal and Notice of Right to Sue from the EEOC,

Plaintiff plans to file a Second Amended Complaint adding the Title VII claim as well as other

claims.

          7.    Defendants anticipate removing the case to federal court once the federal claims

are added to the Complaint.

          8.    In order to avoid the futile cost and expense of briefing the Defendants’ Motions to

Dismiss Plaintiff’s First Amended Complaint when Plaintiff anticipates filing a Second Amended

Complaint which will render Defendants’ Motions to Dismiss Plaintiff’s First Amended

Complaint moot, the Parties are jointly requesting a forty-five (45) day stay of all deadlines.

          9.    Plaintiff anticipates that the forty-five (45) day extension will be a sufficient

amount of time for the EEOC to issue the Dismissal and Notice of Right to Sue and for Plaintiff

to file his Second Amended Complaint adding/amending claims, including the Title VII federal

claims.

          10.   A Proposed Order is attached to this Motion.




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                            2021CV03928-14




   Respectfully submitted, this 8th day of April, 2022.

                                          s/ Jackie Lee
                                          Jackie Lee
                                          Georgia Bar No. 419196
                                          jackie@leelawga.com
                                          LEE LAW FIRM, LLC
                                          1100 Peachtree Street NE, Suite 250
                                          Atlanta, Georgia 30309
                                          Telephone: (404) 301-8973

                                          COUNSEL FOR PLAINTIFF




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                               2021CV03928-14




                   IN THE SUPERIOR COURT OF CLAYTON COUNTY
                               STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
                 PLAINTIFF,                      )
                                                 )
                                                 )
 V.                                              )
                                                 )
                                                 )       Civil Action No.: 2021CV03928-10
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                     )
 individual capacity                             )
                                                 )
                                                 )
                 DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

       I certify that on April 8, 2022, I electronically filed the foregoing Joint Motion to Stay

All Deadlines for Forty-Five (45) Days with the Clerk of Court which will automatically send

notification of such filing to all counsel of record and by e-mail to the following counsel of record:

                                        Michael M. Hill
                                      Shaheem M. Williams
                               FREEMAN MATHIS & GARY, LLP
                                100 Galleria Parkway, Suite 1600
                                       Atlanta, GA 30339
                                       mhill@ fmglaw.com
                                 shaheem.williams@fmglaw.com

                                        Karen Woodward
                                        Marisa M. Beller
                          Cruser, Mitchell, Novitz, Gaston & Zimet, LLP
                                     Meridian II, Suite 2000
                                       275 Scientific Drive
                                  Peachtree Corners, GA 30092
                                  kwoodward@cmlawfirm.com
                                    mbellar@cmlawfirm.com

                                                s/ Jackie Lee
                                                Jackie Lee
                                                Georgia Bar No. 419196




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                               2021CV03928-14




                 IN THE SUPERIOR COURT OF CLAYTON COUNTY
                             STATE OF GEORGIA

 NATHANIEL CLARK,                            )
                                             )
               PLAINTIFF,                    )
                                             )
                                             )
 V.                                          )
                                             )
                                             )       Civil Action No.: 2021CV03928-10
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                 )
 individual capacity                         )
                                             )
                                             )
               DEFENDANTS.                   )

                                          ORDER
       This matter came before the Court on the Parties’ Joint Motion to Stay All Deadlines for

Forty-Five (45) Days. After consideration of the Motion, it is GRANTED. All deadlines are

hereby stayed until May 23, 2022.

       SO ORDERED this ______ day of April, 2022.



                                                      __________________________
                                                      Hon. Shana Rooks Malone
                                                      Superior Court Judge




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                                                                                    CLERK OF SUPERIOR COURT
                                                                                    CLAYTON COUNTY, GEORGIA
                                                                                   2021CV03928-14
                     IN THE SUPERIOR COURT OF CLAYTON COUNTY                             Jewel Scott
                                  STATE OF GEORGIA                                  MAY 13, 2022 10:19 AM



NATHANIEL CLARK,                                 )
                                                 )
                Plaintiff,                       )       CIVIL ACTION FILE NO.:
                                                 )
vs.                                              )       2021-CV-03928-14
                                                 )
CITY OF FOREST PARK, GA, and                     )
LATRESA AKINS-WELLS, in her                      )
Individual Capacity,                             )       Jury Trial Demanded
                                                 )
                Defendants.                      )

                                NOTICE OF WITHDRAWAL OF
                                     MARISA BELLER

         COMES NOW, MARISA BELLER, and hereby files this Notice of Withdrawal as co-

counsel of record for Defendant Councilwoman Latresa Akins-Wells in her individual and official

capacities.

         Marisa Beller’s last day with the law firm of Cruser, Mitchell, Novitz, Sanchez, Gaston &

Zimet, LLP is May 13, 2022, and Ms. Beller requests that this Court and all counsel of record

remove her name from these proceedings and discontinue sending any notices to her regarding this

case. The above-named defendant will continue to be represented by Karen E. Woodward of the

law firm of Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP.

                Respectfully submitted this 13th day of May, 2022.

                                                 CRUSER, MITCHELL, NOVITZ,
                                                 SANCHEZ, GASTON & ZIMET, LLP

                                                 /s/ Marisa M. Beller
                                                 Marisa M. Beller
                                                 Georgia Bar No. 845893
                                                 Email: mbeller@cmlawfirm.com
                                                 Tel: 404-881-2622



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Meridian II, Suite 2000
275 Scientific Drive
Peachtree Corners, GA 30092




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served the within and foregoing NOTICE OF

WITHDRAWAL OF MARISA BELLER, using the PeachCourt system file and serve system

which will serve an electronic copy of this certificate upon all counsel of record.

                                           Jackie Lee
                                     LEE LAW FIRM, LLC
                                 1100 Peachtree St., NE, Ste. 250
                                       Atlanta, GA 30309
                                     jackie@leelawga.com
                                     (Attorney for Plaintiff)

                                         Michael M. Hill
                              FREEMAN MATHIS & GARY, LLP
                                100 Galleria Parkway, Suite 1600
                                       Atlanta, GA 30339
                                      mhill@fmglaw.com
                              (Attorney for the City of Forest Park)


       Respectfully submitted this 13th day of May, 2022.

                                                Cruser, Mitchell, Novitz, Sanchez,
                                                Gaston & Zimet, LLP

                                                /s/ Marisa M. Beller
                                                Marisa M. Beller
                                                Georgia Bar No. 110609




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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
                PLAINTIFF,                      )
                                                )
                                                )
 V.                                             )
                                                )       Civil Action No.:
 CITY OF FOREST PARK, GA;                       )       2021CV03928-10
 LATRESA AKINS-WELLS, in her                    )
 individual capacity                            )
                                                )
                                                )
                DEFENDANTS.                     )


        JOINT MOTION TO STAY ALL DEADLINES FOR THIRTY (30) DAYS

       COMES NOW Plaintiff Nathaniel Clark, Defendant City of Forest Park, Georgia and

Defendant Latresa Akins-Wells, and jointly file this Motion to Stay All Deadlines for Thirty (30)

Days. In support of their motion the Parties state as follows:

       1.      Plaintiff filed an Amended Complaint on February 7, 2022 alleging a retaliation

claim under the Georgia Whistleblower Protection Act against Defendant City of Forest Park, an

intentional infliction of emotional distress claim against Defendant Wells, and a slander claim

against Defendant Wells.

       2.      Defendant Wells filed an Answer and Motion to Dismiss Plaintiff’s First Amended

Complaint on March 7, 2022.

       3.      Defendant City of Forest Park, Georgia filed an Answer and Motion to Dismiss

Plaintiff’s First Amended Complaint on March 9, 2022.




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       4.      Plaintiff filed a Charge of Discrimination with the EEOC on August 12, 2021

alleging violations of Title VII of the Civil Rights Act of 1964, as amended (“Title VII”) against

the City of Forest Park, Georgia.

       5.      On April 4, 2022, Plaintiff requested that the EEOC issue the Dismissal and Notice

of Right to Sue.

       6.      On April 8, 2022, the Parties filed a Joint Motion to Stay All Deadlines for forty-

five (45) days until May 23, 2022.

       7.      On April 20, 2022 the EEOC told counsel for Plaintiff that Plaintiff’s request for

the Dismissal and Notice of Right to Sue has been forwarded to the Department of Justice for

action. Plaintiff anticipates that he will receive his Dismissal and Notice of Right to Sue in the

next thirty (30) days.

       8.      Once Plaintiff receives the Dismissal and Notice of Right to Sue from the

Department of Justice, Plaintiff plans to file a Second Amended Complaint adding the Title VII

claim as well as other claims.

       9.      Defendants anticipate removing the case to federal court once the federal claims

are added to the Complaint.

       10.     In order to avoid the futile cost and expense of briefing the Defendants’ Motions to

Dismiss Plaintiff’s First Amended Complaint when Plaintiff anticipates filing a Second Amended

Complaint which will render Defendants’ Motions to Dismiss Plaintiff’s First Amended

Complaint moot, the Parties are jointly requesting a thirty (30) day stay of all deadlines.

       11.     Plaintiff anticipates that the thirty (30) day extension will be a sufficient amount of

time for the Department of Justice to issue the Dismissal and Notice of Right to Sue and for


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Plaintiff to file his Second Amended Complaint adding/amending claims, including the Title VII

federal claims.

       12.        A Proposed Order is attached to this Motion.

       Respectfully submitted, this 19th day of May, 2022.

                                                s/ Jackie Lee
                                                Jackie Lee
                                                Georgia Bar No. 419196
                                                jackie@leelawga.com
                                                LEE LAW FIRM, LLC
                                                1100 Peachtree Street NE, Suite 250
                                                Atlanta, Georgia 30309
                                                Telephone: (404) 301-8973

                                                COUNSEL FOR PLAINTIFF




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                               2021CV03928-14




                   IN THE SUPERIOR COURT OF CLAYTON COUNTY
                               STATE OF GEORGIA

 NATHANIEL CLARK,                                )
                                                 )
                 PLAINTIFF,                      )
                                                 )
                                                 )
 V.                                              )
                                                 )
                                                 )       Civil Action No.: 2021CV03928-10
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                     )
 individual capacity                             )
                                                 )
                                                 )
                 DEFENDANTS.                     )

                                 CERTIFICATE OF SERVICE

       I certify that on May 19, 2022, I electronically filed the foregoing Joint Motion to Stay

All Deadlines for Thirty (30) Days with the Clerk of Court which will automatically send

notification of such filing to all counsel of record and by e-mail to the following counsel of record:

                                        Michael M. Hill
                                      Shaheem M. Williams
                               FREEMAN MATHIS & GARY, LLP
                                100 Galleria Parkway, Suite 1600
                                       Atlanta, GA 30339
                                       mhill@ fmglaw.com
                                 shaheem.williams@fmglaw.com

                                        Karen Woodward
                                        Marisa M. Beller
                          Cruser, Mitchell, Novitz, Gaston & Zimet, LLP
                                     Meridian II, Suite 2000
                                       275 Scientific Drive
                                  Peachtree Corners, GA 30092
                                  kwoodward@cmlawfirm.com
                                    mbellar@cmlawfirm.com

                                                s/ Jackie Lee
                                                Jackie Lee
                                                Georgia Bar No. 419196




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                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                            )
                                             )
                PLAINTIFF,                   )
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 V.                                          )
                                             )
                                             )       Civil Action No.: 2021CV03928-10
 CITY OF FOREST PARK, GA;
 LATRESA AKINS-WELLS, in her                 )
 individual capacity                         )
                                             )
                                             )
                DEFENDANTS.                  )

                                          ORDER
       This matter came before the Court on the Parties’ Joint Motion to Stay All Deadlines for

Thirty (30) Days. After consideration of the Motion, it is GRANTED. All deadlines are hereby

stayed until June 22, 2022.

       SO ORDERED this ______ day of May, 2022.



                                                      __________________________
                                                      Hon. Shana Rooks Malone
                                                      Superior Court Judge




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                                                                                    CLERK OF SUPERIOR COURT
                                                                                    CLAYTON COUNTY, GEORGIA
                                                                                   2021CV03928-14
                      IN THE SUPERIOR COURT OF CLAYTON COUNTY                         Shana Rooks Malone
                                  STATE OF GEORGIA                                   MAY 31, 2022 12:32 PM


 NATHANIEL CLARK,                              )
                                               )
         Plaintiff,                            )     Civil Action
                                               )     No. 2021CV03928-09
 v.                                            )
                                               )
 CITY OF FOREST PARK, GA and                   )
 LATRESA AKINS-WELLS, in her                   )
 individual capacity,                          )
                                               )
         Defendants.                           )

              NOTICE OF ENTRY OF APPEARANCE OF MICHAEL M. HILL

         COMES NOW, Michael M. Hill, of the law firm of Freeman Mathis & Gary, LLP, 100

Galleria Parkway, Suite 1600, Atlanta, Georgia 30339, and hereby enters his appearance as counsel

of record for the Defendant City of Forest Park, Georgia in the above-captioned civil action.

                                             Respectfully submitted,

                                             FREEMAN MATHIS & GARY, LLP


                                             /s/ Michael M. Hill
                                             Michael M. Hill
                                             Georgia Bar No. 770486
                                             100 Galleria Parkway
                                             Suite 1600
                                             Atlanta, Georgia 30339
                                             T: (770) 818-0000
                                             F: (770) 937-9960

                                             Counsel for City of Forest Park, GA




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                      IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                  STATE OF GEORGIA

 NATHANIEL CLARK,                               )
                                                )
         Plaintiff,                             )      Civil Action
                                                )      No. 2021CV03928-09
 v.                                             )
                                                )
 CITY OF FOREST PARK, GA and                    )
 LATRESA AKINS-WELLS, in her                    )
 individual capacity,                           )
                                                )
         Defendants.                            )

                                 CERTIFICATE OF SERVICE

         I certify that on this day I served the foregoing NOTICE OF ENTRY OF

APPEARANCE OF MICHAEL M. HILL by electronically filing the same with the Clerk of

Court using the Peach Court e-filing system, which will automatically send email notification of such

filing to all counsel of record, and via email pursuant to agreement of the parties to all counsel of

record as follows:

                                             Jackie Lee
                                      LEE LAW FIRM, LLC
                                1100 Peachtree Street NE, Suite 250
                                      Atlanta, Georgia 30309
                                       jackie@leelawga.com

                                         Karen E. Woodward
                       Cruser, Mitchell, Novitz, Sanchez, Gaston & Zimet, LLP
                                         275 Scientific Drive
                                        Meridian II, Suite 2000
                                  Peachtree Corners, Georgia 30092
                                    kwoodward@cmlawfirm.com

         This 31st day of May, 2022.

                                                      /s/ Michael M. Hill
                                                      Michael M. Hill
                                                      Georgia Bar No. 770486



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                               2021CV03928-14




                  IN THE SUPERIOR COURT OF CLAYTON COUNTY
                              STATE OF GEORGIA

 NATHANIEL CLARK,                              )
                                               )
                PLAINTIFF,                     )
                                               )
                                               )
 V.                                            )
                                               )       Civil Action No.:
 CITY OF FOREST PARK, GA;                      )       2021CV03928-14
                                                       ________________
 LATRESA AKINS-WELLS, in her                   )
 Official and individual capacity              )
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                                               )
                DEFENDANTS.                    )


                                          SUMMONS

TO THE ABOVE NAMED DEFENDANT(S):

        You are hereby summoned and required to file with the Clerk of said Court and serve upon
the Plaintiff’s attorney, whose name and address is:


                                         Jackie R. Lee
                                   1100 Peachtree Street N.E.
                                           Suite 250
                                      Atlanta, GA 30309

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons, upon you, exclusive of the day of service. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the complaint.




                                                     /s/ Kameshia Jones
                                             By__________________________________
                                                              Deputy Clerk




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             Check if the action is related to another action pending or previously pending in this court involving
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             the same: parties, subject matter, or factual issues. lf so, provide a case number for each.


         t              Case   Number                                 Case Number


 d           I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
             redaction of personal or confidential information in OCGA 5 9-1 1-7'1.

 tr          ls a foreign language or sign-language interpreter needed in this case? lf so. provide the language(s) required.

                                                   Language(s) Required


 tr          Do you or your client need any disability accommodations? lf so, please describe the accommodation request.


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